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                                    Mattel's Exhibit List For Phase 1B

    Ex. No.           Date       Description & Bates Nos.                          Date         Date
                                                                                 Identified   Admitted
        6                         Depo Exh. 6: Drawings, BRYANT 00358-
                                 BRYANT 00361
        7                         Depo Exh. 7: Marketing Document, BRYANT
                                 00869
        9                         Depo Exh. 9: Drawings, MGA 000465-MGA
                                 000481
        11           7/18/2003    Depo Exh. 11: Newspaper Article, M 0012536-
                                 M 0012539
       11A           7/18/2003    Depo Exh. 11: Newspaper Article, M 0012536-
                                 M 0012539
       11B           7/18/2003    Depo Exh. 11: Newspaper Article, M 0012536-
                                 M 0012539
        12            7/5/2002    Depo Exh. 12: Affidavit, M 0001558-M 0001569
        13          12/11/1998   Depo Exh. 13: Letter, M 0001613-14
        16           9/19/2000   Depo Exh. 16: Agreement, BRYANT 01234-35
        17           5/11/2004   Depo Exh. 17: Agreement, MGA 000429-34
        18           9/27/2000    Depo Exh. 18: Email, MGA 000422
        19          10/25/2000    Depo Exh. 19: Email with Attachment, MGA
                                 000007-MGA 000009
        29           4/11/2001    Depo Exh. 29: Confidentiality Agreement,
                                 BRYANT 01232-BRYANT 01233
        32          10/16/2003    Depo Exh. 32: Statement of Claim, M 0012593-
                                 M 0012617
        33           12/8/2000    Depo Exh. 33: Check, BRYANT 00751
        36                        Depo Exh. 36: Drawing, BRYANT 00167
        49                        Depo Exh. 49: Phone call log, M 0001808-M
                                 0001824
       300           10/1/2003    Depo Exh. 300: Print-out of online Article
       306           9/15/2000    Depo Exh. 306: Redacted Email, MGA 001291
       322          10/18/2000    Depo Exh. 322: Calendar Entries, SL 00003
       323                        Depo Exh. 323: Photograph; Drawings; Notes;
                                 Copies of PostCards, SL00013-SL00063
       326          10/12/2000    Depo Exh. 326: Email, SL00008-SL00009
       363           9/00/2000    Depo Exh. 363: Phone Call Log, M 0001820-M
                                 0001823
       364            8/1/2000    Depo Exh. 364: Phone Bill, M 0009488-M
                                 0009489
       366           2/16/2005    Depo Exh. 366: Notice of Deposition
       367           1/12/2000    Depo Exh. 367: Invoice, MGA 000706
       371           8/29/2000    Depo Exh. 371: Invoice, MGA 000710
       374            9/8/2000    Depo Exh. 374: Invoice, MGA 000714
       377           9/12/2000    Depo Exh. 377: Invoice, MGA 000718
       381           9/19/2000    Depo Exh. 381: Invoice, MGA 000724
       386          10/17/2000    Depo Exh. 386: Invoice, MGA 000734
       390            2/1/2007    Depo Exh. 390: Notice of Deposition



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       395           3/12/2007    Depo Exh. 395: MGA's Supplemental
                                 Responses to Mattel's Second Set of
                                 Interrogatories
       404                       Depo Exh. 404: Magazine Article, M0073817-
                      4/4/2004   M0073827
       405           3/25/2002    Depo Exh. 405: Copyright Document
       419            4/6/2000    Depo Exh. 419: Exit Interview Report, M
                                 0096210-M 0096211
       443           9/14/1998   Depo. Exh. 443: Email, M 0079182-M 0079182
       470           3/23/2004    Depo Exh. 470: Email, M 0059790-M 0059792
       481           7/20/2004   Depo Exh. 481: Declaration
       486            3/9/2001    Depo Exh. 486: Email, MGA 0049552-MGA
                                 0049553
       487           5/14/2001    Depo Exh. 487: Email, MGA 0052379
       488           5/31/2001    Depo Exh. 488: Email with Attachment, MGA
                                 0048673-MGA 0048675
       489           4/18/2001    Depo Exh. 489: Email, MGA 0049758-MGA
                                 0049758
       492           5/22/2001    Depo Exh. 492: Email with Attachment, MGA
                                 0047198-MGA 0047200
       493           6/16/2001    Depo Exh. 493: Email with Attachment, MGA
                                 0049705-MGA 0049708
       494           6/18/2001    Depo Exh. 494: Email with Attachment, MGA
                                 0048640-MGA 0048645
       495           6/22/2001    Depo Exh. 495: Email, MGA 0009237-MGA
                                 0009239
       496           6/22/2001    Depo Exh. 496: Email, MGA 0009240-MGA
                                 0009241
       497           1/10/2001    Depo Exh. 497: Email with Attachment, MGA
                                 0047738-MGA 0047761
       498            5/1/2001    Depo Exh. 498: Email, MGA 0051808-MGA
                                 0051810
       505          12/22/2003    Depo Exh. 505: Copyright Document, M
                                 0110179-M 0110183
       506           3/28/2005    Depo Exh. 506: Copyright Document, M
                                 0110209-M 0110210
       507          12/22/2003    Depo Exh. 507: Copyright Document, M
                                 0110184-M 0110187
       508           3/28/2005    Depo Exh. 508: Copyright Document, M
                                 0110211-M 0110212
       509          12/22/2003    Depo Exh. 509: Copyright Document, M
                                 0110193-M 0110197
       510           3/28/2003    Depo Exh. 510: Copyright Document, M
                                 0110213-M 0110214
       511          12/22/2003    Depo Exh. 511: Copyright Document, M
                                 0110198-M 0110202
       512           3/28/2005    Depo Exh. 512: Copyright Document, M
                                 0110215-M 0110216




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       513          12/22/2003    Depo Exh. 513: Copyright Document, M
                                 0110188-M 0110192
       514           3/28/2005    Depo Exh. 514: Copyright Document, M
                                 0110207-M 0110208
       515                        Depo Exh. 515: Organization Chart
       516           6/15/2005    Depo Exh. 516: California Statement of
                                 information Domestic Stock Corporation
                                 Document re MGA Entertainment , Inc. filed in
                                 The Office of the Secretary of State 6/15/2005
       517           5/12/2004    Depo Exh. 517: Foreign Document re MGA
                                 Mexico
       518           8/22/2006    Depo Exh. 518: Hong Kong Government's
                                 Annual Report re MGA/ foreign Document
       519           5/13/2004    Depo Exh. 519: Agreement, BRYANT2
                                 000010-BRYANT2 000015
       521                        Depo Exh. 521: List of Documents Provided to
                                 Expert
       522           7/21/2006    Depo Exh. 522: Declaration
       524           4/15/2004    Depo Exh. 524: Email, M 0059833
       526           5/27/2001    Depo Exh. 526: Invoice, MGA 0842238
       527           5/27/2001    Depo Exh. 527: Invoice, MGA 0842239
       528           5/27/2001    Depo Exh. 528: Packing Lists, MGA 0842240
       529           5/28/2001    Depo Exh. 529: Bill of Lading, MGA 0842241
       530           5/28/2001    Depo Exh. 530: Specification of Cargo, MGA
                                 0842242
       532           6/29/2001    Depo Exh. 532: Memorandum, MGA 0842244
       533           6/29/2001    Depo Exh. 533: Memorandum, MGA 0842245
       535           1/13/2001    Depo Exh. 535: Email, MGA 0010130
       536           11/1/2000    Depo Exh. 536: Calendar, MGA 0008878R B-
                                 0008881R B; MGA 0008888RB; MGA 0008900R
                                 B
       537          10/25/2000    Depo Exh. 537: Email, MGA 0046691-MGA
                                 0046693
       540          11/18/2000    Depo Exh. 540: Email with Attachment, MGA
                                 0048518-MGA 0048523
       542           3/27/2001    Depo Exh. 542: Email, MGA 0049327-MGA
                                 0049331
       552            2/4/2003    Depo Exh. 552: Patent Documents, MGA
                                 0825262-MGA 0825266
       553           6/15/2004    Depo Exh. 553: Trademark Documents, MGA
                                 0802727-MGA 0802729
       554           6/13/2006    Depo Exh. 554: Trademark Documents, MGA
                                 0803951-MGA 0803953
       555            6/2/2004    Depo Exh. 555: Trademark Documents, MGA
                                 0802758-MGA 0802767
       556           1/24/2005    Depo Exh. 556: Trademark Documents, MGA
                                 0804028-MGA 0804047
       565           5/17/2004    Depo Exh. 565: Copyright Document, M
                                 0110174-M 0110178



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       566           3/28/2005    Depo Exh. 566: Copyright Document, M
                                 0110225-M 0110226
       567           1/25/2006    Depo Exh. 567: Copyright Document, M
                                 0110231-M 0110232
       568           1/25/2006    Depo Exh. 568: Copyright Document, M
                                 0110233-M 0110234
       569           1/25/2006    Depo Exh. 569: Copyright Document, M
                                 0110235-M 0110236
       570           1/25/2006    Depo Exh. 570: Copyright Document, M
                                 0110237-M 0110238
       571           1/25/2006    Depo Exh. 571: Copyright Document, M
                                 0110239-M 0110240
       572            2/1/2006    Depo Exh. 572: Copyright Document, M
                                 0110227-M 0110228
       573            2/1/2006    Depo Exh. 573: Copyright Document, M
                                 0110229-M 0110230
       574            3/1/2004    Depo Exh. 574: Copyright Document, M
                                 0110205-M 0110206
       575            2/2/2004    Depo Exh. 575: Copyright Document, M
                                 0110203-M 0110204
       576           7/17/2007    Depo Exh. 576: Copyright Document, MGA
                                 0842202-0842217; MGA 0842220-0842225
       577           7/17/2007    Depo Exh. 577: Copyright Document, MGA
                                 0842218-MGA 0842219
       578           9/18/2001    Depo Exh. 578: Email with Attachment, MGA
                                 0027281-MGA 0027283
       579           5/21/2007    Depo Exh. 579: Copyright Document, MGA
                                 0828136-MGA 0828137
       580           12/7/2000    Depo Exh. 580: Trademark Documents, MGA
                                 0800982-MGA 0800985
       581           12/7/2000    Depo Exh. 581: Trademark Documents, MGA
                                 0803777-MGA 0803778
       582           12/7/2000    Depo Exh. 582: Trademark Documents, MGA
                                 0804579-MGA 0804580
       583          12/13/2000    Depo Exh. 583: Trademark Documents, MGA
                                 0803668-MGA 0803669
       584           12/7/2000    Depo Exh. 584: Trademark Documents, MGA
                                 0803353-MGA 0803354
       585           12/2/2003    Depo Exh. 585: Trademark Documents, MGA
                                 0800863-MGA 0800865
       586          12/30/2003    Depo Exh. 586: Trademark Documents, MGA
                                 0803753-MGA 0803755
       587           4/22/2003    Depo Exh. 587: Trademark Documents, MGA
                                 0804559-MGA 0804561
       588           6/17/2003    Depo Exh. 588: Trademark Documents, MGA
                                 0803651-MGA 0803653
       589           7/30/2002    Depo Exh. 589: Trademark Documents, MGA
                                 0803381-MGA 0803383




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       590            4/5/2001    Depo Exh. 590: Trademark Documents, MGA
                                 0801966-MGA 0801969
       591          10/29/2002    Depo Exh. 591: Trademark Documents, MGA
                                 0801921-MGA 0801923
       598          10/25/2000    Depo Exh. 598: Email, MGA 004562-MGA
                                 004563
       599          10/25/2000    Depo Exh. 599: Redacted Email, MGA
                                 0836578-MGA 0836589
       600          10/26/2000    Depo Exh. 600: Email, MGA 0066294-MGA
                                 0066296
       601          10/18/2001    Depo Exh. 601: Sample List, MGA 0067842-
                                 MGA 0067847
       602          10/27/2000    Depo Exh. 602: Email, MGA 0836789
       603           11/1/2000    Depo Exh. 603: Redacted Email with
                                 Attachments, MGA 004814-MGA 004840
       610           10/2/2000    Depo Exh. 610: Redacted Email, MGA
                                 0868092-MGA 0868093
       615           3/26/2002    Depo Exh. 615: Box Patent Application, MGA
                                 0825342-MGA 0825349
       616           5/21/2001    Depo Exh. 616: Invoice, MGA 0868139-MGA
                                 0868140
       625            4/8/2005    Depo Exh. 625: Facsimile to Copyright office,
                                 MGA 0868141-MGA 0868144
       626           6/16/2004    Depo Exh. 626: Trademark List, MGA
                                 0822933-MGA 0822942
       630           6/30/2003    Depo Exh. 630: Email, MGA 0860577-MGA
                                 0860579
       632            3/5/2004    Depo Exh. 632: Article, M 0070398-M 0070399
       634            9/6/2000    Depo Exh. 634: Proposal, LAF0083
       651            7/3/2002    Depo Exh. 651: Email, MGA 0024962-MGA
                                 0024963
       655          12/31/2002    Depo Exh. 655: Financial Statement, MGA
                                 0863860-MGA 0863873
       656          12/31/2003    Depo Exh. 656: Financial Statement, MGA
                                 0863874-MGA 0863887
       657          12/31/2004    Depo Exh. 657: Financial Statement, MGA
                                 0863888-MGA 0863901
       658          12/31/2005    Depo Exh. 658: Financial Statement, MGA
                                 0868693-MGA 0868706
       659          12/31/2006    Depo Exh. 659: Financial Statement, MGA
                                 0868707-MGA 0868722
       660          2001-2006     Depo Exh. 660: Spreadsheet/Sales, MGA
                                 0868723-MGA 0868865
       661           5/25/2005    Depo Exh. 661: Email and Attachments, MGA
                                 0101018-MGA 0101021
       663           7/19/2007    Depo Exh. 663: Letter, BRYANT2 000017-
                                 BRYANT2 000026
       669            7/6/2006    Depo Exh. 669: Declaration
       784                        Depo Exh. 784: Drawing



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       785                        Depo Exh. 785: Drawing
       797          12/31/2003    Depo Exh. 797: Income Statement, BRYANT
                                 04965-BRYANT 04976
       798           6/24/2006    Depo Exh. 798: Email, MGA 0146604
       799          10/12/2006    Depo Exh. 799: Email, MGA 0146905-MGA
                                 0146906
       800           5/11/2006    Depo Exh. 800: Email, MGA 0147303
       801           9/18/2006    Depo Exh. 801: Email, MGA 0147327
       802          10/28/2004    Depo Exh. 802: Email, MGA 0147888-MGA
                                 0147889
       803           5/23/2005    Depo Exh. 803: Email, MGA 0153714
       804           1/26/2005    Depo Exh. 804: Email, MGA 0154588
       805          10/19/2004    Depo Exh. 805: Email, MGA 0154602-MGA
                                 0154603
       806           11/4/2004    Depo Exh. 806: Email, MGA 0154605-MGA
                                 0154606
       807          10/22/2004    Depo Exh. 807: Email, MGA 0156244
       808           3/10/2006    Depo Exh. 808: Email
       809           3/10/2006    Depo Exh. 809: Email
       810           9/21/2005    Depo Exh. 810: Email, MGA 0877284-MGA
                                 0877288
       811           3/22/2006    Depo Exh. 811: Email, MGA 1165499-MGA
                                 1165500
       812          12/12/2006    Depo Exh. 812: Email, MGA 1753095
       813            1/4/2005    Depo Exh. 813: Email, MGA 1753126
       814           12/8/2004    Depo Exh. 814: Email, MGA 1753193
       815            2/7/2005    Depo Exh. 815: Email, MGA 1753235
       816           3/13/2006    Depo Exh. 816: Email, MGA 1753319-MGA
                                 1753321
       817           3/13/2006    Depo Exh. 817: Email, MGA 1753312-MGA
                                 1753318
       818           1/26/2005    Depo Exh. 818: Email, MGA 1753241-MGA
                                 1753242
       819           4/28/2006    Depo Exh. 819: Email, MGA 1753327-MGA
                                 1753331
       820           4/28/2006    Depo Exh. 820: Email, MGA 1753324-MGA
                                 1753326
       821           2/27/2007    Depo Exh. 821: Email, MGA 1753364-MGA
                                 1753375
       822            5/4/2005    Depo Exh. 822: Email, MGA 1753380-MGA
                                 1753383
       823           9/00/2006    Depo Exh. 823: Employee Handbook, MGA
                                 0868632-MGA 0868691
       825           5/26/2001    Depo Exh. 825: Email, MGA 0068725-MGA
                                 0068727
       826           5/28/2001    Depo Exh. 826: Email, BRYANT
                                 04434;BRYANT 04436
       828                        Depo Exh. 828: Draft Agreement, BRYANT
                                 03001



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       829                        Depo Exh. 829: Draft Agreement, BRYANT
                                 04458
       830           2/10/2003    Depo Exh. 830: Letter with Attachment,
                                 BRYANT 01668-BRYANT 01670
       831           6/13/2007    Depo Exh. 831: Posted Checks
       833                        Depo Exh. 833: Financial Statements, BRYANT
                                 04883-BRYANT 04973
       910           11/2/2000    Depo Exh. 910: Email, MGA 0067500-MGA
                                 0067504
       911            1/8/2001    Depo Exh. 911: Email, MGA 0050733-MGA
                                 0050736
       913                        Depo Exh. 913: Drawings, M 0059728; M
                                 0059732; M 0059724; M 0059736; M 0059748;
                                 M 0059740; M 0059708; M 0059700; M
                                 0059716; M 0059712; M 0059704
       914           5/31/2003    Depo Exh. 914: Email, MGA 0015264
       915           6/26/2003    Depo Exh. 915: Email, MGA 0018537-MGA
                                 0018539
       916           6/12/2003    Depo Exh. 916: Email, MGA 0015928-MGA
                                 0015929
       917            6/9/2003    Depo Exh. 917: Email, MGA 0015842-MGA
                                 0015843
       918           11/8/2000    Depo Exh. 918: Email, MGA HK 0009340-MGA
                                 HK 009341
       919          12/27/2000    Depo Exh. 919: Email, MGA 0048434-MGA
                                 0048435
       920            1/2/2001    Depo Exh. 920: Email, MGA HK 0001243-MGA
                                 HK 0001244
       921           5/30/2002    Depo Exh. 921: Product Development form,
                                 MGA 0070841-MGA 0070848
       922           6/10/2002    Depo Exh. 922: Product Development form,
                                 MGA 0070833-MGA 0070840
       925                        Depo Exh. 925: Spreadsheet, MGA HK
                                 0002383-MGA HK 0002388
       926          11/27/2000    Depo Exh. 926: Email, MGA HK 0009169-MGA
                                 HK 0009189
       929          11/21/2002    Depo Exh. 929: Organization Charts
       930                        Depo Exh. 930
       931                        Depo Exh. 931
       932            6/4/2007    Depo Exh. 932: Notice of Deposition
       933          10/16/2000    Depo Exh. 933: Email, MGA HK 0002353-MGA
                                 HK 0002354
       934           10/1/2000    Depo Exh. 934: Email, MGA HK 0009066-MGA
                                 HK 0009125
       935          10/17/2000    Depo Exh. 935: Email, MGA HK 0008974-MGA
                                 HK 0008976
       936          10/21/2000    Depo Exh. 936: Email, MGA HK 0002602-MGA
                                 HK 0002603




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       937          10/23/2000    Depo Exh. 937: Email, MGA HK 0008919-MGA
                                 HK 0008924
       938          10/24/2000    Depo Exh. 938: Email, MGA HK 0007748-MGA
                                 HK 0007749
       939          10/26/2000    Depo Exh. 939: Email, MGA HK 0002952
       940          10/26/2000    Depo Exh. 940: Email, MGA HK 0002953
       941           6/18/2002    Depo Exh. 941: Declaration, M 0001570-M
                                 0001581
       942                        Depo Exh. 942
       943          12/21/2006    Depo Exh. 943: Report
       944                        Depo Exh. 944
       945          10/18/2000    Depo Exh. 945: Email, MGA 000425-MGA
                                 000426
       946           6/18/2002    Depo Exh. 946: Copyright Document, M
                                 0001553-M 0001557
       947           5/14/2004   Depo Exh. 947: Affidavit, MGA 0868039-91
       949           12/6/2005    Depo Exh. 949: Affidavit, MGA 0883230-MGA
                                 0883303
       950           9/27/2004    Depo Exh. 950: Affirmation; Photograph, MGA
                                 0883346-MGA 0883347
       951           92/7/2004    Depo Exh. 951: Affirmation; Drawing, MGA
                                 0883339-MGA 0883345
       952           6/18/2003    Depo Exh. 952: Affirmation, MGA 0883920-
                                 MGA 0883963
       953           6/18/2003    Depo Exh. 953: Affirmation; Drawing; Letter,
                                 MGA 0883995-MGA 0884010
       954           6/18/2003    Depo Exh. 954: Affirmation; Drawing, MGA
                                 0883968-MGA 0883993
      1101          11/22/2000    Depo Exh. 1101: Email with Attachment, MGA
                                 0046567-MGA 0046569
      1104          10/16/2000    Depo Exh. 1104: Product Development form,
                                 MGA HK 0002375-MGA HK 0002378
      1106                        Depo Exh. 1106: Photograph
      1111           7/20/2004    Depo Exh. 1111: Declaration
      1112           10/2/2000    Depo Exh. 1112: Email, MGA 0051574
      1118                        Depo Exh. 1118: Photograph
      1121            6/9/2000    Depo Exh. 1121: Adoption Form, M 0255065
      1122           4/26/2000    Depo Exh. 1122: 2000 Benefit Election Form,
                                 M 0255081-M 0255082
      1123           8/22/2000    Depo Exh. 1123: Letter, M 0255080
      1124          12/12/1999    Depo Exh. 1124: Invoice
      1126                        Depo Exh. 1126: Drawing, SABW-L 00073-
                                 SABW-L 00076
      1134          10/11/2000    Depo Exh. 1134: Invoice, KMW-L 00425
      1141                        Depo Exh. 1141: Photograph, KMW-M 007901-
                                 KMW-M 007919
      1142                        Depo Exh. 1142: Photograph, KMW-L 000429
      1143                        Depo Exh. 1143: Resume, MGA 1545610-MGA
                                 1545611



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      1150           8/13/1997    Depo Exh. 1150: Agreement, M 0254948-M
                                 0254949
      1151           8/13/1997    Depo Exh. 1151: Questionnaire, M 0254946-M
                                 0254947


      1180                        Depo Exh. 1180: Drawings, MGA 0838595
      1181                        Depo Exh. 1181: Drawings, MGA 0838596
      1182                        Depo Exh. 1182: Drawing, MGA 0838434
      1183                        Depo Exh. 1183: Drawing, MGA 0838594
      1184                        Depo Exh. 1184: Drawing, MGA 0838593
      1185                        Depo Exh. 1185: Drawing, MGA 0838592
      1186                        Depo Exh. 1186: Drawing, MGA 0838590
      1187                        Depo Exh. 1187: Drawing, MGA 0838576-MGA
                                 0838578
      1188                        Depo Exh. 1188: Drawing, MGA 0838580
      1211          11/17/2005   Email, Y&R0000152 - 154
      1227           6/26/1996   Employment Application, M 0255
      1228           6/28/1996    Depo Exh. 1228: Agreement, M 0255145-M
                                 0255146
      1229           6/27/1996    Depo Exh. 1229: Conflict of Interest
                                 Questionnaire, M 0255147-M 0255148
      1230           6/27/1996    Depo Exh. 1230: Photographs, KMW-M
                                 007920-KMW-M 007925
      1231                       Photograph, KMW-M 007901-7919
      1232          12/18/2000    Depo Exh. 1232: Invoice, KMW-M 005712-
                                 KMW-M 005730
      1233           12/8/2000    Depo Exh. 1233: Invoice-also Exh. 606, MGA
                                 0072161-MGA 0072167
      1234                        Depo Exh. 1234: Photograph
      1235           11/7/2000    Depo Exh. 1235: Design Document, KMW-M
                                 007645-KMW-M 007647
      1306                        Depo Exh. 1306: Photograph
      1307           12/8/2000    Depo Exh. 1307: Email, MGA 0065414-MGA
                                 0065415
      1309           9/14/2000    Depo Exh. 1309: Facsimile, MGA 007337-MGA
                                 007340
      1312           5/30/2001    Depo Exh. 1312: Email, KMW-M 007635-KMW-
                                 M 007638
      1313                        Depo Exh. 1313: Notebook, BRYANT 01589-
                                 BRYANT 01624
      1314          10/27/2005    Depo Exh. 1314: Email, MGA 0100737-MGA
                                 0100739
      1315           8/22/2006    Depo Exh. 1315: Email, MGA 0074789
      1316            3/7/2003    Depo Exh. 1316: Email, MGA 0069240
      1317            5/9/2005    Depo Exh. 1317: Email
      1318          11/24/2004    Depo Exh. 1318: Email, MGA 0201581-MGA
                                 0201582




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      1319            9/8/2001    Depo Exh. 1319: Email, MGA 0143681-MGA
                                 0143685
      1320           6/29/2006    Depo Exh. 1320: Email, MGA 0193869-MGA
                                 0193874
      1321          12/15/2004    Depo Exh. 1321: Email, MGA 1502112-MGA
                                 1502113
      1322          11/26/2001    Depo Exh. 1322: Email, MGA 0432837-MGA
                                 0432842
      1323           6/28/2006    Depo Exh. 1323: Email, BRYANT 17414
      1324          10/15/2001    Depo Exh. 1324: Email, MGA 4003384
      1325           3/14/2002    Depo Exh. 1325: Email, MGA 0069280-MGA
                                 0069282
      1330                        Depo Exh. 1330: Drawing
      1350            6/5/2007    Depo Exh. 1350: Notice of Deposition
      1351            1/9/2008    Depo Exh. 1351: Notice of Deposition
      1352                        Depo Exh. 1352: Spreadsheet, MGA 3787447-
                                 MGA 3787464
      1353          00/00/2006    Depo Exh. 1353: Spreadsheet, MGA 0218357-
                                 MGA 0218421
      1354                        Depo Exh. 1354: Spreadsheet, MGA 3787372-
                                 MGA 3787397
      1355                        Depo Exh. 1355: Spreadsheet, MGA 3787427-
                                 MGA 3787446
      1356          00/00/2006    Depo Exh. 1356: W-2, MGA 3787315-MGA
                                 3787321
      1357          00/00/2005    Depo Exh. 1357: W-2, MGA 3787322-MGA
                                 3787328
      1358          00/00/2004    Depo Exh. 1358: W-2, MGA 3787329-MGA
                                 3787334
      1359          00/00/2003    Depo Exh. 1359: W-2, MGA 3787335-MGA
                                 3787340
      1360          00/00/2002    Depo Exh. 1360: W-2, MGA 3787341-MGA
                                 3787346
      1361          00/00/2001    Depo Exh. 1361: W-2, MGA 3787347-MGA
                                 3787353
      1362          00/00/1999    Depo Exh. 1362: W-2, MGA 3787361-MGA
                                 3787366
      1363          00/00/2000    Depo Exh. 1363: W-2, MGA 3787354-MGA
                                 3787360
      1364                        Depo Exh. 1364: Spreadsheet, MGA 3787400-
                                 MGA 3787426
      1365          00/00/2001    Depo Exh. 1365: Spreadsheet, MGA 3718299-
                                 MGA 3718343; MGA 3718331-MGA 3718598;
                                 MGA 3718600-MGA 3718684
      1366          10/10/2005   Depo Exh. 1366: Spreadsheet, MGA 3709872-
                                 MGA 3709924
      1367           9/22/2005   Depo Exh. 1367: Spreadsheet, MGA 3710419-
                                 MGA 3710429
      1514          10/13/1999   Depo Exh. 1514: Policy Manual, M 0254768



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      1700            5/9/2001    Depo Exh. 1700: Email, MGA 0051978-MGA
                                 0051980
      1706           6/14/2004    Depo Exh. 1706: Letter, BRYANT 12237-
                                 BRYANT 12240
      1707          00/00/2006    Depo Exh. 1707: Royalty Report, MGA
                                 3720802-MGA 3720805
      1708          00/00/2005    Depo Exh. 1708: Royalty Report, MGA
                                 3720813-MGA 3720816
      1709                        Depo Exh. 1709: Domestic Licensing Payment
                                 Log, MGA 3743606-MGA 3745615
     1709A           6/30/2007    Depo Exh. 1709A: Domestic Licensing
                                 Payment Log, MGA 3743606-MGA 3743615
      1710          12/31/2005    Depo Exh. 1710: Sales Document, MGA
                                 3710565-MGA 3710580
      1712          00/00/2001    Depo Exh. 1712: Sales Document, MGA
                                 3717766-MGA 3717822
      1713          00/00/2001    Depo Exh. 1713: Invoice -also Exh. 1366, MGA
                                 3709872-MGA 3709924
     1714A          10/00/2006    Depo Exh. 1714A: Financial Document, MGA
                                 1610365-MGA 1610374
     1714B           10/1/1996    Depo Exh. 1714: Sales Document, MGA
                                 1610365-MGA 1610374
      1715          00/00/2002    Depo Exh. 1715: Manufacturing Document,
                                 MGA 3720189-MGA 3720741
      1716          2006-2007     Depo Exh. 1716: Media Expense Document,
                                 MGA 3719906-MGA 3719909
      1717          2006-2007     Depo Exh. 1717: Media Expense Document,
                                 MGA 3720119-MGA 3720122
      1718            00/00/00    Depo Exh. 1718: Item List, MGA 3722501-MGA
                                 3723088
      1719          00/00/2002    Depo Exh. 1719: Price List, MGA 3721551-
                                 MGA 3721667
      1720           4/26/2007    Depo Exh. 1720: Sales Document, MGA
                                 3711608-MGA 3713506
     1720a          00/00/2006    Depo Exh. 1720a: Consolidated Statement,
                                 MGA 3711608-MGA 3711707
      1722                        Depo Exh. 1722: Drawing; Notes
      1723                        Depo Exh. 1723: Drawing; Notes
      1724           7/00/2007    Depo Exh. 1724: Sales Document, MGA
                                 3713507-MGA 3714339
     1724A          00/00/2007    Depo Exh. 1724A: Consolidated Statement of
                                 Operations, MGA 3713507-MGA 3713516
      1725                        Depo Exh. 1725: Spreadsheet, MGA 3815502-
                                 MGA 3815505
      1726           12/5/2007    Depo Exh. 1726: Invoice, MGA 3815499
      1727            5/7/2007    Depo Exh. 1727: Invoice, MGA 3815501
      1728            5/7/2007    Depo Exh. 1728: Invoice, MGA 3815500
      1729            8/7/2007    Depo Exh. 1729: Invoice, MGA 3815498




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      1730          00/00/2005    Depo Exh. 1730: Financial Document, MGA
                                 3815394
      1731          00/00/2007    Depo Exh. 1731: Sales Document, MGA
                                 3815435-MGA 3815442
      1732          00/00/2004    Depo Exh. 1732: Sales Document, MGA
                                 3815258-MGA 3815263
      1733          00/00/2004    Depo Exh. 1733: Financial Document, MGA
                                 3815249-MGA 3815257
      1734          00/00/2005    Depo Exh. 1734: Sales Document, MGA
                                 3815287-MGA 3815308
      1735          00/00/2006    Depo Exh. 1735: Financial Document, MGA
                                 3815330-MGA 3815337
      1736          00/00/2007    Depo Exh. 1736: Sales Document, MGA
                                 3815443-MGA 3815497
      1737          00/00/2006    Depo Exh. 1737: Sales Document, MGA
                                 3815338-MGA 3815393
      1738          00/00/2006    Depo Exh. 1738: Financial Document, MGA
                                 3815309-MGA 3815329
      1739          00/00/2005    Depo Exh. 1739: Sales Document, MGA
                                 3815279-MGA 3815286
      1740          00/00/2005    Depo Exh. 1740: Financial Document, MGA
                                 3815275-MGA 3815278
      1741          00/00/2004    Depo Exh. 1741: Sales Document, MGA
                                 3815264-MGA 3815274
      1743                        Depo Exh. 1743: Invoice - also Exh. 1352,
                                 MGA 3787464-3787447
      1745          00/00/2005    Depo Exh. 1745: Invoice, MGA 1473939-MGA
                                 1473949
      1746          03/00/2003    Depo Exh. 1746: Check Register, MGA
                                 0065717-MGA 0065826
      1747                        Depo Exh. 1747: Drawing, BRYANT 00195
      1749          00/00/2001    Depo Exh. 1749: Invoice, MGA 3787398-MGA
                                 3787399
      1753          11/12/2007    Depo Exh. 1753: Letter
      1761            7/2/2002    Depo Exh. 1761: Affidavit, MGA 0883396-MGA
                                 0883407
      1763          10/17/2000    Depo Exh. 1763: Email, MGA 0067824
      1764          10/20/2000    Depo Exh. 1764: Email, MGA HK 0001843-
                                 MGA HK 0001846
      1766          10/25/2000    Depo Exh. 1766: Email, MGA 0046838-MGA
                                 0046840
      1767          10/26/2000    Depo Exh. 1767: Email, MGA 0066299-MGA
                                 0066300
      1768          10/27/2000    Depo Exh. 1768: Email with Attachment, MGA
                                 HK 0003003-MGA HK 0003006
      1769          10/27/2000    Depo Exh. 1769: Email, MGA 0046676-MGA
                                 00046679
      1771           11/4/2000    Depo Exh. 1771: Email, MGA 000047




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      1773           11/8/2000    Depo Exh. 1773: Email, MGA 0837635-MGA
                                 0837636
      1774            9/2/2004    Depo Exh. 1774: Letter, MGA 3709838-MGA
                                 3709840
      1775           9/18/2000    Depo Exh. 1775: Agreement, DR 00073-DR
                                 00084
      1786           9/28/2000    Depo Exh. 1786: Email, MGA 001346-MGA
                                 001354
      1787           9/26/2000    Depo Exh. 1787: Redacted Email, DR 00010-
                                 DR 00012
      1788            9/28/200    Depo Exh. 1788: Redacted Emails, MGA
                                 3708219-MGA 3708220
      1789           9/29/2000    Depo Exh. 1789: Redacted Email, MGA
                                 001343-MGA 001344
      1790           9/18/2000    Depo Exh. 1790: Agreement, BRYANT 16895-
                                 BRYANT 16907
      1791           10/3/2000    Depo Exh. 1791: Email, MGA 001342
      1792           10/4/2000    Depo Exh. 1792: Email, MGA 001340
      1902          11/21/2000    Depo Exh. 1902: Email, MGA 3167696
      1903          11/20/2006    Depo Exh. 1903: Press Release, MGA
                                 2949126
      1905          11/29/2000    Depo Exh. 1905: Email, MGA 004626
      1906            1/3/2001    Depo Exh. 1906: Email, MGA 0009167
      1907            3/9/2004    Depo Exh. 1907: Email, MGA 0017585-MGA
                                 0017586
      1908           4/18/2006    Depo Exh. 1908: Email, MGA 1497741-MGA
                                 1497742
      1909           3/10/2004    Depo Exh. 1909: Email, MGA 0017374-MGA
                                 0017376
      1910           8/21/2006    Depo Exh. 1910: Email, MGA 1769796-MGA
                                 1769797
      1911           8/29/1994    Depo Exh. 1911: Employment Application
      1912                        Depo Exh. 1912: Resume
      1913           8/25/1994    Depo Exh. 1913: Letter
      1914           8/29/1994    Depo Exh. 1914: Agreement, M 0097963-M
                                 0097964
      1915           6/26/2001    Depo Exh. 1915: Acknowledgment, M 0098183
      1916           8/29/1994    Depo Exh. 1916: Conflict of Interest
                                 Questionnaire, M 0097961-M 0097962
      1917          10/29/2004    Depo Exh. 1917: Letter, M 0097960
      1918          10/29/2004    Depo Exh. 1918: Letter, M 0097959
      1919          11/29/2004    Depo Exh. 1919: Letter, M 0098181-M
                                 0098182
      1920           12/2/2004    Depo Exh. 1920: Letter, M 0097956
      1921          10/28/2004    Depo Exh. 1921: Letter, MGA 0875946-MGA
                                 0875948
      1922          11/29/2004    Depo Exh. 1922: Agreement, MGA 0875949-
                                 MGA 0875953
      1923          11/29/2004    Depo Exh. 1923: Agreement, MGA 0875954-
                                 MGA 0875956


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      1924           11/2/2004    Depo Exh. 1924: Agreement, MGA 0875957-
                                 MGA 0875960
      1925          11/29/2004    Depo Exh. 1925: Acknowledgment, MGA
                                 0875961
      1926           11/2/2004    Depo Exh. 1926: Notice and Disclosure, MGA
                                 0875963
      1927           11/2/2004    Depo Exh. 1927: Authorization, MGA 0875964
      1928           11/2/2004    Depo Exh. 1928: Notification, MGA 0875965
      1929                        Depo Exh. 1929: Summary of Rights, MGA
                                 0875966
      1930           1/14/2005    Depo Exh. 1930: Email, MGA 0457674-MGA
                                 0457674
      1931                        Depo Exh. 1931: Exit Interview and Checkout
                                 Form
      1933           1/28/2005    Depo Exh. 1933: Email, MGA 1753247-MGA
                                 1753248
      1934           1/26/2005    Depo Exh. 1934: Email - also Exh. 818, MGA
                                 1753241-MGA 1753242
      1935           1/27/2005    Depo Exh. 1935: Email, MGA 1753239-MGA
                                 1753240
      1936           1/28/2005    Depo Exh. 1936: Email, MGA 1753238
      1937            2/7/2005    Depo Exh. 1937: Email also Exh. 815, MGA
                                 1753235
      1938            2/2/2005    Depo Exh. 1938: Email, MGA 0205819
      1939           3/13/2005    Depo Exh. 1939: Email, MGA 0151723-MGA
                                 0151725
      1940          00/00/2005    Depo Exh. 1940: Chart, M 0896240-M 0896255
     1940A          00/00/2005    Depo Exh. 1940A: Chart
      1941                        Depo Exh. 1941: Calendar, M 0896801-M
                                 0896871
     1941A                        Depo Exh. 1941A: Calendar
      1942          10/22/2004    Depo Exh. 1942: Spreadsheet, M 0896738-M
                                 0896740
     1942A          10/22/2004    Depo Exh. 1942A: Spreadsheet
      1943                        Depo Exh. 1943: Presentation, M 0896393-M
                                 0896469
     1943A                        Depo Exh. 1943A: Presentation
      1944          10/29/2004    Depo Exh. 1944: Presentation, M 0896587-M
                                 0896646
     1944A          10/29/2004    Depo Exh. 1944A: Presentation
      1945          10/29/2004    Depo Exh. 1945: Presentation
     1945A          10/29/2004    Depo Exh. 1945A: Presentation, M 0896285-M
                                 0896320
      1946          10/29/2004    Depo Exh. 1946: Presentation
     1946A          10/29/2004    Depo Exh. 1946A: Presentation, M 0896321-M
                                 0896392
      2116                        Depo Exh. 2116: Resume, M 0889136-M
                                 0889137
      2117            4/4/2006    Depo Exh. 2117: Email, M 0896988-M 0896999



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      2118            4/4/2006    Depo Exh. 2118: Spreadsheet, M 0896956-M
                                 0896959
      2119           4/28/2006    Depo Exh. 2119: Email, M 0897100-M 0897101
      2120           4/27/2006    Depo Exh. 2120: Budget Summary, M 0896960
      2121                        Depo Exh. 2121: Spreadsheet
      2122                        Depo Exh. 2122: Spreadsheet
      2123            4/9/1997    Depo Exh. 2123: Letter, M 0896947-M
                                 0896948
      2124           1/23/2004    Depo Exh. 2124: Letter, M 0897069-M
                                 0897071
      2125                        Depo Exh. 2125: Agreement, M 0896949-M
                                 0896950
      2126           1/26/2004    Depo Exh. 2126: Questionnaire, M 0098127
      2127            3/8/2004    Depo Exh. 2127: Agreement, M 0098128-M
                                 0098131
      2128          10/20/1999    Depo Exh. 2128: Acknowledgment of Receipt,
                                 M 0098138
      2129           6/14/2001    Depo Exh. 2129: Acknowledgment of Receipt,
                                 M 0098139
      2130           8/27/2001    Depo Exh. 2130: Acknowledgment, M 0098135
      2131           1/26/2004    Depo Exh. 2131: Acknowledgment of Receipt,
                                 M 0098134
      2132          10/18/2005    Depo Exh. 2132: Email, M 0098136-M 0098137
      2133           4/28/2006    Depo Exh. 2133: Email, M 0098147
      2134           4/30/2006    Depo Exh. 2134: Email, M 0897073
      2135            5/1/2006    Depo Exh. 2135: Memorandum, M 0098122
      2136            5/1/2006    Depo Exh. 2136: Email, M 0896951
      2137            5/2/2006    Depo Exh. 2137: Email, M 0897074
      2138            5/4/2006    Depo Exh. 2138: Exit Interview and Checkout
                                 Form
      2139           5/30/2006    Depo Exh. 2139: Email with Attachment, M
                                 0897075-M 0897084
      2140           2/27/2007    Depo Exh. 2140: Email, MGA 1753384-MGA
                                 1753385
      2141          00/00/2005    Depo Exh. 2141: Summary, M 0896973-M
                                 0896987
      2142           4/25/2005    Depo Exh. 2142: Funding Approval Request, M
                                 0897013-M 0897017
      2143           4/28/2006    Depo Exh. 2143: Spreadsheet, M 0879379
      2144           3/13/2006    Depo Exh. 2144: Media Schedule, M 0897009-
                                 M 0897012
      2145           12/7/2005    Depo Exh. 2145: Mainline Pricing, M 0889138-
                                 M 0889259
      2146           4/18/2005    Depo Exh. 2146: Funding Approval Request, M
                                 0897024-M 0897029
      2147           2/12/2006    Depo Exh. 2147: Spreadsheet, M 0889660
      2148          10/14/2005    Depo Exh. 2148: Spreadsheet, M 0889661
      2149           11/8/2005    Depo Exh. 2149: Chart, M 0889662




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      2150           2/1/2006    Depo Exh. 2150: Memorandum, M 0889663-M
                                0889666
      2151          4/28/2006    Depo Exh. 2151: Spreadsheet, M 0889667-M
                                0889670
      2152          4/22/2006    Depo Exh. 2152: Spreadsheet, M 0896961-M
                                0896972
      2153          4/24/2006    Depo Exh. 2153: Email, MGA 0228649
      2154          4/24/2006    Depo Exh. 2154: Email, MGA 0226107
      2155          4/26/2006    Depo Exh. 2155: Email, MGA 0228650
      2156          4/28/2006    Depo Exh. 2156: Email, MGA 1753327
      2157          4/27/2006    Depo Exh. 2157: Letter, MGA 1119148-MGA
                                1119149
      2158          4/27/2006    Depo Exh. 2158: Letter, MGA 0886779-MGA
                                0886780
      2159          4/28/2006    Depo Exh. 2159: Email, MGA 1753324-MGA
                                1753327
      2160          4/28/2006    Depo Exh. 2160: Email, MGA 0886781-MGA
                                0886783
      2161          4/22/2006    Depo Exh. 2161: Spreadsheet, M 0897032
      2162          4/28/2006    Depo Exh. 2162: Email, MGA 1753334
      2163           5/1/2006    Depo Exh. 2163: Email; form, MGA 1753332-
                                MGA 1753333; MGA 0886784-MGA 0886787
      2164           5/1/2006    Depo Exh. 2164: Agreement, M 0889858-M
                                0889859
      2165           5/1/2006    Depo Exh. 2165: Email, MGA 1753376-MGA
                                1753377
      2166           5/5/2006    Depo Exh. 2166: Email, MGA 1753343-MGA
                                1753344
      2167           5/8/2006    Depo Exh. 2167: Email, MGA 1753345-MGA
                                1753346
      2168          4/24/2007    Depo Exh. 2168: Email, MGA 0301440-MGA
                                0301441
      2169          9/18/2007    Depo Exh. 2169: Legal Document, MGA
                                0877007-MGA 0877008
      2202          9/19/2000    Depo Exh. 2202: Redacted Email, DR 00015-
                                DR 00016
      2203          9/18/2000    Depo Exh. 2203: Agreement, DR 00019-DR
                                00026
      2208          9/18/2000    Depo Exh. 2208: Agreement; Email, DR 00045-
                                DR 00057
      2209          9/18/2000    Depo Exh. 2209: Agreement, DR 00035-DR
                                00044
      2210          9/18/2000    Depo Exh. 2210: Agreement, MGA 0047390-
                                MGA 0047397
      2212          9/29/2000    Depo Exh. 2212: Email, DR 00056-DR 00057
      2214                       Depo Exh. 2214: Redacted Statements, WANG
                                0001-WANG 0002
      2215          11/7/2000    Depo Exh. 2215: Redacted Statements, WANG
                                0004-WANG 0005



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      2216          11/13/2000    Depo Exh. 2216: Redacted Statements, WANG
                                 0006-WANG 0007
      2666           4/28/2006    Depo Exh. 2666: Email, M 0098148
      2667            5/4/2006    Depo Exh. 2667: Form, M 0098140-M 0098145
      3351           12/6/2000    Depo Exh. 3351: Redacted Invoice, MGA
                                 002623
      3352           12/6/2000    Depo Exh. 3352: Invoice, SBM 0009
      3353           12/6/2000    Depo Exh. 3353: Invoice, SBM 0005
      3355          10/31/2005    Depo Exh. 3355: Legal Document, MGA
                                 0885035-MGA 0885036
      3601            2/5/2004    Depo Exh. 3601: Email, MGA 0428161
      3602            3/8/2004    Depo Exh. 3602: Itinerary, MGA 0875243
      3603            3/3/2004    Depo Exh. 3603: Email, MGA 0875248
      3604           3/16/2004    Depo Exh. 3604: Email, M 0059789
      3605           3/16/2004    Depo Exh. 3605: Email, MGA 0183734-MGA
                                 0183735
      3606           3/15/2004    Depo Exh. 3606: Email, M 0059788
      3607           3/16/2004    Depo Exh. 3607: Email, MGA 0141660-MGA
                                 0141661
      3608           3/16/2004    Depo Exh. 3608: Email, MGA 0141659
      3609           3/17/2004    Depo Exh. 3609: Email, MGA 0141656-MGA
                                 0141658
      3610           3/23/2004    Depo Exh. 3610: Email with Attachment, MGA
                                 0413362-MGA 0413364
      3611           3/23/2004    Depo Exh. 3611: Email, MGA 0413365-MGA
                                 0413367
      3612           3/24/2004    Depo Exh. 3612: Email, MGA 0413368
      3613           3/29/2004    Depo Exh. 3613: Email, MGA 0417891
      3614           3/30/2004    Depo Exh. 3614: Email, MGA 0413299
      3615            4/2/2004    Depo Exh. 3615: Email, M 0126513
      3616           4/12/2004    Depo Exh. 3616: Email, M 0059832
      3617           4/14/2004    Depo Exh. 3617: Email, MGA 1116149
      3618           4/21/2004    Depo Exh. 3618: Email, MGA 0141356
      3619           4/28/2004    Depo Exh. 3619: Email, MGA 0182009-MGA
                                 0182013
      3620            5/2/2004    Depo Exh. 3620: Email, MGA 0331935-MGA
                                 0331936
      3621           5/21/2004    Depo Exh. 3621: Email, MGA 0179926-MGA
                                 0179928
      3622          12/24/2004    Depo Exh. 3622: Email, MGA 0199207-MGA
                                 0199209
      3623           9/24/2005    Depo Exh. 3623: Facsimile Credit Application,
                                 MGA 0869728
      3624                        Depo Exh. 3624: Spreadsheet, MGA 0495785-
                                 MGA 0495793
      3626            1/9/2007    Depo Exh. 3626: Email, MGA 0464354-MGA
                                 0464369
      3627          12/31/2004    Depo Exh. 3627: Spreadsheet, MGA 3710430-
                                 MGA 3710437



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      3628          00/00/2004    Depo Exh. 3628: Spreadsheet, MGA 1117920-
                                 MGA 1117924
      3629          00/00/2005    Depo Exh. 3629: Spreadsheet, MGA 1824791-
                                 MGA 1824806
      3630          12/31/2005    Depo Exh. 3630: Spreadsheet, MGA 3710565-
                                 MGA 3710583
      3631          12/31/2006    Depo Exh. 3631: Spreadsheet, MGA 3710834-
                                 MGA 3710851
      3632           7/31/2007    Depo Exh. 3632: Spreadsheet, MGA 3713507-
                                 MGA 3713538
      3633          00/00/2004    Depo Exh. 3633: Spreadsheet - also Exh. 1732,
                                 MGA 3815258-MGA 3815263
      3634          00/00/2005    Depo Exh. 3634: Spreadsheet - also Exh.
                                 1739, MGA 3815279-MGA 3815286
      3635          00/00/2006    Depo Exh. 3635: Spreadsheet - also Exh.
                                 1735, MGA 3815330-MGA 3815337
      3636          00/00/2007    Depo Exh. 3636: Spreadsheet - also Exh.
                                 1731, MGA 3815435-MGA 3815442
      3637          00/00/2004    Depo Exh. 3637: Spreadsheet - also Exh.
                                 1741, MGA 3815264-MGA 3815274
      3638          00/00/2005    Depo Exh. 3638: Spreadsheet - also Exh.
                                 1734, MGA 3815287-MGA 3815308
      3639                        Depo Exh. 3639: Spreadsheet - also Exh.
                                 1737, MGA 3815338-MGA 3815393
      3640          00/00/2007    Depo Exh. 3640: Spreadsheet - also Exh.
                                 1736, MGA 3815443-MGA 3815497
      3641          00/00/2004    Depo Exh. 3641: Spreadsheet - also Exh.
                                 1733, MGA 3815249-MGA 3815257
      3642          00/00/2005    Depo Exh. 3642: Returns - also Exh. 1740,
                                 MGA 3815275-MGA 3815278
      3643          00/00/2006    Depo Exh. 3643: Returns - also Exh. 1738,
                                 MGA 3815309-MGA 3815329
      3644          00/00/2007    Depo Exh. 3644: Email - also Exh. 1730, MGA
                                 3815394-MGA 3815434
      3645           5/20/2004    Depo Exh. 3645: Market Presentation;
                                 Financial Spreadsheet , MGA 2614340-MGA
                                 2614340;MGA 3710419-MGA 3710429
      4207           8/12/2003    Depo Exh. 4207: Affirmation, MGA 0885915-
                                 MGA 0885937
      4208            1/7/2004    Depo Exh. 4208: Affirmation, MGA 0883033-
                                 MGA 0883049
      4209           5/12/2003    Depo Exh. 4209: Complaint, MGA v. P&M
                                 Products USA, Inc., M 0109873-M 0109889
      4210            2/6/2003    Depo Exh. 4210: Email, MGA 1755181-MGA
                                 1755182
      4211           11/7/2002    Depo Exh. 4211: Email, MGA 2894002-MGA
                                 2894003
      4212           3/28/2003    Depo Exh. 4212: Email, MGA 3475715-MGA
                                 3475718



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      4213           4/4/2003    Depo Exh. 4213: Email, MGA 1480251-MGA
                                1480255
      4216          3/13/2003    Depo Exh. 4216: Agreement, MGA 0830502
      4217          3/18/2003    Depo Exh. 4217: Email, MGA 0830487-MGA
                                0830490
      4218          9/23/2003    Depo Exh. 4218: Email, MGA 1024917-MGA
                                1024918
      4219          10/1/2003    Depo Exh. 4219: Email, MGA 1639132
      4224          8/12/2003    Depo Exh. 4224: MGA v. Hunglam toys, MGA
                                0885913-MGA 0885914
      4228                       Depo Exh. 4228: Letter, KS 05926-KS 05948
      4237           3/9/2001    Depo Exh. 4237: Email, MGA 0305346-MGA
                                0305348
      4238          7/30/2003    Depo Exh. 4238: Email, MGA 1165376-MGA
                                1165382
      4239          8/24/2003    Depo Exh. 4239: Email, MGA 0182787-MGA
                                0182788
      4240          9/17/2004    Depo Exh. 4240: Ron Brawer Employment
                                Agmt, MGA 0887171-MGA 0887194
      4241           3/5/2004    Depo Exh. 4241: Fall Price List, MGA 0164272;
                                MGA 0164199-MGA 0164211
      4242          3/18/2004    Depo Exh. 4242: Memorandum from Ron
                                Brawer, M 0098278
      4243           5/7/2004    Depo Exh. 4243: Email, MGA 0141189-MGA
                                0141191
      4244          4/20/2006    Depo Exh. 4244: TRU Proposal, MGA
                                0235623-MGA 0235625
      4245           5/7/2004    Depo Exh. 4245: Email, MGA 0147501-MGA
                                0147502
      4246          7/27/2004    Depo Exh. 4246: Email, MGA 3512444
      4247          7/14/2004    Depo Exh. 4247: Compensation Schedule,
                                MGA 0887289
      4248          8/10/2004    Depo Exh. 4248: Email, MGA 0887203-MGA
                                0887205
      4249          8/13/2004    Depo Exh. 4249: Email, MGA 0887234-MGA
                                0887235
      4250          9/29/2004    Depo Exh. 4250: Redacted Notes, M 0164572-
                                M 0164580
      4251          9/00/2004    Depo Exh. 4251: Employment form, M
                                0098314-M 0098317
      4252          9/20/2004    Depo Exh. 4252: Letter, MGA 0887085
      4253          9/29/2004    Depo Exh. 4253: Memorandum, M 0098277;
                                MGA 0887224
      4254          8/23/2004    Depo Exh. 4254: Email with Attachment, M
                                0171161-M 0171176
      4255          8/30/2004    Depo Exh. 4255: Email with Attachment, M
                                0181309-M 0181327
      4256          8/30/2004    Depo Exh. 4256: Email, M 0181328-M 0181329




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      4257            9/1/2004    Depo Exh. 4257: Letter, MGA 0887163-MGA
                                 0887164
      4258            9/1/2004    Depo Exh. 4258: Email with Attachment, M
                                 0181371-M 0181399
      4259            9/3/2004    Depo Exh. 4259: Email, M 0181459-M 0181460
      4260            9/8/2004    Depo Exh. 4260: Email, M 0181534-M 0181535
      4261            9/9/2004    Depo Exh. 4261: Email, M 0181540-M 0181541
      4262            9/9/2004    Depo Exh. 4262: Email, M 0181572-M 0181573
      4263          9/10//2004    Depo Exh. 4263: Email, M 0177249-M 0177251
      4264           9/13/2004    Depo Exh. 4264: Email with Attachment, M
                                 0177556-M 0177566
      4265           9/13/2004    Depo Exh. 4265: Email, M 0181603-M 0181608
      4266           10/5/2004    Depo Exh. 4266: Employment Agreement,
                                 MGA 0887075-MGA 0887084
    4500RH            4/6/2001    Depo Exh. 4500: Email, MGA 4022747-MGA
                                 4022752
    4500RT           11/8/2007    Depo Exh. 4500RT: Witness Agreement, RT
                                 00556- RT 00558
    4501RT           11/4/2007    Depo Exh. 4501RT: Invoices, RT 00338-RT
                                 00347
    4504RT          08/00/1999   Depo Exh. 4504RT, M 0102217-2350
    4505RT           9/27/2004    Depo Exh. 4505RT: Filing, RT 00134-RT 00149
     4506            10/7/2001   Depo Exh. 4506: Email, MGA 4403279
     4508           11/27/2000    Depo Exh. 4508: Email, MGA 004623
     4509            1/12/2001    Depo Exh. 4509: Email, MGA 0010128
     4510            3/19/2001    Depo Exh. 4510: Email, MGA 0049434
     4511             5/1/2001    Depo Exh. 4511: Email, MGA 0051253-MGA
                                 0051254
      4512            5/8/2001    Depo Exh. 4512: Email, MGA 0051069-MGA
                                 0051070
    4526KM           10/9/2000    Depo Exh. 4526KM: Estimate, GG 000015
    4526MM           10/9/2000    Depo Exh. 4526: Forensic Analysis Report
    4528KM           11/7/2000    Depo Exh. 4528KM: Estimate, GG 000020
    4530KM           10/5/2000    Depo Exh. 4530KM: Non-Disclosure
                                 Agreement, GG 000045
    4532MM                        Depo Exh. 4532: Evidence Eliminator
                                 Screenshots
    4533MM                        Depo Exh. 4533: Evidence Eliminator
                                 Screenshot
    4534KM            1/2/2008    Depo Exh. 4534KM: Invoice History, GG
                                 000017
    4536KM            1/3/2008    Depo Exh. 4536KM: Invoice History, GG 00001
    4537KM           8/29/2001    Depo Exh. 4537KM: Email with Attachment,
                                 GG 000064-GG 000069
    4540KM            9/6/2001    Depo Exh. 4540KM: Email chain, GG 000057-
                                 GG 000059
    4541KM           1/30/2002    Depo Exh. 4541KM: Email chain, MGA
                                 3786572- MGA 3786577




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    4542KM                        Depo Exh. 4542KM: Email chain, GG 000073-
                                 GG 000075
    4543KM                        Depo Exh. 4543KM: Email chain, GG000076-
                                 GG 000086
    4544KM                        Depo Exh. 4544KM: Drawing, GG 000054
    4544MM           2/10/2008    Depo Exh. 4544: Menz Report 2
    4550MM           2/10/2008    Depo Exh. 4550: Menz Report 4
    4551KM          10/11/2000    Depo Exh. 4551KM: Invoice No. 2362, GG
                                 000016
    4551MW                       Drawings
                    00/00/2000   BRYANT 00262 -272
    4552MW           2/11/2008    Depo Exh. 4552: Expert Report (Wagner)
    4553MW           3/17/2008    Depo Exh. 4553: Expert Rebuttal Report
                                 (Wagner)
      4554                       Invoices
      4555                none   Spreadsheet
      4556                none   Spreadsheet
      4557                none   Spreadsheet
      4558          00/00/2006   Spreadsheet
      4559                       Spreadsheets
                         none    MGA 0868723 -865
      4560               none    Spreadsheet
      4561                       Depo Exh. 4561
      4562               none    Spreadsheet
      4563                       Spreadsheet
                     7/31/2007   MGA3713507 -509
      4564                none   Spreadsheet
      4565                none   Spreadsheet
      4566                none   Spreadsheets
      4567                none   Spreadsheet
      4568          11/00/2007   Marketing study
      4569           2/18/2008   IBISWorld Industry Report
      4570           2/18/2008   Spreadsheet
      4571                       Excerpt from Stocks, Bonds, Bills and Inflation
                                 (SBBI) 2007 Yearbook Valuation Edition
                                 (Chapter 7 "Firm Size and Return"), published by
                    00/00/2007   Motningstar, Inc.
      4572                       Two page excerpt from "Litagation Services
                                 Handbook - The Role of the Financial Expert"
                                 Edited by R. Weil, M. Wagner & P. Frank (from
                         none    Chapter 10 -Business Valuations)
      4573                       SEC Form 10-K (excerpt) for RC2 Corporation
                    12/31/2007   for the fiscal year ended December 31, 2007
      4574                       SEC Form 10-K (excerpt) for Hasbro, Inc. for the
                    12/31/2007   fiscal year ended December 31, 2007
      4575                       SEC Form 10-K (excerpt) for Marvel
                                 Entertainment, Inc. for the fiscal year ended
                    12/31/2007   December 31, 2007
      4576          12/31/2007   Spreadsheet



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      4577                       Wedbush Morgan Securities Equity Research
                    12/31/2006   report
      4578          12/31/2007   Spreadsheet
      4579                none   Spreadsheet
      4580                       Consumerquest Marketing Research Report
                                 prepared for MGA entitled "2002 Bratz
                                 Commercial Test and Product Appeals Study"
                                 (also marked as Ex. 4991 Scott, 4581 Wagner,
                                 5123 Varu)
                         none
      4581                       Mattel document entitled My Scene & Bratz:
                                 What's Working & What's Not re marketing of My
                                 Scene
                                 MGA 0149327 -355
                     1/29/2002
      4582                       Mattel Worldwide Consumer Research report
                         none    M 0078511-512
      4583                       Mattel Worldwide Consumer Research report
                    12/15/2003   M 0045646 -707
      4584                       Mattel Worldwide Consumer Research report
                                 M 0080101 - M 0080110
                       Dec-04
      4585                       Mattel Worldwide Consumer Research report
                     11/5/2004    M 0082065
      4586                       Presentation
                     8/27/2003   M 0072014 - M 0072060
      4587                       Brand Comparison Chart that compares Barbie,
                                 My Scene and Bratz dolls strengths, limitations
                         none    and potential M 0065305
      4588                       Presentation
                         none     M 0082011 - M 0082018
      4589                       My Scene Go Forward Strategy outline M
                         none    0086591 - M 0086592
      4590                       SEC Form 10-K (excerpt) for Mattel, Inc. for the
                    12/31/2004   fiscal year ended December 31, 2004
      4591                       Email chain
                      4/2/2004   M 0079846 -847
      4592                       Document entitled The Bratz Brief
                    11/14/2003    M 0079765 -771
      4593                       Presentation entitled "2005 Barbie Spring Line
                     4/15/2003   Review" M 0079758
      4594                       Expert Report of Michael J. Wagner re Teri J.
                     12/8/2004   McDermott v. Advanstar Communications Inc
                                 Depo Exh. 4595: Expert Report
      4595            2/8/2008
      4598                        Depo Exh. 4598
      4600                        Depo Exh. 4600
      4603           3/17/2008    Depo Exh. 4603: Expert Rebuttal Report
                                 (Loetz)
      4604                       2008 Exhibit 2 to Loetz Expert Rebuttal Report
      4605                       2008 Exhibit 3 to Loetz Expert Rebuttal Report


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      4606                       M0098476;M0098487;M0098488;M0098556:
                                 Steve Madden Advertisement
      4607                       M0102091;M0102349;M0130763;M0131173:
                                 Steve Madden Advertisements
     4608                         Depo Exh. 4608: M 0102059; M 0102350
     4609                         Depo Exh. 4609: M 0130723-M 0130971
     4610                        2008 Exhibit 4 Loetz Expert Rebuttal Report
     4611                        2008 Exhibit 5 to Loetz Expert Rebuttal Report
     4612            2/11/2008    Depo Exh. 4612: Expert Report (Loetz)
     4623            2/11/2008    Depo Exh. 4623: Expert Report (Cunningham)
     4700            2/11/2008    Depo Exh. 4700: Expert Report (Oman)
    4901NA           7/16/2001    Depo Exh. 4901: Email, MGA 0022083-MGA
                                 0022086
    4902NA           7/20/2001    Depo Exh. 4902: Email, MGA 1144281-MGA
                                 1144288
    4903NA           8/14/2001    Depo Exh. 4903: Email, MGA 0325021-MGA
                                 0325025
    4904NA           4/18/2001    Depo Exh. 4904: Email, MGA 0050218
    4905NA           4/25/2001    Depo Exh. 4905: Email, MGA 0050016
    4906EJ           1/29/2008    Depo Exh. 4906JE: Text of Interview, EJ
                                 00034-EJ 00040
    4906NA            5/9/2001    Depo Exh. 4906: Email, MGA 0052039
    4908NA            5/4/2001    Depo Exh. 4908: Email, MGA 0052174
    4909NA            5/7/2001    Depo Exh. 4909: Email, MGA 0051089-MGA
                                 0051090
    4910NA           5/10/2001    Depo Exh. 4910: Email, MGA 0050772
     4917            6/26/2001    Depo Exh. 4917: Email, MGA 0010072
     4918            6/20/2001    Depo Exh. 4918: Meeting Recap, MGA
                                 0065671-MGA 0065672
      4927            9/6/2000    Depo Exh. 4927: Email
      4943           5/21/2003    Depo Exh. 4943: Email, MGA 0143307-MGA
                                 01443309
      4944            2/5/2003    Depo Exh. 4944: Email, MGA 0142614-MGA
                                 0142616
      4945           1/28/2008    Depo Exh. 4945: Privilege Log
      4946                        Depo Exh. 4946: Spreadsheet, MGA 3787278
      4947           3/14/2006    Depo Exh. 4947: Financial Document, MGA
                                 3787275
      4948           9/23/1999    Depo Exh. 4948: Employment Application,
                                 MGA 0886904-MGA 0886920
      4949          00/00/2001    Depo Exh. 4949: Schedules, MGA 3844644
      4950            4/7/2000    Depo Exh. 4950: Drawing, KMW-M 007726
      4951          10/18/2000    Depo Exh. 4951: Email , MGA 4501291-MGA
                                 4501300
                                 Report prepared by Mattel Worldwide Consumer
      4979           11/3/2004   Research, M 0082070 - M 0082079
      4980           2/11/2008    Depo Exh. 4980: Expert Report
      4981           1/13/2008   Letter and Invoice, M-CS 00008 - M-CS 00013
      4982           2/22/2008   Letter, M-CS 00001 - M-CS 00007



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      4983                       Report entitled "The Transamerica Pyramid;
                                 Brand Equity and Rental Premiums" by Carol A.
                     1/00/2002   Scott
      4984                       Document entitled The Bratz Brief, M 0079765 -
                    11/14/2003   M 0079771
      4985                       Mattel document entitled My Scene & Bratz:
                                 What's Working & What's Not re marketing of My
                         none    Scene, M 0078511 - M 0078512
      4986                       Presentation entitled "Creating and Managing
                                 Strong Brands" by C. Scott, M-CS 00037 - M-
                    00/00/2007   CS00079
      4987           3/10/2008    Depo Exh. 4987: Expert Report
      4988                       Presentation: My City, My Style, My Scene
                                 Competitive Overview re marketing My Scene
                     8/27/2003   vs. Bratz, M 0072014 - M 0072060
      4989                       Document entitled "Brand Comparison Chart"
                                 (between Barbie, My Scene and Bratz), M
                          none   0065305
      4990           3/17/2008   Depo Exh. 4990: Expert Report
      4991                       Consumerquest Marketing Research Report,
                     1/29/2002   MGA 0149327 - MGA 0149355
      4992            4/2/2004   Email chain, M 0079846 - M 0079847
      4993                       Mattel Worldwide Consumer Research Report,
                      3/9/2004   M 0082121 - M 0082137
      4994                       Mattel Worldwide Consumer Research Report,
                     8/25/2004   M 0082159 - M 0082168
      4995                       Mattel Worldwide Consumer Research Report,
                    10/20/2004   M 0082169 - M 0082179
      4996                       Mattel Worldwide Consumer Research Report,
                     11/3/2004   M 0082190 - M 0082199
      4997                       Mattel Worldwide Consumer Research Report,
                     11/3/2004   M 0082070 - M 0082079
      4998                       Mattel Worldwide Consumer Research Report,
                    12/22/2004   M 0080101 - M 0080110
      4999                       Mattel Worldwide Consumer Research Report,
                      3/4/2005   M 0082180 - M 0082189
      5000                       Mattel Worldwide Consumer Research Report,
                      3/4/2005   M 0080259 - M 0080268
      5001                       Mattel Worldwide Consumer Research Report,
                     6/10/2005   M 0080111 - M 0080120
      5002                       Mattel Worldwide Consumer Research Report,
                      7/7/2005   M 0080091 - M 0080100
      5003                       Mattel Worldwide Consumer Research Report,
                      8/3/2005   M 0079807 - M 0079816
      5004                       Mattel Worldwide Consumer Research Report,
                     9/12/2005   M 0152505
      5005           3/16/2004   Presentation, M 0079848 - M 0079855
      5006                none   Presentation, M 0082011 - M 0082018
      5007                none   U.S. SEC excerpt from Mattel, Inc. Form 10-K



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      5009            2/4/2005    Depo Exh. 5009: Email, NPD 00171-NPD
                                 00178
      5018           3/29/2007    Depo Exh. 5018: Email, NPD 00543-NPD
                                 00560
      5027           3/25/2003    Depo Exh. 5027: Email, NPD 00019-NPD
                                 00025
      5028            4/8/2003    Depo Exh. 5028: Email, NPD 00502
      5029           4/22/2003    Depo Exh. 5029: Email, M 0109323-M 0109325
      5030            7/8/2003    Depo Exh. 5030: Email, NPD 00080-NPD
                                 00083
      5031           7/28/2003    Depo Exh. 5031: Email, NPD 00574-NPD
                                 00575
      5033            8/8/2003    Depo Exh. 5033: Email, NPD 00584
      5266          10/14/1999    Depo Exh. 5266: Personnel Document, M
                                 0254985 & M 0254983
      5268          12/18/2000    Depo Exh. 5268: Emails, MGA 000105-MGA
                                 000107
      5390           6/10/2000    Depo Exh. 5390: Agreement, M 0262518
      5391           3/22/2004    Depo Exh. 5391: Agreement, M 0262503-M
                                 0262507
      5392           6/10/2000    Depo Exh. 5392: COI Questionnaire, M
                                 0262517
      5395            2/2/2006    Depo Exh. 5395: Agreement, M 0262495-M
                                 0262502
      5396            5/1/2006    Depo Exh. 5396: Agreement, M 0262532-M
                                 0262533
      5397            5/1/2006    Depo Exh. 5397: Agreement, M 0262531
      5398            5/1/2006    Depo Exh. 5398: Agreement, M 0262534-M
                                 0262537
      5448                        Depo Exh. 5448: Receipts
      5449                        Depo Exh. 5449: Time Records
      5450                        Depo Exh. 5450: Receipts
      5451                        Depo Exh. 5451: Receipts
      5452                        Depo Exh. 5452: Time Records
      5453                        Depo Exh. 5453: Time Records
      5454                        Depo Exh. 5454: Time Records
      5464                        Depo Exh. 5464: Funky Tweenz Doll
      5465                        Depo Exh. 5465: Trendy Teenz Doll
      5467                        Depo Exh. 5467: Scampz Doll
      5468                        Depo Exh. 5468: Glamma Jammaz Doll
      5469                        Depo Exh. 5469: Red Headed Doll
      5473                       Depo Exh. 5473: Declaration, MGA 0871307-
                      4/6/2004   MGA 0871499
      5477                       Depo Exh. 5477
      5490           8/17/2003   Depo Exh. 5490: Email with attachment
      5522                       Depo Exh. 5522
      5562           7/22/2000   Depo Exh. 5562: Telephone Account
                                 Summary, SABW-M 00319-SABW-M 00346
      5563                       Depo Exh. 5563: Telephone Account
                                 Summaries



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      5564                        Depo Exh. 5564: Telephone Account
                                 Summaries
      5565                        Depo Exh. 5565: Telephone Account
                                 Summaries
      5566                        Depo Exh. 5566: Telephone Account
                                 Summaries
      5567                        Depo Exh. 5567: Invoices, KMW-M 006674-
                                 KMW-M 006694
      5570           7/26/2004    Depo Exh. 5570: Email, KMW-M 010234
      5571                        Depo Exh. 5571: Wells Fargo Bank Records
      5572                        Depo Exh. 5572: Bank of America Bank,
                                 Records
      5573                        Depo Exh. 5573: Bank of America Bank
                                 Records, VM-BOA 01168-VM-BOA 01407
      5574                        Depo Exh. 5574: Union of California Bank
                                 Records, VM-UB 00004-VM-UB00498
      5575                        Depo Exh. 5575: Charles Schwab Bank
                                 Records, VM-CS 00001-VM-CS 00105
      5576                        Depo Exh. 5576: ING Bank Records, VM-ING
                                 00001-VM-ING 00014
      5577                        Depo Exh. 5577: American Funds Bank
                                 Records, VM-CBT - 00001-VM-CBT 00013
      5578                        Depo Exh. 5578: Credit Union Records, VM-
                                 IRCU - 00001-VM-IRCU 000186
      5580                        Depo Exh. 5580: Marlow Tax Records
      5581                        Depo Exh. 5581: Marlow Tax Records
      5582                        Depo Exh. 5582: Credit Union Records, VM-
                                 MFCU 00001-VM-MFCU 00100
      5583                        Depo Exh. 5583: Check Register Entries,
                                 KMW-MAR 000340-KMW-MAR 000353
      5584                        Depo Exh. 5584: Check Register Entries
      5585                        Depo Exh. 5585: ABC International Traders,
                                 Inc. and Veronica Marlow Documents
      5586                        Depo Exh. 5586: ABC International Traders,
                                 Inc. and Veronica Marlow Documents, MGA
                                 0072161-MGA 0072167
      5588          00/00/2003    Depo Exh. 5588: Spreadsheet, KMW-M
                                 011179
      5590          00/00/2001    Depo Exh. 5590: Form 1099, KMW-M 013306;
                                 KMW-M 013311; KMW-M 013313 - KMW-M
                                 013314
      5591                        Depo Exh. 5591: Handwritten Note, KMW-M
                                 009117
      5592                        Depo Exh. 5592: Pedro Salazar Records
      5593                        Depo Exh. 5593: Maria Elena Salazar Records
      5594                        Depo Exh. 5594: Cabrera Records
      5595           3/24/2003    Depo Exh. 5595: IRS Notice No. CP-2100A,
                                 KMW-M 013408
      5596                        Depo Exh. 5596: Fax, Doll Drawings



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      5597            2/10/2003    Depo Exh. 5597: Note, with Attachment,
                                  BRYANT 01668-BRYANT 01670
      5599                         Depo Exh. 5599: Gonzalo Morales Records
      5600                         Depo Exh. 5600: Employment Records
      5601                         Depo Exh. 5601: Dissolution Documents,
                                  KMW-M 009100-KMW-M 009101
      5602           10/23/2000    Depo Exh. 5602: Email, KMW-M 00821-KMW-
                                  M 00826
      5603            6/16/2005    Depo Exh. 5603: Email, KMW-M 04671-KMW-
                                  M 04672
      5604            8/17/2000    Depo Exh. 5604: Email, KMW-M 010193-KMW-
                                  M 010194
      5605                         Depo Exh. 5605: Drawings
      5606                         Depo Exh. 5606: Presentation
      5607            7/20/2000    Depo Exh. 5607: Email, KMW-MARLOW
                                  000536-KMW-MARLOW 000536
      5608                        Deposition Exh. 5608: Motion for Order Allowing
                                  Depositions and and requiring Prehearing
                                  Production of Documents in Larian v. Larian, CC
                                  00041-CC 00064
                    10/17/2005
      5609                         Depo Exh. 5609: Email, MGA 3850328-MGA
                                  3850330
      5613           11/17/1995    Depo Exh. 5613: Inventions Agreement, M
                                  0262449-M 0262450
      5614            3/18/2004    Depo Exh. 5614: Memo, M 0262433-M
                                  0262438
      5621                        Depo Exh. 5621: Mattel Inventions and
                                  Confidentiality Agreement - Ana Cabrera, M
                     11/17/1995   0262447-M 0262448
      5665                         Depo Exh. 5665: Ana Cabrera Records
                                  (handwritten)
      5666                         Depo Exh. 5666: Ana Cabrera Records
      5667                         Depo Exh. 5667: Ana Cabrera Records
      5668                         Depo Exh. 5668: Ana Cabrera Records
      5715                        Depo Exh. 5715: Email, MGA 4005622 - MGA
                      8/11/1999   4005634
      5722                         Depo Exh. 5722: Maria Salazar Payment
                                  Records, KMW-M 009687 - KMW-M 009699
      5723                         Depo Exh. 5723: Maria Salazar Records
      5725                         Depo Exh. 5725: Maria Salazar Employment
                                  Application, MGA 00886442-MGA 00886447
      5726                         Depo Exh. 5726: Email with Attachment, MGA
                                  1115950-MGAS 1115952
      5727                         Depo Exh. 5727: Separation Agreement (Maria
                                  Salazar), M 0262561-M 0262568
      5730                         Depo Exh. 5730: Employee Agreement (Maria
                                  Salazar), M 0262575-M 0262576
      5731                         Depo Exh. 5731: COI Questionnaire (Maria
                                  Salazar), M 0262573-M 0262574




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      5912                        Depo Exh. 5912
      5930                        Depo Exh. 5930
      6000           3/29/2004    Depo Exh. 6000: San Fernando Valley
                                 Business Journal Article, M 0101133- M0101135
      6024                        Depo Exh. 6024
     10001            5/1/2001    Email, MGA 0051255-MGA 0051257
     10002           3/28/2005    Mattel's First Set of Requests for Admissions to
                                 Bryant
     10003          12/20/2005    Deposition, MGA 0874043-MGA 0874111
     10004            5/1/2007    Transcript, MGA 0868866-MGA 0869098
     10008           4/11/2000    Drawings, KMW-M 001646-KMW-M 001652
     10010            7/6/2000    Check Stub; Invoice; Purchase Order;
                                 Requisition; MGA 0008035A-MGA 0008038A
     10011            7/6/2000    Check Stub, MGA 000705
     10014           7/21/2000    Check Stub; Invoice; Purchase Order;
                                 Requisition, MGA 0008039-MGA 0008042
     10018          10/23/2000    Redacted Telephone Bill, BRYANT 01286-
                                 BRYANT 01292
     10020           11/6/2000    Email, M 0071888-M 0071894
     10021           9/20/2005    Presentation, M 0075422-M 0075469
     10022            5/3/2004    Email; Agreement or forms; Agreements;
                                 Employment Documents; Letter, M 0255027-M
                                 0255140
     10023                        Agreement/Forms; Employment Documents;
                                 Agreements; Email; Invoices; Receipts, M
                                 0255141-M 0255266
     10024           9/18/2000    Invoice; Purchase Order; Requisition, MGA
                                 000721-MGA 000723
     10025           9/29/2000    Check Stub; Invoice; Purchase Order;
                                 Requisition, MGA 0008047A-MGA 0008050 A
     10027          10/17/2000    Email with Attachment, MGA 0046750-MGA
                                 0046772
     10029          10/18/2000    Email with Attachment, MGA 0065327-MGA
                                 0065331
     10031           8/11/2000    Invoice, MGA 0072019-MGA 0072027
     10032           3/10/2004    Email, MGA 0178770-MGA 0178771
     10033           10/27/200    VAu715-273 application, drawing of heads
                                 (Bratz), M 0059758-M 0059761
     10035           2/11/2008    Expert Report of John Alex
     10037          10/21/2000    Email, MGA HK 0001848-MGA HK 0001851
     10040          10/19/2000    Email, MGA HK 0002446-MGA HK 0002450
     10042          10/21/2000    Email, MGA HK 0002490-MGA HK 0002601
     10043          10/21/2000    Email with Attachment, MGA HK 0002604-MGA
                                 HK 0002620
     10044          10/25/2000    Email, MGA HK 0002924-MGA HK 0002925
     10045          10/26/2000    Email, MGA HK 0002948-MGA HK 0002949
     10046          10/27/2000    Email, MGA HK 0002997
     10047          10/27/2000    Email with Attachment, MGA HK 0003000-MGA
                                 HK 0003002



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     10048          12/14/2000    Email, MGA HK 0004048
     10050          12/14/2000    Email, MGA HK 0004056-MGA HK 0004058
     10052          12/15/2000    Email, MGA HK 0004069-MGA HK 0004072
     10054          10/19/2000    Phone Bill, SABW-M 00065-SABW-M 00078
     10055                        Facsimile; Drawing, SABW-M 00429
     10057            7/6/2000    Check, UB 0006
     10058            7/6/2000    Check, UB 0004
     10059                        Check, UB 0003
     10060          10/26/2000    Email, MGA 0836593
     10063          10/16/2000    Email, MGA HK 0000159-MGA HK 0000260
     10064           2/11/2008    Expert Report of Lloyd Cunningham
     10066           2/11/2008    Expert Report of Carol Scott
     10070           2/11/2008    Expert Report of Ralph Oman
     10071           2/11/2008    Expert Report of Frank Keiser
     10072           2/11/2008    Expert Report of Lee Loetz
     10077                        Exhibit B to Expert Report of Lloyd Cunningham
     10079                        Exhibit D to Expert Report of Lloyd Cunningham
     10081           2/11/2008    Expert Report of Mark Menz, Analysis 3
     10082          10/25/2000    Email, MGA HK 0002921-MGA HK 0002923
     10083           8/27/2002    Email, MGA 000014
     10084          10/25/2000    Email, MGA 0004562B-MGA 0004563B
     10085           10/6/2000    Check Stub, MGA 000713
     10087          10/27/2000    Email, MGA 0009121R B-MGA 0009124R B
     10089          10/27/2000    Email, MGA 0046672
     10090          10/11/2000    Email with Attachment, MGA 0046776-MGA
                                 0046777
     10091          10/16/2000    Email with Attachment, MGA 0049268-MGA
                                 0049271
     10092          10/15/2000    Email, MGA 0051562-MGA 0051563
     10093          10/16/2000    Email with Attachment, MGA 0067816-MGA
                                 0067823
     10094          10/23/2000    Email with Attachment, MGA HK 0002665-MGA
                                 HK 0002666
     10095          10/27/2006    VAu715-273 certificate, drawing of heads
                                 (Bratz), M 0059581-M 0059582
     10097          10/25/2000    Email with Attachment, MGA HK 0008846-MGA
                                 HK 0008857
     10100          10/16/2000    Email, MGA HK 0002341
     10101          10/17/2000    Email, MGA HK 0002396-MGA HK 0002397
     10103          10/16/2000    Email with Attachments, MGA HK 0002369-
                                 MGA HK 0002388
     10105          10/16/2000    Email, MGA HK 0002360
     10107          10/27/2006    VAu715-271 certificate, drawing of two dolls
                                 (Bratz), M 0059579-M 0059580
     10108          10/17/2000    Email, MGA HK 0002403-MGA HK 0002404
     10109          10/15/2000    Email with Attachment, MGA HK 0008993-MGA
                                 HK 0009017
     10110           7/21/2000    Check, UB 0007
     10111           8/11/2000    Redacted Check, UB 0008



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     10112           10/6/2000    Check, UB 0013
     10113          10/11/2000    Check, UB 0014
     10114          10/13/2000    Check, UB 0015
     10115          10/28/2000    Email with Attachments, MGA HK 0003020-
                                 MGA HK 0003119
     10116          10/27/2000    Email, MGA 000015-MGA 000017
     10117           10/4/2000    Email with Attachment, MGA 001318-MGA
                                 001337
     10121          10/27/2006    VAu715-271 application, drawing of two dolls
                                 (Bratz), M 0059754-M 0059757
     10122          10/27/2006    VA 1-378-648 certificate, drawing of Doll No. 1,
                                 Pitched as "Zoe"; Developed as "Cloe", M
                                 0059583-M 0059584
     10123          10/27/2006    VA 1-378-648 application, drawing of Doll No. 1,
                                 Pitched as "Zoe"; Developed as "Cloe", M
                                 0059698-M 0059701
     10124          10/27/2006    VA 1-378-650 certificate, group drawing of dolls
                                 (Bratz), M 0059587-M 0059588
     10125          10/27/2006    VA 1-378-650 application, group drawing of
                                 dolls (Bratz), M 0059706-M 0059709
     10126          10/27/2006    VA 1-378-649 certificate, drawing of Doll No. 2,
                                 Pitched as "Hallidae"; Developed as "Sasha", M
                                 0059585-M 0059586
     10127          10/27/2006    VA 1-378-649 application, drawing of Doll No. 2,
                                 Pitched as "Hallidae"; Developed as "Sasha", M
                                 0059702-M 0059705
     10128          10/27/2006    VA 1-378-651 certificate, drawing of Doll No. 3,
                                 Pitched as "Zoe"; Developed as "Cloe", M
                                 0059589-M 0059590
     10129          10/27/2006    VA 1-378-651 application, drawing of Doll No. 3,
                                 Pitched as "Zoe"; Developed as "Cloe", M
                                 0059710-M 0059713
     10130          10/27/2006    VA 1-378-652 certificate, drawing of Doll No. 4,
                                 Pitched as "Lupe"; Developed as "Yasmin", M
                                 0059591-M 0059592
     10131          10/27/2006    VA 1-378-652 application, drawing of Doll No. 4,
                                 Pitched as "Lupe"; Developed as "Yasmin", M
                                 0059714-M 0059717
     10133          10/27/2006    VA 1-378-653 certificate, drawing of Doll No. 5,
                                 Pitched as "Zoe"; Developed as "Cloe", M
                                 0059593-M 0059594
     10134          10/27/2006    VA 1-378-653 application, drawing of Doll No. 5,
                                 Pitched as "Zoe"; Developed as "Cloe", M
                                 0059718-M 0059721
     10135          10/27/2006    VA 1-378-654 certificate, drawing of Doll No. 6,
                                 Pitched as "Lupe"; Developed as "Yasmin", M
                                 0059595-M 0059596
     10136          10/27/2006    VA 1-378-654 application, drawing of Doll No. 6,
                                 Pitched as "Lupe"; Developed as "Yasmin", M
                                 0059722-M 0059725


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     10137          10/27/2006    VA 1-378-655 certificate, drawing of Doll No. 7,
                                 Pitched as "Lupe"; Developed as "Yasmin", M
                                 0059597-M 0059598
     10138          10/27/2006    VA 1-378-655 application, drawing of Doll No. 7,
                                 Pitched as "Lupe"; Developed as "Yasmin", M
                                 0059726-M 0059729
     10140          10/27/2006    VA-1 378-656 certificate, drawing of Doll No. 8,
                                 "Jade", M 0059599-M 0059600
     10141          10/27/2006    VA-1 378-656 application, drawing of Doll No. 8,
                                 "Jade", M 0059730-M 0059733
     10142           3/00/2000    Seventeen Magazine, M 0131251-M 0131507
     10143          10/27/2006    VA-1 378-657 certificate, drawing of Doll No. 9,
                                 "Jade", M 0059601-M 0059602
     10144          10/27/2006    VA-1 378-657 application, drawing of Doll No. 9,
                                 "Jade", M 0059734-M 0059737
     10145           4/00/2000    Seventeen Magazine, M 0131508-M 0131745
     10146          10/27/2006    VA-1 378-658 certificate, drawing of Doll No. 10,
                                 "Jade", M 0059603-M 0059604
     10147          10/27/2006    VA-1 378-658 application, drawing of Doll No.
                                 10, "Jade", M 0059738-M 0059741
     10148          10/27/2006    VA-1 378-659 certificate, drawing of Doll No. 11,
                                 Pitched as "Hallidae" ; - Developed as "Sasha",
                                 M 0059605-M 0059606
     10149          10/27/2006    VA-1 378-659 application, drawing of Doll No.
                                 11, Pitched as "Hallidae" - Developed as
                                 "Sasha", M 0059742-M 0059745
     10150          10/27/2006   VA-1 378-660 deposit, drawing of Doll No. 12,
                                 Pitched as "Hallidae" - ; Developed as "Sasha",
                                 M 0059607-M 0059608
     10151          10/27/2006    VA-1 378-660 certificate, drawing of Doll No. 12,
                                 Pitched as "Hallidae" - Developed as "Sasha", M
                                 0059746-M 0059749
     10152          10/27/2006    VAu715-270 certificate, body drawing (Bratz), M
                                 0059609-M 0059610
     10153          10/27/2006    VAu715-270 application, body drawing (Bratz),
                                 M 0059750-M 0059753
     10154                        Drawing, BRYANT 01094
     10161           9/29/2001    Employment Documents, M 0062013-M
                                 0062026
     10169           4/28/2000    Purchase Order, MGA 0008862
     10170           4/28/2000    Purchase Order, MGA 0008863-MGA 008864
     10171          10/17/2005    Affidavit, MGA 0883844-MGA 00883855
     10172           10/7/2005    Exhibts to Affidavit, MGA 0883856-MGA
                                 00883857
     10173           10/7/2005    Pleading, MGA 0883904-MGA 0883919
     10174           7/24/2003    Affirmation, MGA 0884577-MGA 0884597
     10176           2/24/2006    Summary Judgment in MGA v. Double Grand,
                                 Action in Hong Kong, 2/24/06
     10177           6/21/2006    Judgment in Hong Kong Court of Appeals in
                                 MGA v. Double Grand, 6/21/06


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     10181           4/15/1998    Resignation Letter, M 0254795
     10183            6/3/2005    Financial/Sales Document, MGA 3710124-MGA
                                 3710131
     10184          12/00/2006    Financial/Sales Document, MGA 3743395-MGA
                                 3743416
     10185           0/00/2007    Financial/Sales Document, MGA 3743417-MGA
                                 3743605
     10186            3/9/2004    Financial/Sales Document, MGA 3710008-MGA
                                 3710123
     10187          12/31/2003    Financial/Sales Document, MGA 3710236-MGA
                                 3710245
     10188           7/12/2001    Report, MGA 0007341-MGA 0007351
     10190            2/9/2004    Report, MGA 3708300-MGA 3708311
     10191                        Financial/Sales Document, MGA 0236491-MGA
                                 0236504
     10192           7/00/2005    Report, MGA 0222789-MGA 0222799
     10193                        Financial/Sales Document, MGA 0218345-MGA
                                 0218356
     10194           6/27/2001    Email, MGA 3848822-MGA 3848825
     10195          10/26/2003    Employment Agreement, MGA 1510770-MGA
                                 1510771
     10196            3/9/2001    Email of Financial Document, MGA 0006406 B-
                                 MGA 0006408 B
     10197          00/00/2003    Financial/Sales Document, MGA 1185642-MGA
                                 1185655
     10198                        Financial/Sales Document, MGA 0148782-MGA
                                 0148785
     10199          12/31/2007    Financial/Sales Document, BRYANT2 011166
     10200           6/30/2001    Royalty Statement, BRYANT 04532
     10201           1/13/2003    Facsimile of Royalty Statement, BRYANT
                                 02630-BRYANT 02631
     10202           6/30/2003    Royalty Statement, MGA 0008982R B-MGA
                                 0008985R B
     10203                        Exhibit A to Expert Report of Ralph Oman
     10204                        Exhibit B to Expert Report of Ralph Oman
     10205                        Exhibit C to Expert Report of Ralph Oman
     10208          12/21/2000    Email, MGA 000192-MGA 000193
     10210                        Expert Report of Mark Menz, Analysis 2 Files
     10211                        Expert Report of Mark Menz, Analysis 3 Files
     10212                        Expert Report of Mark Menz, Analysis 4 Files
     10213                        Exhibit 1 to Expert Report of Carol Scott
     10214                        Exhibit 2 to Expert Report of Carol Scott
     10215                        Exhibit 3 to Expert Report of Carol Scott
     10216                        Exhibit 4 to Expert Report of Carol Scott
     10218                        Expert Report of Michael Wagner, Binder C
     10219                        Expert Report of Michael Wagner, Binder D
     10220                        Expert Report of Michael Wagner, Binder E
     10221                        Expert Report of Michael Wagner, Binder F
     10222                        Expert Report of Michael Wagner, Binder G



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     10224          10/13/2000    Check Stub, Receipts, MGA 3786749-MGA
                                 3786760
     10225           3/28/2005    Mattel's First Set of Request for Admission to
                                 MGA
     10226           12/1/2006    Mattel's Second Set of Requests for Admission
                                 to MGA
     10227           12/1/2006    Mattel's Second Set of Requests for Admission
                                 to Carter Bryant
     10228            3/1/2007    Mattel's Third Set of Requests for Admission to
                                 Carter Bryant
     10229           2/28/2007    Mattel's Third Set of Requests for Admission to
                                 MGA Entertainment, Inc.
     10230           2/28/2007    Mattel's Fourth Set of Requests for Admission to
                                 MGA Entertainment, Inc.
     10231            6/8/2007    Mattel's First Set of Requests for Admission to
                                 Isaac Larian
     10232            6/8/2007    Mattel's Fifth Set of Requests for Admission to
                                 Carter Bryant
     10233            6/8/2007    Mattel's Fourth Set of Requests for Admission to
                                 Defendant Carter Bryant
     10234            6/8/2007    Mattel's Fifth Set of Requests for Admission to
                                 MGA
     10235            7/9/2007    Mattel's Second Set of Requests for Admission
                                 to Isaac Larian
     10236            7/9/2007    Mattel's First Set of Requests for Admission to
                                 MGA Entertainment (HK), Ltd.
     10237            7/9/2007    Mattel's Sixth Set of Requests for Admission to
                                 Carter Bryant
     10238            7/9/2007    Mattel's Sixth Set of Requests for Admission to
                                 MGA
     10239           4/27/2005    Carter Bryant's Verified Objections and
                                 Responses to Mattel's First Set of Requests for
                                 Admission
     10240          12/28/2006    Carter Bryant's Responses and Objections to
                                 Mattel's Second of Requests for Admission
     10241           3/30/2007    Carter Bryant's Responses to Mattel's Third Set
                                 of Requests for Admission
     10242           2/20/2008    Isaac Larian's Supplemental Responses to
                                 Mattel's "First" Set of Requests for Admission to
                                 MGA; Carter Bryant; MGA (HK); and Isaac
                                 Larian for Request Nos. 5-8, 15, 16, 19-34, 44-
                                 49, 52-59, 60, 63, 66, and 69
     10243           5/29/2007   Carter Bryant's Supplemental and Amended
                                 Responses to Mattel's Third Set of Requests for
                                 Admission to Carter Bryant
     10244           6/11/2007   Carter Bryant's Second Supplemental and
                                 Amended Responses to Mattel's Third Set of
                                 Requests for Admission to Carter Bryant




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     10245          6/29/2007   Carter Bryant's Third Supplemental and
                                Amended Responses to Mattel's Third Set of
                                Requests for Admission to Carter Bryant
     10246           7/9/2007    Carter Bryant's Responses to Mattel's Fifth Set
                                of Requests for Admission to Carter Bryant
     10247           7/9/2007    Carter Bryant's Responses to Mattel's Fourth
                                Set of Request for Admission to Carter Bryant
     10248           7/9/2007    Carter Bryant's Responses to Mattel's Fifth Set
                                of Request for Admission to Carter Bryant
     10249          8/22/2007    Carter Bryant's Responses to Mattel's Sixth Set
                                of Requests for Admission to Carter Bryant
     10250          8/28/2007    Carter Bryant's Supplemental and Amended
                                Responses to Mattel's Fifth Set of Requests for
                                Admission to Carter Bryant
     10251          8/30/2007   Carter Bryant's Fourth Supplemental and
                                Amended Responses to Mattel's Third Set of
                                Requests for Admission to Carter Bryant
     10252           2/4/2008   Carter Bryant's Responses to Mattel Inc.'s
                                Second Set of Requests for Admission
                                Propounded to all Defendants
     10253          9/12/2007   Carter Bryant's Second Supplemental and
                                Amended Responses to Mattel's Fifth Set of
                                Requests for Admission to Carter Bryant
     10254          9/25/2007   Carter Bryant's Supplemental Responses to
                                Mattel's Sixth Set of Requests for Admission to
                                Carter Bryant
     10255           2/4/2008    Carter Bryant's Objections and Responses to
                                Mattel's First Set of Requests for Admission
                                dated December 27, 2007
     10256          4/27/2005    MGA's Responses to Mattel's First Set of
                                Requests for Admission
     10257           2/4/2008    Carter Bryant's Responses to Mattel's Third Set
                                of Requests for Admission Propounded to all
                                Defendants
     10258           2/4/2008    Carter Bryant's Third Supplemental Responses
                                to Mattel's Fifth Set of Requests for Admission to
                                Carter Bryant (Nos. 42-45)
     10259          2/14/2008    Carter Bryant's Supplemental and Amended
                                Objections and Responses to Mattel's "First" Set
                                of Requests for Admission dated December 27,
                                2007
     10260          2/14/2008   Carter Bryant's Fifth Supplemental and
                                Amended Responses to Mattel's Third Set of
                                Requests for Admission to Carter Bryant
     10261           8/8/2007   Isaac Larian's Responses to Mattel's Second
                                Set of Requests for Admission
     10262          9/21/2007   Isaac Larian's Supplemental Responses to
                                Mattel's First Set of Requets for Admission
     10263           1/2/2007   MGA's Responses to Mattel's Second Set of
                                Requests for Admission


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     10264          11/30/2007   Isaac Larian's Second Supplemental
                                 Responses to Mattel's First Set of Requests for
                                 Admission
     10265          12/14/2007   Isaac Larian's Supplemental Responses to
                                 Mattel's Second Set of Requests for Admission
     10266            2/4/2008   Isaac Larian's Objections and Responses to
                                 Mattel's "First Set of Requests for Admission to
                                 MGA Entertainment, Inc.; Carter Bryant; MGA
                                 Entertainment (HK); and Isaac Larian
     10267           3/30/2007    MGA's Responses to Mattel's Fourth Set of
                                 Requests for Admission to MGA Entertainment,
                                 Inc.
     10268            5/4/2007    MGA's Supplemental and Amended Responses
                                 to Mattel's Third Set of Requests for Admission
                                 to MGA Entertainment, Inc.
     10269            5/4/2007    MGA's Supplemental and Amended Responses
                                 to Mattel's Fourth Set of Requests for Admission
                                 to MGA
     10270            7/9/2007   MGA's Responses to Mattel's Fifth Set of
                                 Requests for Admission
     10271            7/9/2007   Isaac Larian's Responses to Mattel's First Set of
                                 Requests for Admission
     10272           7/20/2007   MGA's Second Supplemental and Amended
                                 Responses to Mattel's Third Set of Requests for
                                 Admission
     10273            8/8/2007    MGA's Responses to Mattel's Sixth Set of
                                 Requests for Admission to MGA Entertainment,
                                 Inc.
     10274           8/21/2007   MGA's Supplemental Responses to Mattel's
                                 Fifth Set of Requests for Admission
     10275           8/30/2007   MGA's Third Supplemental Responses to
                                 Mattel's Third Set of Requests for Admission to
                                 MGA Entertainment, Inc.
     10276           9/21/2007   MGA's Second Supplemental Responses to
                                 Mattel's Fifth Set of Requests for Admission
     10277          11/30/2007   MGA's Third Supplemental Responses to
                                 Mattel's Fifth Set of Requests for Admission
     10278          11/30/2007   MGA's Second Supplemental Responses to
                                 Mattel's Fourth Set of Requests for Admission
     10279          11/30/2007   MGA's Fourth Supplemental Responses to
                                 Mattel's Third Set of Requests for Admission
     10280          12/14/2007   MGA's Supplemental Responses to Mattel's
                                 Sixth Set of Requests for Admission
     10281            2/4/2008   MGA's Objections and Responses to Mattel's
                                 Fourth Set of Requests for Admission to all
                                 Defendants




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     10282           2/20/2008    MGA's Supplemental Responses to Mattel's
                                 "First" Set of Requests for Admission to MGA;
                                 Carter Bryant; MGA (HK); and Isaac Larian for
                                 Request Nos. 5-8, 15, 16, 19-34, 44-49, 52-59,
                                 60, 63, 66, and 69
     10283           3/30/2007    MGA's Responses to Mattel's Third Set of
                                 Requests for Admission to MGA Entertainment,
                                 Inc.
     10284            8/8/2007    MGA (HK)'s Responses to Mattel's First Set of
                                 Requests for Admission to MGA (HK)
     10285            2/4/2008    MGA (HK)'s Objections and Responses to
                                 Mattel "First" Set of Requests for Admission to
                                 MGA Entertainment, Inc. Carter Bryant; MGA
                                 (HK); and Isaac Larian
     10286           2/20/2008    MGA (HK)'s Supplemental Responses to
                                 Mattel's "First" Set of Requests for Admission to
                                 MGA; Carter Bryant; MGA (HK); and Isaac
                                 Larian for Requests Nos. 5-8, 15, 16, 19-34, 44-
                                 49, 52-59, 60, 63, 66, and 69
     10326          12/27/2004    Mattel's First Set of Interrogatories to MGA
     10327           4/28/2005    Mattel's Second Set of Interrogatories to MGA
     10328           4/28/2005    Mattel's Second Set of Interrogatories to Carter
                                 Bryant
     10329          12/20/2006    Mattel's First Set of Interrogatories Re Claims of
                                 Unfair Competition to MGA
     10330            6/7/2007    Mattel's Third Set of Interrogatories
     10331           9/21/2007    Mattel's Revised Third Set of Interrogatories
     10332          10/12/2007    Mattel's Fourth Set of Interrogatories
     10333          10/19/2007    Mattel Supplemental Interrogatory Pursuant to
                                 Order dated September 25, 2007
     10334          10/19/2007    Mattel's Fifth Set of Interrogatories
     10335          10/23/2007    Mattel's Amended Fourth Set of Interrogatories
                                 to MGA
     10336          10/23/2007    Mattel's Sixth Set of Interrogatories
                                 [Interrogatory No. 45 to Replace Prior, and
                                 Withdrawn, Interrogatory No. 45 in Mattel's
                                 Fourth Set of Interrogatories]
     10337          10/25/2007   Mattel's Seventh Set of Interrogatories
     10338            1/9/2008   Mattel's Supplemental Interrogatories
     10339           1/26/2005   Carter Bryant's Objections and Responses to
                                 First Set of Interrogatories Propounded By
                                 Mattel, Inc.
     10340           1/29/2005   Carter Bryant's Objections and Responses to
                                 First Set of Interrogatories Propounded By
                                 Mattel
     10341           6/12/2006   Carter Bryant's Objections and Responses to
                                 Second Set of Interrogatories Propounded By
                                 Mattel, Inc.
     10342            7/9/2007    Carter Bryant's Objections to Mattel's Third Set
                                 of Interrogatories



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     10343          11/15/2007   Carter Bryant's Objections and Responses to
                                 Mattel's Amended Fourth Set of Interrogatories
     10344          11/15/2007   Carter Bryant's Responses and Objections to
                                 Mattel, Inc.'s Revised Third Set of Interrogatories
     10345          11/21/2007   Carter Bryant's Responses and Objections to
                                 Mattel's Fifth Set of Interrogatories
     10346          11/26/2007   Carter Bryant's Responses and Objections to
                                 Mattel's Sixth Set of Interrogatories
     10347          11/26/2007   Carter Bryant's Responses and Objections to
                                 Mattel's Seventh Set of Interrogatories
     10348            1/7/2008   Carter Bryant's Responses to Mattel's Amended
                                 Supplemental Interrogatory Regarding
                                 Defendants' Affirmative Defenses
     10349           1/28/2008    Carter Bryant's Second Supplemental
                                 Responses to Mattel's Revised Third Set of
                                 Interrogatories
     10350           1/28/2008   Carter Bryant's Supplemental Responses to
                                 First Set of Interrogatories Propounded By
                                 Mattel, Inc.
     10351           1/28/2008   Carter Bryant's Supplemental Responses to
                                 Second Set of Interrogatories Propounded By
                                 Mattel, Inc.
     10352           1/28/2008    Carter Bryant's Second Supplemental
                                 Responses to Mattel's Sixth Set of
                                 Interrogatories
     10353           1/28/2008    Carter Bryant's Second Supplemental
                                 Responses to Mattel's Fifth Set of Interrogatories
     10354           1/28/2008    Carter Bryant's Second Supplemental
                                 Responses to Mattel's Revised Fourth Set of
                                 Interrogatories
     10355            2/8/2008   Carter Bryant's Objections and Responses to
                                 Mattel's Supplemental Interrogatories
     10356            7/9/2007   Isaac Larian's Objections and Responses to
                                 Mattel's Third Set of Interrogatories
     10357          11/15/2007   Isaac Larian's Objections and Responses to
                                 Mattel's Revised Third Set of Interrogatories
     10358          11/15/2007   Isaac Larian's Objections and Responses to
                                 Mattel's Amended Fourth Set of Interrogatories
     10359          11/19/2007   Isaac Larian's Objections and Responses to
                                 Mattel Inc.'s Fifth Set of Interrogatories
     10360          11/26/2007   Isaac Larian's Objections and Responses to
                                 Mattel Inc.'s Sixth Set of Interrogatories
     10361          11/26/2007   Isaac Larian's Objections and Responses to
                                 Mattel Inc.'s Seventh Set of Interrogatories
     10362          11/30/2007   Isaac Larian's Supplemental Responses to
                                 Mattel's Revised Third Set of Interrogatories
     10363          11/30/2007   Isaac Larian's Supplemental Responses to
                                 Mattel's Amended Fourth Set of Interrogatories




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     10364           1/7/2008    Isaac Larian's Second Supplemental Objections
                                and Responses to Mattel's Revised Third Set of
                                Interrogatories
     10365           1/7/2008    Isaac Larian's Second Supplemental
                                Responses to Mattel's Amended Fourth Set of
                                Interrogatories
     10366          1/28/2008    Isaac Larian's Third Supplemental Responses
                                to Mattel's Revised Third Set of Interrogatories
     10367          1/28/2008    Isaac Larian's Third Supplemental Responses
                                to Mattel's Amended Fourth Set of
                                Interrogatories
     10368           2/8/2008    Isaac Larian's Objections and Responses to
                                Mattel's Supplemental Set of Interrogatories
     10369           1/7/2008    MGA's Response to Mattel's Amended
                                Supplemental Interrogatory Regarding
                                Defendants' Affirmative Defenses
     10379          1/27/2005    MGA's Response to Mattel's First Set of
                                Interrogatories
     10380          5/30/2006    MGA's Response to Mattel's Second Set of
                                Interrogatories
     10381          1/19/2007    MGA Entertainment, Inc.'s Response to Mattel's
                                First Set of Interrogatories re Claims of Unfair
                                Competition
     10382           3/2/2007   MGA's Supplemental Responses to Mattel's
                                First Set of Interrogatories RE Claims of Unfair
                                Competition
     10383           3/6/2007   MGA's Second Supplemental Responses to
                                Mattel's First Set of Interrogatories re Claims of
                                Unfair Competition
     10384           1/1/1999    Employment Application, M 0001611-M
                                0001612
     10385          3/23/2007    MGA Entertainment, Inc.'s Supplemental
                                Response to Interrogatory No. 1 of Mattel's First
                                Set of Interrogatories re Claims of Unfair
                                Competition
     10386          4/30/2007    MGA's Second Supplemental Response to
                                Interrogatory No. 1 of Mattel's First Set of
                                Interrogatories re Claims of Unfair Competition
     10387          6/20/2007   MGA's Supplemental Response to Interrogatory
                                No. 2 of Mattel's First Set of Interrogatories re
                                Claims of Unfair Competition
     10388          6/22/2007    MGA's Second Supplemental Responses to
                                Mattel's Second Set of Interrogatories
     10389          6/22/2007    MGA's Third Supplemental Response to
                                Interrogatory No. 1 of Mattel's First Set of
                                Interrogatories re Claims of Unfair Competition
     10390          6/20/2007   MGA's Supplemental Response to Interrogatory
                                No. 2 of Mattel's First Set of Interrogatories re
                                Claims of Unfair Competition




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     10391            7/9/2007    MGA's Objections and Responses to Mattel's
                                 Third Set of Interrogatories
     10392           6/29/2007    Verification of MGA's Second Supplemental
                                 Responses to Mattel's Second Set of
                                 Interrogatories and Proof of Service
     10393           7/31/2007    MGA's Fourth Supplemental Response to
                                 Interrogatory No. 1 of Mattel's First Set of
                                 Interrogatories re Claims of Unfair Competition
     10394           8/21/2007    MGA's Third Supplemental Responses to
                                 Mattel's Second Set of Interrogatories
     10395          11/15/2007    MGA Entertainment, Inc.'s Objections and
                                 Responses to Mattel Inc.'s Amended Fourth Set
                                 of Interrogatories
     10396          11/15/2007    MGA Entertainment, Inc.'s Objections and
                                 Responses to Mattel's Revised Third Set of
                                 Interrogatories
     10397          11/19/2007    MGA Entertainment Inc.'s Objections and
                                 Responses to Mattel Inc.'s Supplemental Set of
                                 Interrogatories
     10398          11/19/2007    MGA Entertainment Inc.'s Objections and
                                 Responses to Mattel Inc.'s Fifth Set of
                                 Interrogatories
     10399          11/26/2007    MGA's Objections and Responses to Mattel's
                                 Sixth Set of Interrogatories
     10400          11/26/2007    MGA Entertainment Inc.'s Objections and
                                 Responses to Mattel Inc.'s Seventh Set of
                                 Interrogatories
     10401          11/30/2007   MGA Entertainment, Inc.'s Fourth Supplemental
                                 Responses and Objections to Mattel's Second
                                 Set of Interrogatories
     10402          11/30/2007    MGA Entertainment, Inc.'s Supplemental
                                 Responses to Mattel's Revised Third Set of
                                 Interrogatories
     10403          11/30/2007    MGA Entertainment (HK) Ltd.'s Supplemental
                                 Responses to Mattel's Revised Third Set of
                                 Interrogatories
     10404          11/30/2007    MGA Entertainment (HK) Ltd.'s Supplemental
                                 Responses to Mattel Inc.'s Amended Fourth Set
                                 of Interrogatories
     10405          11/30/2007    MGA Entertainment, Inc.'s Supplemental
                                 Responses to Mattel's Amended Fourth Set of
                                 Interrogatories
     10406          11/30/2007    MGA Entertainment, Inc.'s Supplemental
                                 Responses to Mattel's Seventh Set of
                                 Interrogatories
     10407          11/30/2007   MGA Entertainment, Inc.'s Fourth Supplemental
                                 Responses and Objections to Mattel's Second
                                 Set of Interrogatories




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     10408            1/7/2008   MGA Entertainment, Inc.'s Second
                                 Supplemental Responses to Mattel's Amended
                                 Fourth Set of Interrogatories
     10409            1/7/2008   MGA Entertainment, Inc.'s Second
                                 Supplemental Responses to Mattel's Revised
                                 Third Set of Interrogatories
     10410           1/28/2008    MGA Entertainment, Inc.'s Third Supplemental
                                 Responses to Mattel's Revised Third Set of
                                 Interrogatories
     10411           1/28/2008    MGA Entertainment, Inc.'s Third Supplemental
                                 Responses to Mattel's Amended Fourth Set of
                                 Interrogatories
     10412            2/8/2008    MGA Entertainment, Inc.'s Objections and
                                 Responses to Mattel's Supplemental Set of
                                 Interrogatories
     10413            7/9/2007    MGA Entertainment (HK) Ltd.'s Objections and
                                 Responses to Mattel's Third Set of
                                 Interrogatories
     10414          11/15/2007    MGA Entertainment (HK) Ltd.'s Objections and
                                 Responses to Mattel Inc.'s Amended Fourth Set
                                 of Interrogatories
     10415          11/15/2007    MGA Entertainment (HK) Ltd.'s Objections and
                                 Responses to Mattel's Revised Third Set of
                                 Interrogatories
     10416          11/19/2007    MGA Entertainment (HK) Ltd.'s Objections and
                                 Responses to Mattel Inc.'s Fifth Set of
                                 Interrogatories
     10417          11/26/2007    MGA Entertainment (HK) Ltd.'s Objections and
                                 Responses to Mattel Inc.'s Sixth Set of
                                 Interrogatories
     10418          11/26/2007    MGA Entertainment (HK) Ltd.'s Objections and
                                 Responses to Mattel Inc.'s Seventh Set of
                                 Interrogatories
     10419            1/7/2008   MGA Entertainment (HK) Ltd.'s Second
                                 Supplemental Responses to Mattel's Amended
                                 Fourth Set of Interrogatories
     10420            1/7/2008    MGA (HK)'s Second Supplemental Responses
                                 to Mattel's Revised Third Set of Interrogatories
     10421           1/28/2008    MGA Entertainment (HK) Ltd.'s Third
                                 Supplemental Responses to Mattel's Revised
                                 Third Set of Interrogatories
     10422           1/28/2008   MGA Entertainment (HK) Ltd.'s Third
                                 Supplemental Responses to Mattel's Amended
                                 Fourth Set of Interrogatories
     10423            2/8/2008    MGA Entertainment (HK) Ltd.'s Objections and
                                 Responses to Mattel's Supplemental Set of
                                 Interrogatories




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     10424           1/31/2008    Verification of Carter Bryant RE: Carter Bryant's
                                 Responses to Mattel's Amended Supplemental
                                 Interrogatory Regarding Defendant's Affirmative
                                 Defense
     10425           1/31/2008    Verification of Carter Bryant RE: Carter Bryant's
                                 Responses to Mattel's First Set of Interrogatories
     10426           1/31/2008    Verification of Carter Bryant RE: Carter Bryant's
                                 Supplemental Responses to Mattel's Second Set
                                 of Interrogatories
     10427           1/31/2008   Verification of Carter Bryant re: Carter Bryant's
                                 Second Supplemental Responses to Mattel's
                                 Revised Third Set of Interrogatories
     10428           1/31/2008   Verification of Carter Bryant re: Carter Bryant's
                                 Second Supplemental Responses to Mattel's
                                 Amended Fourth Set of Interrogatories
     10429           1/31/2008   Verification of Carter Bryant re: Carter Bryant's
                                 Second Supplemental Responses to Mattel's
                                 Fifth Set of Interrogatories
     10430           1/31/2008   Verification of Carter Bryant re: Carter Bryant's
                                 Second Supplemental Responses to Mattel's
                                 Sixth Set of Interrogatorie
     10431          12/17/2007   Carter Bryant's Supplemental Responses to
                                 Mattel's Revised Third Set of Interrogatories
     10432          12/17/2007   Carter Bryant's Supplemental Responses to
                                 Mattel's Amended Fourth Set of Interrogatories
     10433          12/17/2007   Carter Bryant's Supplemental Responses to
                                 Mattel's Fifth Set of Interrogatories
     10434          12/17/2007   Carter Bryant's Supplemental Responses to
                                 Mattel's Sixth Set of Interrogatories
     10435          12/17/2007   Carter Bryant's Supplemental Responses to
                                 Mattel's Seventh Set of Interrogatories
     10436            1/3/2008   Verification of Carter Bryant re: Carter Bryant's
                                 Supplemental Responses to Mattel's Revised
                                 Third Set of Interrogatories
     10437            1/3/2008   Verification of Carter Bryant re: Carter Bryant's
                                 Supplemental Responses to Mattel's Amended
                                 Fourth Set of Interrogatories
     10438           1/25/2008    Verification of Joe Tiongco: MGA Entertainment
                                 Inc.'s Third Supplemental Objections and
                                 Responses to Mattel Inc.'s Revised Third Set of
                                 Interrogatories
     10439           1/25/2008   Verification of Joe Tiongco re: MGA
                                 Entertainment Inc.'s Fourth Supplemental
                                 Responses and Objections to Mattel's Second
                                 Set of Interrogatories
     10440            2/4/2008   Verification of Susana Kuemmerle re: MGA's
                                 Response to Mattel Inc.'s Amended
                                 Supplemental Interrogatory Regarding
                                 Defendant's Affirmative Defenses




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     10441            2/5/2008   Verification of Edmond Lee re: MGA's
                                 Response to Mattel Inc.'s Amended
                                 Supplemental Interrogatory Regarding
                                 Defendants' Affirmative Defenses
     10442            2/7/2008    Verification of Isaac Larian re: MGA's Response
                                 to Mattel's Amended Supplemental Interrogatory
                                 Regarding Defendants' Affirmative Defenses
     10443            2/8/2008    Verification of Isaac Larian re: MGA's Response
                                 to Mattel's Amended Supplemental Interrogatory
                                 Regarding Defendants' Affirmative Defenses
     10444            2/8/2008   Verification of Samir Khare re: MGA
                                 Entertainment Inc.'s Supplemental Responses to
                                 Mattel Inc.'s Seventh Set of Interrogatories
     10445            2/9/2008   Verification of Edmond Lee re: MGA HK'S
                                 Objections and Responses to Mattel's
                                 Supplemental Set of Interrogatories
     10446            2/8/2008   Verification of Paula Garcia re: MGA's Third
                                 Supplemental Responses to Mattel's Amended
                                 Fourth Set of Interrogatories
     10447            2/8/2008   Verification of Paula Garcia re: MGA's Third
                                 Objections and Responses Mattel's Revised
                                 Third Set of Interrogatories
     10448            2/8/2008   Verification of Paula Garcia re: MGA's
                                 Objections and Responses to Mattel's
                                 Supplemental Set of Interrogatories
     10449            1/3/2008    Verification of Carter Bryant to: Carter Bryant's
                                 Supplemental Responses to Mattel's Fifth Set of
                                 Interrogatories
     10450            1/3/2008    Verification of Carter Bryant to: Carter Bryant's
                                 Supplemental Responses to Mattel's Sixth Set of
                                 Interrogatories
     10451            1/3/2008   Verification of Carter Bryant to: Carter Bryant's
                                 Supplemental Responses to Mattel's Seventh
                                 Set of Interrogatories
     10452          12/27/2007    Mattel's First Set of Requests for Admission
                                 Propounded to MGA Entertainment, Inc.; Carter
                                 Bryant; MGA Entertainment (HK) Limited, and
                                 Isaac Larian
     10458          11/22/2004   Email, KMW-M 008113-KMW-M 008114
     10466           11/2/2000   Email, MGA HK 0009383-MGA HK 009388
     10467           3/27/2001   Research Report, MGA 0050467-MGA 0050472
     10469           1/29/2002   Market Research, MGA 0149327-MGA 0149355
     10474          12/14/2004   Memorandum, MGA 0296603-MGA 0296644
     10475           4/30/2003   Chart, MGA 0296792-MGA 0296797
     10477           10/4/2000   Email, DR 00033-DR 00044
     10478           4/28/1998   Agreement, M 0255187-M 0255189
     10566                       Drawing, BRYANT 00957
     10567                       Drawing, BRYANT 00960
     10568                       Drawing, BRYANT 00961



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     10569             Drawing, BRYANT 00962
     10570             Drawing, BRYANT 00963
     10571             Drawing, BRYANT 00964
     10572             Drawing, BRYANT 00965
     10573             Drawing, BRYANT 00966
     10574             Drawing, BRYANT 00967
     10575             Drawing, BRYANT 00968
     10576             Drawing, BRYANT 00969
     10577             Drawing, BRYANT 00970
     10578             Drawing, BRYANT 00971
     10580             Drawing, BRYANT 00974
     10581             Drawing, BRYANT 00983
     10582             Drawing, BRYANT 00984
     10583             Drawing, BRYANT 00985
     10584             Drawing, BRYANT 00993
     10585             Drawing, BRYANT 01001
     10586             Drawing, BRYANT 01005
     10587             Drawing, BRYANT 01006
     10588             Drawing, BRYANT 01007
     10589             Drawing, BRYANT 01015
     10590             Drawing, BRYANT 01022
     10591             Drawing, BRYANT 01028
     10592             Drawing, BRYANT 01029
     10593             Drawing, BRYANT 01045
     10594             Drawing, BRYANT 01047
     10595             Drawing, BRYANT 01050
     10596             Drawing, BRYANT 01063
     10597             Drawing, BRYANT 01064
     10598             Drawing, BRYANT 01065
     10599             Drawing, BRYANT 01074
     10600             Drawing, BRYANT 01076
     10601             Drawing, BRYANT 01077
     10602             Drawing, BRYANT 01078
     10603             Drawing, BRYANT 01079
     10604             Drawing, BRYANT 01080
     10605             Drawing, BRYANT 01081
     10606             Drawing, BRYANT 01082
     10607             Drawing, BRYANT 01095-BRYANT 01096
     10608             Drawing, BRYANT 01097
     10609             Drawing, BRYANT 01100
     10610             Drawing, BRYANT 01103
     10611             Drawing, BRYANT 01114
     10614             Drawing, BRYANT 01674
     10615             Drawing, BRYANT 01676
     10616             Drawing, BRYANT 01678
     10617             Drawing, BRYANT 01679
     10618             Drawing, BRYANT 01680
     10619             Drawing, BRYANT 01681



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     10620                       Drawing, BRYANT 01682
     10621                       Drawing, BRYANT 01688
     10622                       Drawing, BRYANT 01689
     10623                       Drawing, BRYANT 01691
     10628                       Drawing, BRYANT 01935
     10629                       Drawing, BRYANT 01952
     10630                       Drawing, BRYANT 01962
     10632                       Drawing, BRYANT 01983
     10633                       Drawing, BRYANT 01988
     10634                       Drawing, BRYANT 01996
     10640                       Drawing, BRYANT 02777
     10654                       Drawing, BRYANT 04490
     10655                       Drawing, BRYANT 04502
     10656                       Drawing, BRYANT 04503
     10657                       Drawing, BRYANT 04504
     10658                       Drawing, BRYANT 04507
     10659                       Drawing, BRYANT 04509
     10673                       Drawing, BRYANT 07436
     10674                       Drawing, BRYANT 07878
     10675                       Drawing, BRYANT 07934
     10676                       Drawing, BRYANT 07935
     10677                       Drawing, BRYANT 07938
     10678                       Drawing, BRYANT 07966
     10679                       Drawing, BRYANT 07968-BRYANT 07971
     10681                       Drawing, BRYANT 07995
     10682                       Drawing, BRYANT 08001
     10683                       Drawing, BRYANT 08003
     10684                       Drawing, BRYANT 08032
     10694                       Drawing, BRYANT 10083
     10697                       Drawing, BRYANT 11514
     10698                       Drawing, BRYANT 11578
     10699                       Drawing, BRYANT 11619
     10702                       Drawing, BRYANT 13159-BRYANT 13161
     10703                       Drawing, BRYANT 13162
     10704                       Drawing, BRYANT 13291-BRYANT 13293
     10705                       Drawing, BRYANT 13387
     10707                       Drawing, BRYANT 13562-BRYANT 13564
     10709                       Drawing, BRYANT 13907
     10710                       Drawing, BRYANT 14048
     10713                       Drawing, BRYANT 14171
     10714                       Drawing, BRYANT 14194
     10718          10/19/2004   Letter, FL 10453
     10719           8/25/2003   Legal Document, FL 6465-FL 6524
     10720           12/4/2000   Financial Statement, FL 6506-FL 6507
     10722           10/8/2002   Financial Statement, KBK 01916-KBK 01921
     10723                       Drawing, KMW-L 00078.02
     10725                       Drawing, KMW-L 00417
     10729            12/00/01   Timesheet, KMW-M 007083



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     10730            11/00/01    Timesheet, KMW-M 007084
     10731           5/16/2001    Email, KMW-M 007606
     10732           5/17/2001    Email, KMW-M 007611
     10733           5/17/2001    Email, KMW-M 007613-KMW-M 007615
     10734           5/23/2001    Email, KMW-M 007617
     10735           5/30/2001    Email, KMW-M 007640
     10736                        Transcript, KS 10825-KS 10994
     10762                        Drawing, M 0001105
     10763                        Drawing, M 0001122
     10764                        Drawing, M 0001143
     10765                        Drawing, M 0001145
     10766                        Drawing, M 0001160
     10767                        Drawing, M 0001161-M 0001163
     10768                        Drawing, M 0001170-M 0001171
     10769                        Drawing, M 0001178
     10770                        Drawing, M 0001298
     10771                        Drawing, M 0001299-M 0001302
     10772                        Drawing, M 0001308
     10773                        Drawing, M 0001312
     10774                        Drawing, M 0001313
     10775                        Drawing, M 0001327
     10776                        Drawing, M 0001375
     10777                        Drawing, M 0001376
     10778                        Drawing, M 0001395
     10779                        Drawing, M 0001410
     10780                        Drawing, M 0001442-M 0001443
     10781                        Drawing, M 0017103
     10782          00/00/1999    Yearbook, M 0059386-M 0059578
     10783           4/12/2004    Pleading, M 0078522-M 0078656
     10784                        Photograph, M 0189883
     10785                        Drawing, M 0189908
     10786            3/8/2001    Email, MGA 0003319 B
     10787            3/9/2001    Email, MGA 0005050 B-MGA 0005052 B
     10788           9/29/2000    Check Stub, MGA 000709
     10789           1/10/2001    Redacted Email, MGA 0009509 B-MGA
                                 0009510 B
     10790                        Drawing, MGA 0017552
     10791                        Drawing, MGA 0017556
     10792                        Drawing, MGA 0017557
     10793           7/16/2001    Email, MGA 0021982
     10794                        Drawing, MGA 0025804
     10795                        Drawing, MGA 0047211
     10796                        Drawing, MGA 0047212
     10797          11/27/2006    Letters;Photographs;Catalog, MGA 0060753
     10798           1/00/2002    Spreadsheet, MGA 0069102-MGA 0069220
     10799            9/4/2003    Email, MGA 0071549-MGA 0071551
     10800                        Drawing, MGA 0072993
     10801                        Drawing, MGA 0074702



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     10802           3/25/2005    Email, MGA 0206032-MGA 0206034
     10803           3/20/2005    Email, MGA 0206075-MGA 0206076
     10804           5/17/2002    Deposition Transcript, MGA 0429652-MGA
                                 0429963
     10805            4/2/2001    Telephone log, MGA 0801937
     10806           7/18/2001    Certificate of Registration, MGA 0829443-MGA
                                 0829458
     10807            3/5/2007    Copyright Registration form VA, MGA 0826392-
                                 MGA 0826393
     10808          00/00/2006    Copyright Registration form VA; Photograph of
                                 Product, MGA 0826424-MGA 0826431
     10809           2/12/2007    Copyright Registration form VA; Photograph of
                                 Product, MGA 0826441-MGA 0826484
     10810                        Drawing, MGA 0826585
     10811          12/22/2003    Copyright Registration form VA; Drawing, MGA
                                 0826592-MGA 0826594
     10812           5/18/2005    Copyright Registration form VA; Bratz Style
                                 Guide, MGA 0826606-MGA 0826633
     10813           3/30/2005    Copyright Registration form VA; Bratz Style
                                 Guide, MGA 0826645-MGA 0826674
     10814           5/28/2002    Copyright Registration form VA; Photograph of
                                 Product, MGA 0826832-MGA 0826888
     10815            1/8/2007    Copyright Registration form VA, MGA 0827209-
                                 MGA 0827210
     10816          11/10/2006    Copyright Registration form VA; Photograph of
                                 Product, MGA 0827220-MGA 0827243
     10817           2/16/2007    Copyright Registration form VA, MGA 0827245-
                                 MGA 0827246
     10818           2/16/2007    Copyright Registration form VA; Photograph of
                                 Product, MGA 0827340-MGA 0827341
     10819            9/8/2003    Copyright Registration form VA, MGA 0827350-
                                 MGA 0827351
     10820           3/25/2002    Copyright Registration form VA, MGA 0827360-
                                 MGA 0827364
     10821           3/31/2005    Copyright Registration form VA; Bratz Style
                                 Guide, MGA 0827400-MGA 0827425
     10822          10/14/2005    Copyright Registration form VA, MGA 0827431-
                                 MGA 0827455
     10823           5/31/2002    Copyright Registration form VA; , MGA
                                 0827469-MGA 0827498
     10824           3/25/2002    Copyright Registration form VA;, MGA 0827508-
                                 MGA 0827512
     10825            7/1/2005    Copyright Registration form VA;, MGA 0827566-
                                 MGA 0827567
     10826           10/6/2004    Copyright Registration form VA; Photograph of
                                 Product, MGA 0827725-MGA 0827754
     10827           9/25/2004    Copyright Registration form VA; Photograph of
                                 Product, MGA 0827769-MGA 0827822




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     10828          12/22/2003    Copyright Registration form VA; Drawing, MGA
                                 0827868-MGA 0827870
     10829           6/18/2001    Copyright Registration form VA; Photograph of
                                 Product, MGA 0827907-MGA 0827923
     10830           1/23/2006    Copyright Registration form VA, MGA 0827953-
                                 MGA 0828010
     10831          12/22/2003    Copyright Registration form VA; Drawing, MGA
                                 0828024-MGA 0828026
     10832           6/18/2001    Copyright Registration form VA; Photograph of
                                 Product, MGA 0828063-MGA 0828078
     10833           5/21/2007    Copyright Registration form VA, MGA 0828154-
                                 MGA 0828167
     10834           5/17/2004    Copyright Registration form VA, MGA 0828171-
                                 MGA 0828172
     10835            7/7/2005    Copyright Registration form VA, MGA 0828189-
                                 MGA 0828212
     10836           6/30/2005    Copyright Registration form VA, MGA 0828220-
                                 MGA 0828221
     10837           1/25/2006    Copyright Registration form VA, MGA 0828319-
                                 MGA 0828337
     10838            7/1/2005    Copyright Registration form VA, MGA 0828392-
                                 MGA 0828393
     10839          10/31/2005    Copyright Documents, MGA 0828469-MGA
                                 0828498
     10841          12/15/2006    Copyright Registration form VA, MGA 0828573-
                                 MGA 0828611
     10842           8/29/2005    Copyright Registration form VA, MGA 0828664-
                                 MGA 0828701
     10843           8/18/2005    Copyright Registration form VA, MGA 0828707-
                                 MGA 0828708
     10844           8/18/2005    Copyright Registration form VA, MGA 0828714-
                                 MGA 0828715
     10845           3/28/2005    Copyright Registration form VA, MGA 0828721-
                                 MGA 0828722
     10846          12/22/2003    Copyright Registration form VA; Drawing, MGA
                                 0829307-MGA 0829309
     10847            6/3/2005    Photographs of Product; Copyright Certificate,
                                 MGA 0829329-MGA 0829336
     10848           7/18/2001    Copyright Registration form VA; Photograph of
                                 Product, MGA 0829353-MGA 0829368
     10849          12/22/2003    Copyright Registration form VA; Drawing, MGA
                                 0829405-MGA 0829407
     10850            6/3/2005    Photographs of Product; Copyright Certificate,
                                 MGA 0829420-MGA 0829427
     10851           5/17/2006    Copyright Registration form VA, MGA 0829483-
                                 MGA 0829515
     10852           5/17/2006    Copyright Registration form VA, MGA 0829556-
                                 MGA 0829557




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     10853           2/27/2006    Copyright Registration form VA, MGA 0829563-
                                 MGA 0829583
     10854           3/28/2005    Copyright Registration form CA, MGA 0831590-
                                 MGA 0831591
     10855           3/28/2005    Copyright Registration form CA, MGA 0831592-
                                 MGA 0831593
     10856           3/28/2005    Copyright Registration form CA, MGA 0831594-
                                 MGA 0831595
     10857           3/28/2005    Copyright Registration form CA, MGA 0831596-
                                 MGA 0831597
     10858           3/28/2005    Copyright Registration form CA, MGA 0831598-
                                 MGA 0831599
     10859           3/28/2005    Copyright Registration form CA, MGA 0831600-
                                 MGA 0831601
     10860            2/1/2006    Copyright Registration form VA, MGA 0831602-
                                 MGA 0831603
     10861            2/1/2006    Copyright Registration form VA, MGA 0831604-
                                 MGA 0831605
     10862           11/1/2005    Copyright Registration form VA, MGA 0831606-
                                 MGA 0831607
     10863           11/1/2005    Copyright Registration form VA, MGA 0831608-
                                 MGA 0831609
     10864           1/25/2006    Copyright Registration form VA, MGA 0831610-
                                 MGA 0831611
     10865           1/25/2006    Copyright Registration form VA, MGA 0831612-
                                 MGA 0831613
     10866           1/25/2006    Copyright Registration form VA, MGA 0831614-
                                 MGA 0831615
     10867           1/25/2006    Copyright Registration form VA, MGA 0831616-
                                 MGA 0831617
     10868            1/8/2007    Copyright Registration form VA, MGA 0831618-
                                 MGA 0831619
     10869           2/16/2007    Copyright Registration form PA, MGA 0831620-
                                 MGA 0831621
     10870            0/0/2006    Bratz Packaging Style Guide, MGA 0832288-
                                 MGA 0832313
     10871                        Drawing, MGA 0834731-MGA 0834783
     10872                        Drawing; Photographs of Product, MGA
                                 0834784-MGA 0834814
     10873                        Drawings, MGA 0838411-MGA 0838644
     10874            2/1/2006    Redacted Deposition of Rebecca Harris;
                                 Drawings, MGA 0862033-MGA 0862099
     10875           1/27/2006    Paula Garcia Art Attacks Deposition, MGA
                                 0863071-268
     10876          12/15/2005    Redacted Deposition of Isaac Larian, MGA
                                 0863269-MGA 0863547




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     10877            4/9/2004    Declaration; Redacted Web Page; Photograph;
                                 Drawing, Copyright Registration, Trademark
                                 Registration; News Article; Press Release, MGA
                                 0867773-MGA 0868022
     10878            5/2/2007    Court Transcript, MGA 0869257-MGA 0869478
     10879          00/00/2001    Presentation, MGA 0869525
     10880          00/00/2001    Presentation, MGA 0869526
     10885           1/21/2001    Email, MGA 0880675-MGA 0880707
     10886           11/6/2000    Email, MGA 0881303-MGA 0881309
     10887            2/2/2006    Affidavit, MGA 0884449-MGA 0884455
     10888          00/00/2006    Affidavit, MGA 0884456-MGA 0884462
     10889           7/24/2003    Affirmation, MGA 0884568-MGA 0884576
     10890           12/6/2005    Affidavit, MGA 0884598-MGA 0884609
     10892           8/12/2003    Exhibit; Copyright Document, MGA 0886103-
                                 MGA 0886104
     10894            2/4/2003    Email, MGA 1008775-MGA 1008778
     10895           1/19/2005    Transaction inquiry Report, MGA 1477232-MGA
                                 1477254
     10898           9/10/2004    Financial Statements, MGA 3709925-MGA
                                 3709930
     10899           9/10/2003    Transcript, MGA 3807840-MGA 3807846
     10902            1/2/2001    Email, MGA HK 0007852-MGA HK 0007854
     10903           9/27/2004    Affidavit, RT 00124-RT 00188
     10904           9/19/2000    Phone Bill, SABW-M 00083-SABW-M 00098
     10907                        PAu-3-087-947
     10908                        PAu-3-095-707
     10909                        PA-1-385-214
     10910                        TX-6-492-591
     10911                        TX-6-596-763
     10912                        VA-1-403-779
     10913                        VA-1-405-451
     10914                        VA-1-413-302
     10915                        VA-1-413-303
     10916                        VA-1-413-306
     10917                        VA-1-413-307
     10918                        VA-1-413-308
     10919                        VA-1-413-325
     10920                        VAu-703-161
     10921                        VAu-738-465
     10922                        Expert Report of Frank Keiser, Exhibit 1
     10923                        Expert Report of Frank Keiser, Exhibit 2
     10924                        Expert Report of Frank Keiser, Exhibit 3
     10925                        Expert Report of Frank Keiser, Exhibit 4
     10927                        Expert Report of Frank Keiser, Exhibit 6
     10928                        Expert Report of Frank Keiser, Exhibit 7
     10929                        Expert Report of Frank Keiser, Exhibit 8
     10930                        Expert Report of Frank Keiser, Exhibit 9
     10931                        Expert Report of Frank Keiser, Exhibit 10
     10932                        Expert Report of Frank Keiser, Exhibit 11


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     10933             Expert Report of Frank Keiser, Exhibit 12
     10934             Expert Report of Frank Keiser, Exhibit 13
     10935             Expert Report of Frank Keiser, Exhibit 14
     10936             Expert Report of Frank Keiser, Exhibit 15
     10937             Expert Report of Frank Keiser, Exhibit 16
     10938             Expert Report of Frank Keiser, Exhibit 17
     10939             Expert Report of Frank Keiser, Exhibit 18
     10940             Expert Report of Frank Keiser, Exhibit 19
     10941             Expert Report of Frank Keiser, Exhibit 20
     10942             Expert Report of Frank Keiser, Exhibit 21
     10943             Expert Report of Frank Keiser, Exhibit 22
     10944             Expert Report of Frank Keiser, Exhibit 23
     10945             Expert Report of Frank Keiser, Exhibit 24
     10946             Expert Report of Frank Keiser, Exhibit 25
     10947             Expert Report of Frank Keiser, Exhibit 26
     10948             Expert Report of Frank Keiser, Exhibit 27
     10949             Expert Report of Frank Keiser, Exhibit 28
     10950             Expert Report of Frank Keiser, Exhibit 29
     10951             Expert Report of Frank Keiser, Exhibit 30
     10952             Expert Report of Frank Keiser, Exhibit 31
     10953             Expert Report of Frank Keiser, Exhibit 32
     10954             Expert Report of Frank Keiser, Exhibit 33
     10955             Expert Report of Frank Keiser, Exhibit 34
     10956             Expert Report of Frank Keiser, Exhibit 35
     10957             Expert Report of Frank Keiser, Exhibit 36
     10958             Expert Report of Frank Keiser, Exhibit 37
     10959             Expert Report of Frank Keiser, Exhibit 38
     10960             Expert Report of Frank Keiser, Exhibit 39
     10961             Expert Report of Frank Keiser, Exhibit 40
     10962             Expert Report of Frank Keiser, Exhibit 41
     10963             Expert Report of Frank Keiser, Exhibit 42
     10964             Expert Report of Frank Keiser, Exhibit 43
     10965             Expert Report of Frank Keiser, Exhibit 44
     10966             Expert Report of Frank Keiser, Exhibit 45
     10967             Expert Report of Frank Keiser, Exhibit 46
     10968             Expert Report of Frank Keiser, Exhibit 47
     10969             Expert Report of Frank Keiser, Exhibit 48
     10970             Expert Report of Frank Keiser, Exhibit 49
     10971             Expert Report of Frank Keiser, Exhibit 50
     10972             Expert Report of Frank Keiser, Exhibit 51
     10973             Expert Report of Frank Keiser, Exhibit 52
     10974             Expert Report of Frank Keiser, Exhibit 53
     10975             Expert Report of Frank Keiser, Exhibit 54
     10976             Expert Report of Frank Keiser, Exhibit 55
     10977             Expert Report of Frank Keiser, Exhibit 56
     10978             Expert Report of Frank Keiser, Exhibit 57
     10979             Expert Report of Frank Keiser, Exhibit 58
     10980             Expert Report of Frank Keiser, Exhibit 59



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     10981             Expert Report of Frank Keiser, Exhibit 60
     10982             Expert Report of Frank Keiser, Exhibit 61
     10983             Expert Report of Frank Keiser, Exhibit 62
     10984             Expert Report of Frank Keiser, Exhibit 63
     10985             Expert Report of Frank Keiser, Exhibit 64
     10986             Expert Report of Frank Keiser, Exhibit 65
     10987             Expert Report of Frank Keiser, Exhibit 66
     10988             Expert Report of Frank Keiser, Exhibit 67
     10989             Expert Report of Frank Keiser, Exhibit 68
     10990             Expert Report of Frank Keiser, Exhibit 69
     10991             Expert Report of Frank Keiser, Exhibit 70
     10992             Expert Report of Frank Keiser, Exhibit 71
     10993             Expert Report of Frank Keiser, Exhibit 72
     10994             Expert Report of Frank Keiser, Exhibit 73
     10995             Expert Report of Frank Keiser, Exhibit 74
     10996             Expert Report of Frank Keiser, Exhibit 75
     10997             Expert Report of Frank Keiser, Exhibit 76
     10998             Expert Report of Frank Keiser, Exhibit 77
     10999             Expert Report of Frank Keiser, Exhibit 78
     11000             Expert Report of Frank Keiser, Exhibit 79
     11001             Expert Report of Frank Keiser, Exhibit 80
     11002             Expert Report of Frank Keiser, Exhibit 81
     11003             Expert Report of Frank Keiser, Exhibit 82
     11004             Expert Report of Frank Keiser, Exhibit 83
     11005             Expert Report of Frank Keiser, Exhibit 84
     11006             Expert Report of Frank Keiser, Exhibit 85
     11007             Expert Report of Frank Keiser, Exhibit 86
     11008             Expert Report of Frank Keiser, Exhibit 87
     11009             Expert Report of Frank Keiser, Exhibit 88
     11010             Expert Report of Frank Keiser, Exhibit 89
     11011             Expert Report of Frank Keiser, Exhibit 90
     11012             Expert Report of Frank Keiser, Exhibit 91
     11013             Expert Report of Lee Loetz, Exhibit 1
     11014             Expert Report of Lee Loetz, Exhibit 2
     11015             Expert Report of Lee Loetz, Exhibit 3
     11016             Expert Report of Lee Loetz, Exhibit 4
     11017             Expert Report of Lee Loetz, Exhibit 5
     11018             Expert Report of Lee Loetz, Exhibit 6
     11019             Expert Report of Lee Loetz, Exhibit 7
     11020             Expert Report of Lee Loetz, Exhibit 8
     11021             Expert Report of Lee Loetz, Exhibit 9
     11022             Expert Report of Lee Loetz, Exhibit 10
     11023             Expert Report of Lee Loetz, Exhibit 11
     11024             Expert Report of Lee Loetz, Exhibit 12
     11025             Expert Report of Lee Loetz, Exhibit 13
     11026             Expert Report of Lee Loetz, Exhibit 14
     11027             Expert Report of Lee Loetz, Exhibit 15
     11028             Expert Report of Lee Loetz, Exhibit 16



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     11029                        Expert Report of Lee Loetz, Exhibit 17
     11030                        Expert Report of Lee Loetz, Exhibit 18
     11031                        Expert Report of Lee Loetz, Exhibit 19
     11032                        Expert Report of Lee Loetz, Exhibit 20
     11033                        Expert Report of Lee Loetz, Exhibit 21
     11034                        Expert Report of Lee Loetz, Exhibit 22
     11035                        Expert Report of Lee Loetz, Exhibit 23
     11036                        Expert Report of Lee Loetz, Exhibit 24
     11037                        Expert Report of Lee Loetz, Exhibit 25
     11038                        Expert Report of Lee Loetz, Exhibit 26
     11039                        Expert Report of Lee Loetz, Exhibit 27
     11040                        Expert Report of Lee Loetz, Exhibit 28
     11041                        Expert Report of Lee Loetz, Exhibit 29
     11042                        Expert Report of Lee Loetz, Exhibit 30
     11043                        Expert Report of Lee Loetz, Exhibit 31
     11044                        Expert Report of Lee Loetz, Exhibit 32
     11045                        Expert Report of Lee Loetz, Exhibit 33
     11046                        Expert Report of Lee Loetz, Exhibit 34
     11047                        Expert Report of Lee Loetz, Exhibit 35
     11048                        Expert Report of Lee Loetz, Exhibit 36
     11049                        Expert Report of Lee Loetz, Exhibit 37
     11069                        Historical Trial Balances 1996-2000.xls,
                                 MGA3765665-MGA3765748
     11070           9/15/2005    Pay Statement; Letter; Royalty Statement,
                                 BRYANT 12125-BRYANT 12133
     11078                        Spreadsheet, MGA 0060841-MGA 0060867
     11079           1/20/2006    Spreadsheet, MGA 0060868-MGA 0060984
     11080           1/27/2006    Spreadsheet, MGA 0061126-MGA 0061443
     11081           1/24/2006    Spreadsheet, MGA 0061915-MGA 0061924
     11083          00/00/2006    Spreadsheet, MGA 0071119-MGA 0071290
     11084           7/12/2004    Spreadsheet, MGA 0148756-MGA 0148809
     11085                        Spreadsheet, MGA 0161645-MGA 0161746
     11086          00/00/2004    Spreadsheet, MGA 0164472-MGA 0164698
     11087          00/00/2003    Spreadsheet, MGA 0191166-MGA 0191169
     11088                        Year Plan, MGA 0215417-MGA 0215418
     11089          00/00/2006    Spreadsheet, MGA 0218606-MGA 0218669
     11090                        Spreadsheet, MGA 0222931-MGA 0222940
     11091          08/00/2005    Report, MGA 0228031-MGA 0228040
     11092                        Spreadsheet, MGA 0362703-MGA 0362804
     11093                        Spreadsheet, MGA 0362811-MGA 0362912
     11094          00/00/2001    Chart, MGA 0869519-MGA 0869524
     11095           5/31/2004    Statement of Operations, MGA 1628285-MGA
                                 1628422
     11096                        Financial Statements, MGA 3714340-MGA
                                 3717412
     11097          10/26/2001    Invoice; Royalty Statements, BRYANT 00753-
                                 BRYANT 00788
     11103                        Spreadsheet, MGA 0180884-MGA 0181009
     11104           9/19/2003    Email, MGA 0205711-MGA 0205711


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     11105           4/21/2006    Email, MGA 0518289-MGA 0518290
     11106           4/13/2006    Email, MGA 0518305-MGA 0518306
     11107           4/11/2006    Email, MGA 0518309-MGA 0518310
     11108            4/6/2006    Email, MGA 0518311
     11111            9/7/2006    Email, MGA 1117526-MGA 1117527
     11112          11/20/2003    Email, MGA 2148969-MGA 2148970
     11113           5/11/2001    Email, MGA 3202308-MGA 3202312
     11116          00/00/2001    Cost List, MGA HK 0009347-MGA HK 009366
     11120          10/15/2000    Phone Bill, SABW-M 00145-SABW-M 00148
     11122          11/19/2000   Phone Bill
     11123          12/19/2000    Phone Bill, SABW-M 00413-SABW-M 00426
     11155          10/31/2005    Legal Document, MGA 0885037-MGA 0885042
     11156           8/12/2003    Legal Document, MGA 0886191-MGA 0886206
     11157          10/16/2000    Product Development form, MGA 1028054-
                                 MGA 1028057
     11160            5/7/2001    Email, MGA 1074505-MGA 1074506
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     11171           11/2/2000    Email, MGA 0000037 B-MGA 0000042 B
     11173          11/10/2001    Redacted Email, MGA 0009416 B-MGA
                                 0009425 B
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     11180            4/7/2004    Email, MGA 0039498-MGA 0039499
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     11183           3/20/2007    Email, MGA 0074536-MGA 0074539
     11185           5/31/2003    Email, MGA 0188932-MGA 0188932
     11187           3/21/2005    Email, MGA 0226305-MGA 0226308
     11188            6/9/2003    Email, MGA 0282398
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     11190           3/18/2004    Email, MGA 0302637-MGA 0302644
     11195          11/10/2000    Email, MGA 0881669-MGA 0881690
     11204          11/30/2000    Email, MGA 3809775-MGA 3809825
     11205          12/12/2000   Email with attachment, MGA 3809916-952
     11206           11/7/2000   Design Reference Sheet, MGA 3814826
     11208           11/6/2000   Email, MGA 3817940-MGA 3817942
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     11220           7/30/2001    Email, MGA 4477736-MGA 4477741
     11224          00/00/2002    Chart, MGA 4530351-MGA 4530358
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     11228          12/31/2002    Royalty Statement, BRYANT 02907-BRYANT
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     11230           4/28/2006    Letter with Attachment, BRYANT 12066-
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     11239           9/30/2005    Royalty Statement, MGA 3720918-MGA
                                 3720942
     11240           3/31/2006    Royalty Statement, MGA 3720955-MGA
                                 3720966
     11242            1/2/2001    Email; Photographs, MGA HK 0007843-MGA
                                 HK 0007845
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     11266                        List, MGA 3787280-MGA 3787284
     11268           10/4/2000    Email/Agreement, MGA 3866105-MGA
                                 3866116
     11269           6/21/2001    Email, MGA 4001740
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     11271          12/30/2004    Email, MGA 4009313-MGA 4009315
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     11283                        Royalty Statement, BRYANT 02911-BRYANT
                                 02915
     11291                        Notes; Drawing; Patterns; Design Reference
                                 Sheet, KMW-M 002869-KMW-M 002883
     11292                        Notes; Drawing; Patterns; Design Reference
                                 Sheet, KMW-M 002884-KMW-M 002895
     11293                        Notes; Drawing; Patterns; Design Reference
                                 Sheet, KMW-M 002896-KMW-M 002904
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                                 Sheet, KMW-M 002905-KMW-M 002911
     11295           6/16/2005    Email, KMW-M 004671-4672
     11296                        Drawing, M 0001165-M 0001167
     11300          12/22/2000    Email; Photographs, MGA 000172-MGA 000182
     11311          11/22/2000    Email, MGA 0046578-MGA 0046579
     11313          11/20/2000    Email with Attachment, MGA 0046631-MGA
                                 0046632
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                                 0067949
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                                 Requisition, MGA 0072012-MGA 0072015
     11342           12/2/2003    Trademark Registration, MGA 0800547-MGA
                                 0800549
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                                 0804830
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                                 0804855
     11355             7/17/07    Copyright Supplemental Registrations, MGA
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     11374                        Note, SABW-M 00430
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     11376           9/29/2000    Cancelled Check, UB 0011
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     11378          11/10/2000    Cancelled Check, UB 0019
     11382          10/19/2001    Cancelled Check, UB 0088
     11383          07/00/2000    Bank Statement, UB 0112 B-UB 0116 B
     11384          08/00/2000    Bank Statement, UB 0117 B-UB 0121 B
     11385          11/00/2000    Bank Statement, UB 0132 B-UB 0136 B
     11386          12/00/2000    Bank Statement, UB 0137 B-UB 0141 B
     11387          01/00/2001    Bank Statement, UB 0142 B-UB 0146 B
     11388          02/00/2001    Bank Statement, UB 0147 B-UB 0151 B
     11389          03/00/2001    Bank Statement, UB 0152 B-UB 0156 B
     11390          04/00/2001    Bank Statement, UB 0157 B-UB 0161 B
     11391          05/00/2001    Bank Statement, UB 0162 B-UB 0166 B
     11392          06/00/2001    Bank Statement, UB 0167 B-UB 0170 B
     11393          07/00/2001    Bank Statement, UB 0171 B-UB 0175 B
     11394          08/00/2001    Bank Statement, UB 0176 B-UB 0180 B
     11395          09/00/2001    Bank Statement, UB 0181 B-UB 0184 B
     11396          10/00/2001    Bank Statement, UB 0185 B-UB 0189 B
     11397          11/00/2001    Bank Statement, UB 0190 B-UB 0193 B
     11398          12/00/2001    Bank Statement, UB 0194 B-UB 0198 B



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     11399          3/17/2008   Angel Gomez Rebuttal Expert Report
     11400          3/17/2008   Kenneth Hollander Rebuttal Expert Report
     11401          3/17/2008   Rebuttal Expert Report of Robert Lind
     11402          3/17/2008   Rebuttal Expert Report of Michael Wagner
     11403          3/17/2008   Rebuttal Expert Report of Lee Loetz
     11404          3/17/2008   Rebuttal Expert Report of HeaTher McComb
     11406          3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff
     11407          3/17/2008   Rebuttal Expert Report of Carol Scott
     11408          3/17/2008   Rebuttal Expert Report of Denise Van Patten
     11433          3/17/2008   Rebuttal Expert Report of Michael Wagner-Tab
                                A
     11434          3/17/2008   Rebuttal Expert Report of Michael Wagner-Tab
                                B
     11435          3/17/2008   Rebuttal Expert Report of Michael Wagner-Tab
                                C
     11436          3/17/2008   Rebuttal Expert Report of Michael Wagner-Tab
                                D
     11437          3/17/2008   Rebuttal Expert Report of Michael Wagner-Tab
                                E
     11438          3/17/2008   Rebuttal Expert Report of Michael Wagner-Tab
                                F
     11439          3/17/2008   Rebuttal Expert Report of Michael Wagner-Tab
                                G
     11442          3/17/2008   Rebuttal Expert Report of Lee Loetz-Exhibit 1
     11443          3/17/2008   Rebuttal Expert Report of Lee Loetz-Exhibit 2
     11444          3/17/2008   Rebuttal Expert Report of Lee Loetz-Exhibit 3
     11445          3/17/2008   Rebuttal Expert Report of Lee Loetz-Exhibit 4
     11446          3/17/2008   Rebuttal Expert Report of Lee Loetz-Exhibit 5
     11447          3/17/2008   Rebuttal Expert Report of HeaTher McComb-
                                Exhibit 1
     11448          3/17/2008   Rebuttal Expert Report of HeaTher McComb-
                                Exhibit 2
     11450          3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                Exhibit A
     11451          3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                Exhibit B
     11452          3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                Exhibit C
     11453          3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                Exhibit D
     11454          3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                Exhibit E
     11455          3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                Exhibit F
     11456          3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                Exhibit G
     11457          3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                Exhibit H
     11458          3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
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     11459           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit J
     11460           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit K
     11461           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit L
     11462           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit M
     11463           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit N
     11464           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit O
     11465           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit P
     11466           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit Q
     11467           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit R
     11468           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit S
     11469           3/17/2008   Rebuttal Expert Report of Nicholas Mirzoeff-
                                 Exhibit T
     11470           3/17/2008   Rebuttal Expert Report of Carol Scott-Exhibit 1
     11471           6/18/2001   U.S. Copyright office form VA, VA 1-090-287
                                 Registration of Jade Doll Configuration,
                                 Accessories and Packaging
     11472           3/28/2005   U.S. Copyright office form CA, VA 1-301-533
                                 Registration of Jade Doll Configuration,
                                 Accessories and Packaging
     11473          12/22/2003   U.S. Copyright office form VA, VA 1-218-487
                                 Registration of Jade Drawing
     11474           3/28/2005   U.S. Copyright office form CA, VA 1-301-529
                                 Registration of Jade Drawing
     11475           6/18/2001   U.S. Copyright office form VA, VA 1-090-288
                                 Registration of Sasha Doll Configuration,
                                 Accessories and Packaging
     11476           3/28/2005   U.S. Copyright office form CA, VA 1-301-534
                                 Registration of Sasha Doll Configuration,
                                 Accessories and Packaging
     11477          12/22/2003   U.S. Copyright office form VA, VA 1-218-488
                                 Registration of Sasha Drawing
     11478           3/28/2005   U.S. Copyright office form CA, VA 1-301-530
                                 Registration of Sasha Drawing
     11479           6/18/2001   U.S. Copyright office form VA, VA 1-090-289
                                 Registration of Cloe Doll Configuration,
                                 Accessories and Packaging
     11480           3/28/2005   U.S. Copyright office form CA, VA 1-301-535
                                 Registration of Cloe Doll Configuration,
                                 Accessories and Packaging




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     11481          12/22/2003   U.S. Copyright office form VA, VA 1-218-490
                                 Registration of Cloe Drawing
     11482           3/28/2005   U.S. Copyright office form CA, VA 1-301-531
                                 Registration of Cloe Drawing
     11483           6/18/2001   U.S. Copyright office form VA, VA 1-098-290
                                 Registration of Yasmin Doll Configuration,
                                 Accessories and Packaging
     11484           3/28/2005   U.S. Copyright office form CA, VA 1-301-536
                                 Registration of Yasmin Doll Configuration,
                                 Accessories and Packaging
     11485          12/22/2003   U.S. Copyright office form VA, VA 1-218-491
                                 Registration of Yasmin Drawing
     11486           3/28/2005   U.S. Copyright office form CA, VA 1-301-532
                                 Registration of Yasmin Drawing
     11487          12/22/2003   U.S. Copyright office form VA, VA 1-218-489
                                 Registration of Bratz Group Drawing
     11488           3/28/2005   U.S. Copyright office form CA, VA 1-301-528
                                 Registration of Bratz Group Drawing
     11489           3/25/2002   U.S. Copyright office form VA, VA 1-148-305
                                 Registration of Bratz Doll Sculpture (Female)
     11490           3/28/2005   U.S. Copyright office form CA, VA 1-301-537
                                 Registration of Bratz Doll Scupture (Female)
     11491           1/25/2006   U.S. Copyright office form VA, VA 1-340-165
                                 Registration of Bratz Passion 4 Fashion
                                 Packaging Style Guide Fall 2006
     11492           1/25/2006   U.S. Copyright office form VA, VA 1-340-167
                                 Registration of Bratz Rock Angelz Packaging
                                 Style Guide Fall 2005
     11493           1/25/2006   U.S. Copyright office form VA, VA 1-340-168
                                 Registration of Bratz Genie Magic Style Guide
     11494           1/25/2006   U.S. Copyright office form VA, VA 1-340-169
                                 Registration of Bratz Genie Magic Style Guide
                                 Spring 2006
     11495           1/25/2006   U.S. Copyright office form VA, VA 1-340-170
                                 Registration of Bratz Passion 4 Fashion Style
                                 Guide
     11496            2/1/2006   U.S. Copyright office form VA, VA 1-334-487
                                 Registration of Bratz Campfire Packaging Style
                                 Guide Holiday 2005
     11497            2/1/2006   U.S. Copyright office form VA, VA 1-334-488
                                 Registration of Bratz Ooh La La Packaging Style
                                 Guide Holiday 2005
     11498            3/1/2004    U.S. Copyright office form VA, VA 1-233-273
                                 Registration of Bratz Purse Style Guide
     11499            2/2/2004    U.S. Copyright office form VA, VA 1-233-104
                                 Registration of Bratz Stylin Send-its! A Book with
                                 32 Postcards
     11500           6/18/2001   U.S. Copyright office form VA, VA 1-090-287
                                 Registration of Jade Doll Configuration,
                                 Accessories and Packaging



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     11501           3/28/2005   U.S. Copyright office form CA, VA 1-301-533
                                 Registration of Jade Doll Configuration,
                                 Accessories and Packaging
     11502          12/22/2003   U.S. Copyright office form VA, VA 1-218-487
                                 Registration of Jade Drawing
     11503           3/28/2005   U.S. Copyright office form CA, VA 1-301-529
                                 Registration of Jade Drawing
     11504           6/18/2001   U.S. Copyright office form VA, VA 1-090-288
                                 Registration of Sasha Doll Configuration,
                                 Accessories and Packaging
     11505           3/28/2005   U.S. Copyright office form CA, VA 1-301-534
                                 Registration of Sasha Doll Configuration,
                                 Accessories and Packaging
     11506          12/22/2003   U.S. Copyright office form VA, VA 1-218-488
                                 Registration of Sasha Drawing
     11507           3/28/2005   U.S. Copyright office form CA, VA 1-301-530
                                 Registration of Sasha Drawing
     11508           6/18/2001   U.S. Copyright office form VA, VA 1-090-289
                                 Registration of Cloe Doll Configuration,
                                 Accessories and Packaging
     11509           3/28/2005   U.S. Copyright office form CA, VA 1-301-535
                                 Registration of Cloe Doll Configuration,
                                 Accessories and Packaging
     11510          12/22/2003   U.S. Copyright office form VA, VA 1-218-490
                                 Registration of Cloe Drawing
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                                 Registration of Cloe Drawing
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                                 Registration of Yasmin Doll Configuration,
                                 Accessories and Packaging
     11513           3/28/2005   U.S. Copyright office form CA, VA 1-301-536
                                 Registration of Yasmin Doll Configuration,
                                 Accessories and Packaging
     11514          12/22/2003   U.S. Copyright office form VA, VA 1-218-491
                                 Registration of Yasmin Drawing
     11515           3/28/2005   U.S. Copyright office form CA, VA 1-301-532
                                 Registration of Yasmin Drawing
     11516          12/22/2003   U.S. Copyright office form VA, VA 1-218-489
                                 Registration of Bratz Group Drawing
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                                 Registration of Bratz Group Drawing
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                                 Registration of Bratz Doll Sculpture (Female)
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                                 Registration of Bratz Doll Scupture (Female)
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                                 Registration of Bratz Passion 4 Fashion
                                 Packaging Style Guide Fall 2006
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     11522          12/31/20006    Native File: Consolidated Statement of
                                  Operations.XLS, MGA 3710834
     11523            7/31/2007    Native File: Consolidated Statement of
                                  Operations.XLS, MGA 3713507
     11524             7/7/2007    Native File: MGA forecasts 6-1-07.XLS, MGA
                                  3765749
     11525           12/12/2006    Native File: 2006 Monthly Statement of
                                  Operations.XLS, MGA 3711608
     11526             00/00/00    Native File: 2007 YTD Monthly Statement of
                                  Operations.XLS, MGA 3714340
     11527           12/31/2005    Native File: 2005 Consolidated Statement of
                                  Operations.XLS, MGA 3710565
     11528           00/00/2001    Native File: 2001 Sales By SKU.XLS, MGA
                                  3718299
     11529           00/00/2002    Native File: 2002 Sales By SKU.XLS, MGA
                                  3718376
     11530           00/00/2003    Native File: 2003 Sales By SKU.XLS, MGA
                                  3718482
     11531           00/00/2005    Native File: 2005 Sales By SKU.XLS, MGA
                                  3718968
     11532           00/00/2006    Native File: 2006 Sales By SKU.XLS, MGA
                                  3719329
     11533           00/00/2007    Native File: 2007 October YTD Sales By
                                  Item.XLS, MGA 3745688
     11534            6/30/2007    Native File: License Payment Log.XLS, MGA
                                  3743606
     11535            3/31/2003    Native File: 2003 Carter Bryant Royalty
                                  Statement.XLS, MGA 3720823
     11536            3/31/2004    Native File: 2004 Carter Bryant Royalty
                                  Statement.XLS, MGA 3720881
     11537            3/31/2005    Native File: 2005 Carter Bryant Royalty
                                  Statement.XLS, MGA 3720932
     11538            3/31/2006    Native File: 2006 Carter Bryant Royalty
                                  Statement.XLS, MGA 3720981
     11539            3/31/2007    Native File: 2007 Carter Bryant Royalty
                                  Statement.XLS, MGA 3721053
     11540            3/31/2003    Native File: 2003 Lovins Royalty Report.XLS,
                                  MGA 3720787
     11541            3/31/2004    Native File: 2004 Lovins Royalty Report.XLS,
                                  MGA 3720794
     11542            3/31/2005    Native File: 2005 Lovins Royalty Report.XLS,
                                  MGA 3720798
     11543            3/31/2006    Native File: 2006 Lovins Royalty Report.XLS,
                                  MGA 3720802
     11544            3/31/2007    Native File: 2007 Lovins Royalty Report.XLS,
                                  MGA 3720806
     11545            3/31/2004    Native File: 2004 Parinchy Royalty Report.XLS,
                                  MGA 3720809




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     11546           3/31/2005    Native File: 2005 Parinchy Royalty Report.XLS,
                                 MGA 3720813
     11547           3/31/2006    Native File: 2006 Parinchy Royalty Report.XLS,
                                 MGA 3720817
     11548           3/31/2007    Native File: 2007 Parinchy Royalty Report.XLS,
                                 MGA 3720821
     11549          12/31/2001    Native File: 2001 Consolidated Statement of
                                 Operations.XLS, MGA 3709872-MGA 3709924
     11550          12/31/2003    Native File: 2003 Monthly Statement of
                                 Operations.XLS, MGA 3710236
     11551          00/00/2002    Native File: tooling Costs and
                                 Depreciation.XLS, MGA 3720189
     11552          00/00/2001    Native File: 2001 Sales Returns By SKU.XLS,
                                 MGA 3717766
     11553          00/00/2002    Native File: 2002 Sales Returns By SKU.XLS,
                                 MGA 3717823
     11554          00/00/2003    Native File: 2003 Sales Returns By SKU.XLS,
                                 MGA 3717880
     11555          00/00/2004    Native File: 2004 Sales Returns By SKU.XLS,
                                 MGA 3717950
     11556          00/00/2005    Native File: 2005 Sales Returns By SKU.XLS,
                                 MGA 3718058
     11557          00/00/2006    Native File: 2006 Sales Returns By SKU.XLS,
                                 MGA 3718161
     11558          10/00/2007    Native File: 2007 October YTD Returns By
                                 SKU.XLS, MGA 3746388
     11559          11/24/2004    Letter; Royalty Statement, BRYANT 12115-
                                 BRYANT 12120
     11561          11/00/2000    Publication, FL 0685-FL 0688
     11562          12/31/2000    Spreadsheet, FL 12335
     11563          12/30/2003    Letter w/Attachment, FL 12378-FL 12381
     11564           1/23/2001    Check, FL 12386
     11565           6/30/1991    Financial Document, FL 12403-FL 12404
     11581            00/00/02    Chart, MGA 0069277-MGA 0069279
     11582          10/28/2002    Invoice w/Attachments, MGA 0080329-MGA
                                 0080333
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                                 Attachment; Spreadsheet; Email, MGA 0046129-
                                 MGA 0046150
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                                 Deposition
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                                 Deposition
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                                 Deposition
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                                 Deposition
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     11806                        Drawing, BRYANT 01070
     11813                        Drawing, BRYANT 01018
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     11816                        Drawing, BRYANT 01033
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     11820                        Drawing, BRYANT 01011
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     11824                        Drawing, BRYANT 01024
     11825                        Drawing, BRYANT 01008
     11826                        Drawing, BRYANT 01023
     11827                        Drawing, BRYANT 01072
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     11829                        Drawing, BRYANT 01052
     11830                        Drawing, BRYANT 01046
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                                  Support of MGAE de Mexico, S.R.L. De C.V.'s
                                  Reply in Support of its Motion to Dismiss Mattel's
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     11909                        Declaration of Jahangir Makabi in Support of
                                  MGAE de Mexico, S.R.L. De C.V.'s Reply in
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     11962           11/27/2000   Invoice, KMW-L 00421
     11963           12/24/2002   Receipt, KMW-M 007080
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     11971            12/1/2001   Agreement, KMW-M 007091
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     11980           09/00/2001   Timesheet, KMW-M 007100
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     11982            6/11/2002   Agreement, KMW-M 007102
     11983          02/00/20002   Timesheet, KMW-M 007103
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     11985             2/5/2002   Agreement, KMW-M 007106
     11986            12/4/2001   Work Schedule, KMW-M 007107
     11987             2/4/2001   Timesheet, KMW-M 007109
     11988           12/12/2001   Agreement, KMW-M 007110
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     11990            11/4/2001   Timesheet, KMW-M 007112
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     11998             2/6/2002   Work Schedule, KMW-M 007123
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     12006           1/28/2002    Timesheet, KMW-M 007131
     12007            2/5/2002    Agreement, KMW-M 007132
     12008           12/1/2001    Timesheet, KMW-M 007133
     12009          00/00/0000    Timesheet, KMW-M 007134
     12010           12/1/2001    Timesheet, KMW-M 007135
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     12012          11/18/2001    Timesheet, KMW-M 007137
     12013           11/4/2001    Timesheet, KMW-M 007138
     12014          11/20/2001    Receipt, KMW-M 007141
     12015           11/1/2001    Timesheet, KMW-M 007142
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     12018                        Ana Cabrera's Box of Bratz-Related Materials *,
                                 M 0263175-M 0263432
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     12034                        Article, M 0073969
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     12046                        Email, MGA 001476
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     12077           9/22/2000   Wire Transfer, UB 0106-UB 0106
     12078          11/16/2005   Testimony of Isaac Larian in Larian v. Larian,
                                 BCR 00001-BCR 00186
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                                 Larian
     12080           1/13/2003   Email, MGA 0185677-MGA 0185679
     12081           7/12/2007   Mattel, Inc.'s Second Amended Answer in Case
                                 No. 05-2727 and CounterClaims
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     12116           11/3/2003    Email, MGA HK 0001949-MGA HK 0001951
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     12123           11/8/2000    Email with Attachment, MGA 0046656-MGA
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     12126                        Email, drawing, notes, MGA 0837256-MGA
                                 0837258
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                                 0051483
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     12153                        Drawing, BRYANT 04887
     12155                        Agreement, M 0255821-M 0255822
     12156           12/6/2005    Email with Attachment, MGA 1039148-MGA
                                 1039155
     12173                        Tab B1 to Expert Report of Michael Wagner
     12174                        Tab B2 to Expert Report of Michael Wagner
     12182                        Drawing, KMW-M 01647
     12184                        Check Stub, MGA 0072364-MGA 0072370
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     12191                        Functional Analysis, MGA 3396397-MGA
                                 3396405
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                                 3794012
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     12198                        Financial Document, MGA 1511657-MGA
                                 1511664
     12199          10/16/2003    Email, MGA 1506078
     12200                        Financial Document, MGA 1506079-MGA
                                 1506082
     12201                        Financial Document, MGA 1506083-MGA
                                 1506091
     12202                        Financial Document, MGA 1506094-MGA
                                 1506101
     12203          12/17/2003    Email with attachments, MGA 1506102-MGA
                                 1506112
     12204                        Email, MGA 1506568-MGA 1506569
     12205                        Financial Document, MGA 1506570-MGA
                                 1506573
     12206            9/4/2003    Email with attachments, MGA 1506093-MGA
                                 1506101
     12208                        Email, MGA 0413303-MGA 0413306
     12209                        Memo, MGA 1005381-MGA 1005386
     12211                        Notes, MGA 1007784-MGA 1007789
     12212                        Memo, MGA 0141629-MGA 0141635
     12214           5/23/2004    Email with attachments, MGA 0201933-MGA
                                 0201947
     12217                        Email, MGA 3817824-MGA 3817826
     12219                        Financial Document, UB 0107 B-UB 0111 B
     12220                        Financial Document, UB 0122 B-UB 0126 B
     12222                        Financial Document, MGA 3780442
     12223                        Financial Document, MGA 3780480-MGA
                                 3780542
     12225                        Bank Transfer Report, MGA 3810587-MGA
                                 3810589
     12226           5/21/2007    Copyright Registration form VA; Photograph of
                                 Product, MGA 0828136-MGA 0828144
     12227                        Copyright Registration TX-6-526-072
     12228                        Copyright Registration VA-1-405-452
     12229                        Copyright Registration PA-1-367-620
     12230                        Copyright Registration VAu-738-464
     12231                        Copyright Registration VAu-738-466
     12232                        Copyright Registration VA-1-413-305
     12233                        Copyright Registration VA-1-413-304
     12234                        Copyright Registration VA-1-413-309
     12235                        Copyright Registration VA-1-413-310
     12236                        Copyright Registration VA-1-413-311
     12237                        Photographs of products shown to Ana Cabrera
                                 and Beariz Morales, M 0261589-M 0261964



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     12239              Bratz body*, M 0913608-M 0913614
     12240              Sales Document, MGA 1162485-MGA 1162502
     12241              Business Plan, MGA 0050408-MGA 0050430
     12242              Email, MGA 0050254-MGA 0050256
     12243              Email, MGA 4001765-MGA 4001765
     12244              Email, MGA 4001673-MGA 4001674
     12245              Email, MGA 4001559
     12246              Email, MGA 4001851
     12247              Presentation Materials, MGA 0280745-MGA
                       0280789
     12248              Email, MGA 0064571
     12249              Memo, MGA 4001704-MGA 4001705
     12250              Email, MGA 4000877
     12251              Email, MGA 4001672
     12258              Financial Document, MGA 3796571-MGA
                       3796573
     12265              Email, MGA HK 0000276-MGA HK 0000299
     12269              Email, MGA HK 0001096-MGA HK 0001124
     12270              Email, MGA HK 0004322-MGA HK 0004360
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     12274              MGA Price List, MGA 0067966-MGA 0067978
     12275              Email, MGA HK 0001976-MGA HK 0002065
     12276              Email, MGA HK 0010046-MGA HK 0010082
     12277              Email, MGA 0068493-MGA 0068561
     12278              Email, MGA HK 0009457-MGA HK 0009501
     12279              Bratz rubber mold *, M 0914603
     12280              Bratz rubber mold *, M 0914604
     12281              Bratz head *, M 0914605-10; M 0913500-5; M
                       0913556-61
     12282              Bratz clay head sculpt *, M 0914611-6; M
                       0913506-11; M 0913562-6
     12283              Hottiez Fiona Doll in Packaging *, M 0914617-M
                       0914625
     12284              Hottiez Asiana Doll in Packaging *, M 0914626-
                       M 0914633
     12285              Hottiez Tahlia Doll in Packaging *, M 0914634-
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     12287              Bratz Jade Doll in Packaging *, M 0914655
     12288              Bratz Sasha Doll in Packaging *, M 0914656
     12289              Bratz Yasmin Doll in Packaging *, M 0914657
     12291              Schedule 2 of Hong Kong Litigation including
                       photographs of Trendy Teenz and Rockerheadz
                       *, M 0914660-M 0914664
     12292              Schedule 3 of Hong Kong Litigation including
                       photograph of Mini Trendy Teenz *, M 0914682-
                       M 0914683




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     12293                        Schedule 4 of Hong Kong Litigation including
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                                 0914685
     12294                        Schedule 5 of Hong Kong Litigation including
                                 photograph of Rockerheadz Bobble Pen *, M
                                 0914686-M 0914687
     12295                        Schedule 6 of Hong Kong Litigation including
                                 photograph of Rockerheadz Bobblehead Doll *,
                                 M 0914688-M 0914689
     12296                        Doll *, M 0914690-M 0914695
     12297                        Doll *, M 0914698-M 0914702
     12298                        Doll *, M 0914704
     12299                        Doll *, M 0914705-M 0914708
     12300                        Doll *, M 0914709
     12301                        Doll *, M 0914710
     12302                        Doll *, M 0914711-M 0914715
     12303                        Doll *, M 0914716-M 0914717
     12304                        Bratz head *, M 0914718-M 0914727
     12305                        Bratz body *, M 0914728-M 0914731
     12306                        Bratz body *, M 0914732-M 0914734
     12307                        Bratz head *, M 0914735-M 0914737
     12308                        Cloe Bratz doll with clothes *, M 0914738-M
                                 0914739
     12309                        Yasmin Bratz doll with clothes *, M 0914740-M
                                 0914741
     12310                        Cloe Bratz doll with clothes *, M 0914742
     12311                        Yasmin Bratz Genie Magic in packaging *, M
                                 0914743-M 0914746
     12312                        Doll *, M 0914747-M 0914750
     12314                        Doll *, M 0914751-M 0914754
     12315           3/23/2005    Email, MGA 1144203-MGA 1144206
     12316                        Trendy Teenz *, M 0914760-M 0914761
     12317           5/15/2003    Email, MGA 2068948-MGA 2068948
     12318                        Mini Trendy Teenz *, M 0914762-M 0914764
     12319           8/31/2006    Email, MGA 0197050-MGA 0197052
     12320                        Trendy Teenz *, M 0914765-M 0914767
     12321           9/12/2006    Email, MGA 0194576-MGA 0194580
     12322                        Mya Glamma Jammaz *, M 0914768-M
                                 0914773
     12324                        Scampz Doll *, M 0914774-M 0914777
     12327           7/28/2005    Email, MGA 3207781-MGA 3207782
     12328                        Doll *, M 0914780-M 0914782
     12330                        Bratz Cloe doll *, M 0914784-M 0914785
     12331          10/25/2000    Email, MGA 3853492-MGA 3853493
     12332                        Doll *, M 0914786-M 0914787
     12334                        Doll *, M 0914788-M 0914789
     12336                        Rubber molds *, M 0913512-M 0913518
     12338                        Rubber molds *, M 0913519-M 0913523
     12340                        Rubber molds *, M 0913524-M 0913527



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     12342              Rubber molds *, M 0913528-M 0913531
     12344              Rubber molds *, M 0913532-M 0913536
     12346              Rubber molds *, M 0913537-M 0913540
     12348              Rubber molds *, M 0913541-M 0913544
     12349              Rubber molds *, M 0913545-M 0913549
     12351              Rubber molds *, M 0913550-M 0913553
     12352              Rubber molds *, M 0913554-M 0913555
     12356              Bratz body *, M 0913577-M 0913584
     12358              Bratz body and clothes *, M 0914450; BRYANT
                       019786-M 0914453
     12361              Bratz body sculpt *, M 0914458-M 0914461
     12362              Bratz body *, M 0914462-M 0914465
     12363              Bratz body *, M 0914466-M 0914469
     12364              Bratz head and body *, M 0914470-M 0914478
     12365              Bratz clay head *, M 0914479-M 0914482
     12366              Bratz clay head next to Bratz head and body *,
                       M 0914483-M 0914484
     12367              Bratz body and head *, M 0914485-M 0914488
     12368              Bratz Sculpt *, M 0912495-M 0912498
     12369              Bratz Head Final Wax *, M 0912509-M 0912511
     12370              Doll Body, no feet or head *, M 0912514
     12371              Bratz Heads *, M 0912515-M 0912517
     12372              Various Doll Bodies and Parts *, M 0912653-M
                       0912669; BRYANT 019695- BRYANT 019711
     12374              Bratz Body Sculpts *, M 0912684-M 0912687
     12375              Various Doll Bodies *, M 0912688-M 0912691
     12376              Doll Bodies *, M 0912692-M 0912695
     12377              Bratz Head on Body, M 0912696-M 0912708
     12378              Bratz Heads *, M 0912705-M 0912708
     12379              Bratz Head on body including various doll
                       bodies and sculpt *, M 0912711-M 0912714
     12380              Root & Groom Masters *, M 0912782-M
                       0912815
     12381              Bratz Head and Body, no feet *, M 0913106-M
                       0913113
     12382              Bratz Heads with attachment *, M 0913174-M
                       0913186
     12383              Rubber Mold *, M 0913456-M 0913460
     12384              Shoe Rubber Mold *, M 0913461-M 0913464
     12385              Foot Rubber Mold *, M 0913465-M 0913468
     12386              Head Rubber Mold *, M 0913469-M 0913473
     12387              Leg Rubber Molds *, M 0913474-M 0913477
     12388              Torso Rubber Mold *, M 0913478-M 0913481
     12389              Arm Rubber Molds *, M 0913482-M 0913485
     12390              Doll Rubber Mold *, M 0913486-M 0913491
     12391              Rubber Mold *, M 0913492-M 0913495
     12392              Rubber Mold *, M 0913496-M 0913499




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     12393                      Bratz Doll Parts, Head and Clothing *, M
                               0912425-M 0912429; M 0912439; M 0912442;
                               M 0912453; M 0912455
     12394                      Doll Bodies *, M 0912361
     12395                      Bratz Head and Body Sculpt *, M 0912470-M
                               0912476
     12396                      Bratz Head and Body *, M 0912477-M 0912480
     12397                      Cast of Rough Bratz Sculpt *, M 0912481
     12398                      Bratz Head Rough Wax *, M 0912482-M
                               0912484
     12399                      Bratz Clay Head Sculpts *, M 0913585-M
                               0913595
     12400                      Bratz Body Sculpt *, M 0913596-M 0913601
     12401                      Bratz Head on Body *, M 0913602-M 0913607
     12402                      Cloe Face Deco *, M 0913615-M 0913629
     12403                      Sasha Face Deco *, M 0913630-M 0913644
     12404                      Bratz Face Deco *, M 0913645-M 0913656
     12405                      Bratz Head, Cloe *, M 0913884-M 0913887;
                               BRYANT 19417
     12406                      Bratz Head, Jade *, M 0913979-M 0913982;
                               BRYANT 19427
     12407                      Bratz Doll, no face deco, rooted hair or feet *, M
                               0914425-M 0914432
     12408                      Bratz Doll with feet, no face deco or rooted hair
                               *, M 0914433-M 0914441
     12425                      Email, MGA 0005555 B
     12426                      Email, MGA 0009045-MGA 0009046
     12427                      Email, MGA 0065425-MGA 0065428
     12428                      Email; Notes, MGA 0065429; MGA 0065438-
                               440; MGA 0065431-436
     12429                      Email, MGA 0066285-MGA 0066286
     12432                      MGA Job Description form, MGA 3848758-MGA
                               3848759
     12434                      Email, MGA HK 0002114-MGA HK 0002116
     12435                      Email, MGA HK 0002127
     12436                      Email, MGA HK 0002133-MGA HK 0002135
     12437                      Email, MGA HK 0004257-MGA HK 0004258
     12438                      Email, MGA HK 0004282
     12439                      Email, MGA HK 0004407
     12440                      Email, MGA HK 0004426-MGA HK 0004428
     12442                      Email, MGA HK 0009680-MGA HK 0009684
     12443                      Email, MGA HK 0010469-MGA HK 0010472
     12447          1/9/2008    Scan of Object saved as 10908A Grey Head.stl,
                               refers to Exhibit 6 to Keiser Expert Report
     12448          1/9/2008    Object that was scanned in 10908A Grey
                               Head.stl, refers to Exhibit 6 to Keiser Expert
                               Report




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     12450           1/9/2008   Scan of Object saved as 10908B Body No
                                Head.stl, refers to Exhibit 7 to Keiser Expert
                                Report
     12451           1/9/2008   Object that was scanned in 10908B Body No
                                Head.stl, refers to Exhibit 7 to Keiser Expert
                                Report
     12453           1/9/2008   Scan of Object saved as 10908C White Head
                                Sculpt.stl, refers to Exhibit 8 to Keiser Expert
                                Report
     12454           1/9/2008   Object that was scanned in 10908C White Head
                                Sculpt.stl, refers to Exhibit 8 to Keiser Expert
                                Report
     12456           1/9/2008    Scan of Object saved as 10908D Deco Head
                                1.stl, refers to Exhibit 9 to Keiser Expert Report
     12457           1/9/2008    Object that was scanned in 10908D Deco Head
                                1.stl, refers to Exhibit 9 to Keiser Expert Report
     12459          1/10/2008    Scan of Object saved as 01108A BRYANT
                                19462.stl, refers to Exhibit10 to Keiser Expert
                                Report
     12460          1/10/2008    Object that was scanned in 01108A BRYANT
                                19462.stl, refers to Exhibit 10 to Keiser Expert
                                Report
     12462          1/10/2008    Scan of Object saved as 01108B BRYANT
                                19470.stl, refers to Exhibit 11 in Keiser Expert
                                Report
     12463          1/10/2008    Object that was scanned in 01108B BRYANT
                                19470.stl, refers to Exhibit 11 in Keiser Expert
                                Report
     12465          1/10/2008    Scan of Object saved as 01108C BRYANT
                                19479.stl, refers to Exhibit 12 in Keiser Expert
                                Report
     12466          1/10/2008    Object that was scanned in 01108C BRYANT
                                19479.stl, refers to Exhibit 12 in Keiser Expert
                                Report
     12468          1/11/2008   Scan of Object saved as 011108A BRYANT
                                Body 19385.stl, refers to Exhibit 13 in Keiser
                                Expert Report
     12469          1/11/2008   Object that was scanned in 011108A BRYANT
                                Body 19385.stl, refers to Exhibit 13 in Keiser
                                Expert Report
     12471          1/11/2008   Scan of Object saved as 011108A BRYANT
                                Body Boot 19385.stl, refers to Exhibit 14 in
                                Keiser Expert Report
     12472          1/11/2008   Object that was scanned in 011108A BRYANT
                                Body Boot 19385.stl, refers to Exhibit 14 in
                                Keiser Expert Report
     12474          1/11/2008    Scan of Object saved as 011108B BRYANT
                                19499.stl, refers to Exhibit 15 in Keiser Expert
                                Report




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     12475          1/11/2008    Object that was scanned in 011108B BRYANT
                                19499.stl, refers to Exhibit 15 in Keiser Expert
                                Report
     12477          1/11/2008    Scan of Object saved as 011108C BRYANT
                                19459.stl, refers to Exhibit 16 in Keiser Expert
                                Report
     12478          1/11/2008    Object that was scanned in 011108C BRYANT
                                19459.stl, refers to Exhibit 16 in Keiser Expert
                                Report
     12480          1/11/2008    Scan of Object saved as 011108D BRYANT
                                019742.stl, refers to Exhibit 17 in Keiser Expert
                                Report
     12481          1/11/2008    Object that was scanned in 011108D BRYANT
                                019742.stl, refers to Exhibit 17 in Keiser Expert
                                Report
     12483          1/11/2008    Scan of Object saved as 011108E BRYANT
                                019749.stl, refers to Exhibit 18 in Keiser Expert
                                Report
     12484          1/11/2008    Object that was scanned in 011108E BRYANT
                                019749.stl, refers to Exhibit 18 in Keiser Expert
                                Report
     12486          1/11/2008    Scan of Object saved as 011108F BRYANT
                                019786.stl, refers to Exhibit 19 in Keiser Expert
                                Report
     12487          1/11/2008    Object that was scanned in 011108F BRYANT
                                019786.stl, refers to Exhibit 19 in Keiser Expert
                                Report
     12489          1/11/2008    Scan of Object saved as 011108G BRYANT
                                019781.stl, refers to Exhibit 20 in Keiser Expert
                                Report
     12490          1/11/2008    Object that was scanned in 011108G BRYANT
                                019781.stl, refers to Exhibit 20 in Keiser Expert
                                Report
     12492          1/16/2008   Scan of Object saved as 011608A C1230 1
                                MAT.stl, refers to Exhibit 21 in Keiser Expert
                                Report
     12493          1/16/2008   Object that was scanned in 011608A C1230 1
                                MAT.stl, refers to Exhibit 21 in Keiser Expert
                                Report
     12495          1/16/2008   Scan of Object saved as 011608B C1230 3
                                MAT.stl, refers to Exhibit 22 in Keiser Expert
                                Report
     12496          1/16/2008   Object that was scanned in 011608B C1230 3
                                MAT.stl, refers to Exhibit 22 in Keiser Expert
                                Report
     12498          1/16/2008   Scan of Object saved as 011608C B2230 C25
                                MAT.stl, refers to Exhibit 23 in Keiser Expert
                                Report




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     12499          1/16/2008   Object that was scanned in 011608C B2230
                                C25 MAT.stl, refers to Exhibit 23 in Keiser
                                Expert Report
     12501          1/16/2008   Scan of Object saved as 011608A bwoh 2001
                                MGA.stl, refers to Exhibit 24 in Keiser Expert
                                Report
     12502          1/16/2008    Object that was scanned in 011608A bwoh
                                2001 MGA.stl, refers to Exhibit 24 in Keiser
                                Expert Report
     12504          1/16/2008   Scan of Object saved as 011608B bwh 2001
                                MGA.stl, refers to Exhibit 25 in Keiser Expert
                                Report
     12505          1/16/2008   Object that was scanned in 011608B bwh 2001
                                MGA.stl, refers to Exhibit 25 in Keiser Expert
                                Report
     12507          1/16/2008   Scan of Object saved as 011608C bwh 2001
                                MGA.stl, refers to Exhibit 26 in Keiser Expert
                                Report
     12508          1/16/2008   Object that was scanned in 011608C bwh 2001
                                MGA.stl, refers to Exhibit 26 in Keiser Expert
                                Report
     12510          1/16/2008   Scan of Object saved as 011608D bwh 2001
                                MGA.stl, refers to Exhibit 27 in Keiser Expert
                                Report
     12511          1/16/2008   Object that was scanned in 011608D bwh 2001
                                MGA.stl, refers to Exhibit 27 in Keiser Expert
                                Report
     12513          1/17/2008   Scan of Object saved as 011708B bwoh 2001
                                MGA.stl, refers to Exhibit 28 in Keiser Expert
                                Report
     12514          1/17/2008    Object that was scanned in 011708B bwoh
                                2001 MGA.stl, refers to Exhibit 28 in Keiser
                                Expert Report
     12516          1/17/2008    Scan of Object saved as 011708D MGA T1
                                000818 2001.stl, refers to Exhibit 29 in Keiser
                                Expert Report
     12517          1/17/2008    Object that was scanned in 011708D MGA T1
                                000818 2001.stl, refers to Exhibit 29 in Keiser
                                Expert Report
     12519          1/17/2008    Scan of Object saved as 011708G MGA T1
                                000817 2001 BWH.stl, refers to Exhibit 30 in
                                Keiser Expert Report
     12520          1/17/2008    Object that was scanned in 011708G MGA T1
                                000817 2001 BWH.stl, refers to Exhibit 30 in
                                Keiser Expert Report
     12522          1/17/2008    Scan of Object saved as 011708H MGA H 2001
                                JADE DECO.stl, refers to Exhibit 31 in Keiser
                                Expert Report




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     12523          1/17/2008    Object that was scanned in 011708H MGA H
                                2001 JADE DECO.stl, refers to Exhibit 31 in
                                Keiser Expert Report
     12525          1/17/2008    Scan of Object saved as 011708J MGA H
                                2001.stl, refers to Exhibit 32 in Keiser Expert
                                Report
     12526          1/17/2008    Object that was scanned in 011708J MGA H
                                2001.stl, refers to Exhibit 32 in Keiser Expert
                                Report
     12528          1/17/2008    Scan of Object saved as 011708L MGA HWH
                                2001.stl, refers to Exhibit 33 in Keiser Expert
                                Report
     12529          1/17/2008    Object that was scanned in 011708L MGA HWH
                                2001.stl, refers to Exhibit 33 in Keiser Expert
                                Report
     12531          1/17/2008    Scan of Object saved as 011708O MGA
                                2001.stl, refers to Exhibit 34 in Keiser Expert
                                Report
     12532          1/17/2008    Object that was scanned in 011708O MGA
                                2001.stl, refers to Exhibit 34 in Keiser Expert
                                Report
     12534          1/17/2008    Scan of Object saved as 011708P MGA
                                2001.stl, refers to Exhibit 35 in Keiser Expert
                                Report
     12535          1/17/2008    Object that was scanned in 011708P MGA
                                2001.stl, refers to Exhibit 35 in Keiser Expert
                                Report
     12537          1/17/2008    Scan of Object saved as 011708-A MGA BWOH
                                2001.stl, refers to Exhibit 36 in Keiser Expert
                                Report
     12538          1/17/2008   Object that was scanned in 011708-A MGA
                                BWOH 2001.stl, refers to Exhibit 36 in Keiser
                                Expert Report
     12540          1/17/2008    Scan of Object saved as 011708 C MGA H
                                2001 SASHA AA.stl, refers to Exhibit 37 in
                                Keiser Expert Report
     12541          1/17/2008    Object that was scanned in 011708 C MGA H
                                2001 SASHA AA.stl, refers to Exhibit 37 in
                                Keiser Expert Report
     12543          1/17/2008    Scan of Object saved as 011708 E MGA H
                                2001 KAYLA.stl, refers to Exhibit 38 in Keiser
                                Expert Report
     12544          1/17/2008    Object that was scanned in 011708 E MGA H
                                2001 KAYLA.stl, refers to Exhibit 38 in Keiser
                                Expert Report
     12546          1/17/2008   Scan of Object saved as 011708 F MGA H 2001
                                YASMin DECO.stl, refers to Exhibit 39 in Keiser
                                Expert Report




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     12547          1/17/2008    Object that was scanned in 011708 F MGA H
                                2001 YASMin DECO.stl, refers to Exhibit 39 in
                                Keiser Expert Report
     12549          1/17/2008   Scan of Object saved as 011708 i MGA H 2001
                                CLOE DECO.stl, refers to Exhibit 40 in Keiser
                                Expert Report
     12550          1/17/2008    Object that was scanned in 011708 i MGA H
                                2001 CLOE DECO.stl, refers to Exhibit 40 in
                                Keiser Expert Report
     12552          1/17/2008    Scan of Object saved as 011708 K MGA H
                                2001 CLOE HAIR.stl, refers to Exhibit 41 in
                                Keiser Expert Report
     12553          1/17/2008    Object that was scanned in 011708 K MGA H
                                2001 CLOE HAIR.stl, refers to Exhibit 41 in
                                Keiser Expert Report
     12555          1/17/2008    Scan of Object saved as 011708 M MGA H
                                2001 JADE HAIR.stl, refers to Exhibit 42 in
                                Keiser Expert Report
     12556          1/17/2008    Object that was scanned in 011708 M MGA H
                                2001 JADE HAIR.stl, refers to Exhibit 42 in
                                Keiser Expert Report
     12558          1/17/2008    Scan of Object saved as 011708 N MGA H
                                2001 SASHA FUNKNGLOW.stl, refers to Exhibit
                                43 in Keiser Expert Report
     12559          1/17/2008    Object that was scanned in 011708 N MGA H
                                2001 SASHA FUNKNGLOW.stl, refers to Exhibit
                                43 in Keiser Expert Report
     12561          1/17/2008    Scan of Object saved as 011708 Q MGA H
                                2001 JADE DOLLPACK.stl, refers to Exhibit 44
                                in Keiser Expert Report
     12562          1/17/2008    Object that was scanned in 011708 Q MGA H
                                2001 JADE DOLLPACK.stl, refers to Exhibit 44
                                in Keiser Expert Report
     12564          1/17/2008    Scan of Object saved as 011708 R MGA H
                                2001 YASMin DOLLPACK.stl, refers to Exhibit
                                45 in Keiser Expert Report
     12565          1/17/2008    Object that was scanned in 011708 R MGA H
                                2001 YASMin DOLLPACK.stl, refers to Exhibit
                                45 in Keiser Expert Report
     12567          1/25/2008    Scan of Object saved as 012508A BRYANT
                                019675 STand.stl, refers to Exhibit 46 in Keiser
                                Expert Report
     12568          1/25/2008    Object that was scanned in 012508A BRYANT
                                019675 STand.stl, refers to Exhibit 46 in Keiser
                                Expert Report
     12570          1/25/2008    Scan of Object saved as 012508B BRYANT
                                019697 BWOH.stl, refers to Exhibit 47 in Keiser
                                Expert Report




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     12571          1/25/2008    Object that was scanned in 012508B BRYANT
                                019697 BWOH.stl, refers to Exhibit 47 in Keiser
                                Expert Report
     12573          1/25/2008    Scan of Object saved as 012508C BRYANT
                                019710 LEG.stl, refers to Exhibit 48 in Keiser
                                Expert Report
     12574          1/25/2008    Object that was scanned in 012508C BRYANT
                                019710 LEG.stl, refers to Exhibit 48 in Keiser
                                Expert Report
     12576          1/25/2008    Scan of Object saved as 012508D BRYANT
                                019708 ARM.stl, refers to Exhibit 49 in Keiser
                                Expert Report
     12577          1/25/2008    Object that was scanned in 012508D BRYANT
                                019708 ARM.stl, refers to Exhibit 49 in Keiser
                                Expert Report
     12579          1/25/2008    Scan of Object saved as 012508E BRYANT
                                019698 UB DARK.stl, refers to Exhibit 50 in
                                Keiser Expert Report
     12580          1/25/2008    Object that was scanned in 012508E BRYANT
                                019698 UB DARK.stl, refers to Exhibit 50 in
                                Keiser Expert Report
     12582          1/25/2008    Scan of Object saved as 012508F BRYANT
                                019702 BWOH.stl, refers to Exhibit 51 in Keiser
                                Expert Report
     12583          1/25/2008    Object that was scanned in 012508F BRYANT
                                019702 BWOH.stl, refers to Exhibit 51 in Keiser
                                Expert Report
     12585          1/25/2008    Scan of Object saved as 012508G BRYANT
                                019700 BWOH.stl, refers to Exhibit 52 in Keiser
                                Expert Report
     12586          1/25/2008    Object that was scanned in 012508G BRYANT
                                019700 BWOH.stl, refers to Exhibit 52 in Keiser
                                Expert Report
     12588          1/25/2008    Scan of Object saved as 012508H BRYANT
                                019701 BWOH.stl, refers to Exhibit 53 in Keiser
                                Expert Report
     12589          1/25/2008    Object that was scanned in 012508H BRYANT
                                019701 BWOH.stl, refers to Exhibit 53 in Keiser
                                Expert Report
     12591          1/25/2008    Scan of Object saved as 012508I BRYANT
                                019522 SHOE.stl, refers to Exhibit 54 in Keiser
                                Expert Report
     12592          1/25/2008    Object that was scanned in 012508I BRYANT
                                019522 SHOE.stl, refers to Exhibit 54 in Keiser
                                Expert Report
     12594          1/25/2008    Scan of Object saved as 012508J BRYANT
                                019515 SHOE.stl, refers to Exhibit 55 in Keiser
                                Expert Report




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     12595          1/25/2008    Object that was scanned in 012508J BRYANT
                                019515 SHOE.stl, refers to Exhibit 55 in Keiser
                                Expert Report
     12597          1/25/2008    Scan of Object saved as 012508K BRYANT
                                019516 SHOE.stl, refers to Exhibit 56 in Keiser
                                Expert Report
     12598          1/25/2008    Object that was scanned in 012508K BRYANT
                                019516 SHOE.stl, refers to Exhibit 56 in Keiser
                                Expert Report
     12600          1/25/2008    Scan of Object saved as 012508L BRYANT
                                019518 SHOE.stl, refers to Exhibit 57 in Keiser
                                Expert Report
     12601          1/25/2008    Object that was scanned in 012508L BRYANT
                                019518 SHOE.stl, refers to Exhibit 57 in Keiser
                                Expert Report
     12603          1/25/2008    Scan of Object saved as 012508M BRYANT
                                019517 SHOE.stl, refers to Exhibit 58 in Keiser
                                Expert Report
     12604          1/25/2008    Object that was scanned in 012508M BRYANT
                                019517 SHOE.stl, refers to Exhibit 58 in Keiser
                                Expert Report
     12606          1/28/2008    Scan of Object saved as 012808A MGA 2001
                                BLONDE CLOE with ORANGE LEGS.stl, refers
                                to Exhibit 59 in Keiser Expert Report
     12607          1/28/2008    Object that was scanned in 012808A MGA 2001
                                BLONDE CLOE with ORANGE LEGS.stl, refers
                                to Exhibit 59 in Keiser Expert Report
     12609          1/28/2008   Scan of Object saved as 012808D MGA 2001
                                BWOH.stl, refers to Exhibit 60 in Keiser Expert
                                Report
     12610          1/28/2008   Object that was scanned in 012808D MGA 2001
                                BWOH.stl, refers to Exhibit 60 in Keiser Expert
                                Report
     12612          1/28/2008   Scan of Object saved as 012808G RAG DOLL
                                W PIGTAILS.stl, refers to Exhibit 61 in Keiser
                                Expert Report
     12613          1/28/2008   Object that was scanned in 012808G RAG
                                DOLL W PIGTAILS.stl, refers to Exhibit 61 in
                                Keiser Expert Report
     12615          1/28/2008   Scan of Object saved as 012808B MGA2001
                                CLOE 312185.stl, refers to Exhibit 62 in Keiser
                                Expert Report
     12616          1/28/2008   Object that was scanned in 012808B MGA2001
                                CLOE 312185.stl, refers to Exhibit 62 in Keiser
                                Expert Report
     12618          1/28/2008   Scan of Object saved as 012808C MGA 2001
                                BWH RED.stl, refers to Exhibit 63 in Keiser
                                Expert Report




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     12619          1/28/2008   Object that was scanned in 012808C MGA 2001
                                BWH RED.stl, refers to Exhibit 63 in Keiser
                                Expert Report
     12621          1/28/2008   Scan of Object saved as 012808E MGA 2001
                                GYPSY PRinCESS.stl, refers to Exhibit 64 in
                                Keiser Expert Report
     12622          1/28/2008   Object that was scanned in 012808E MGA 2001
                                GYPSY PRinCESS.stl, refers to Exhibit 64 in
                                Keiser Expert Report
     12624          1/28/2008    Scan of Object saved as 012808F SCAMPZ.stl,
                                refers to Exhibit 65 in Keiser Expert Report
     12625          1/28/2008    Object that was scanned in 012808F
                                SCAMPZ.stl, refers to Exhibit 65 in Keiser Expert
                                Report
     12627          1/31/2008   Scan of Object saved as 013108A1 PinK HEAD
                                A 2001 MGA.stl, refers to Exhibit 66 in Keiser
                                Expert Report
     12628          1/31/2008   Object that was scanned in 013108A1 PinK
                                HEAD A 2001 MGA.stl, refers to Exhibit 66 in
                                Keiser Expert Report
     12630          1/31/2008   Scan of Object saved as 013108A2 PinK HEAD
                                B 2001 MGA.stl, refers to Exhibit 67 in Keiser
                                Expert Report
     12631          1/31/2008   Object that was scanned in 013108A2 PinK
                                HEAD B 2001 MGA.stl, refers to Exhibit 67 in
                                Keiser Expert Report
     12633          1/31/2008   Scan of Object saved as 013108B MGA
                                GREYMOLD ARM.stl, refers to Exhibit 68 in
                                Keiser Expert Report
     12634          1/31/2008   Object that was scanned in 013108B MGA
                                GREYMOLD ARM.stl, refers to Exhibit 68 in
                                Keiser Expert Report
     12636          1/31/2008   Scan of Object saved as 013108B MGA
                                GREYMOLD BODY.stl, refers to Exhibit 69 in
                                Keiser Expert Report
     12637          1/31/2008   Object that was scanned in 013108B MGA
                                GREYMOLD BODY.stl, refers to Exhibit 69 in
                                Keiser Expert Report
     12639          1/31/2008   Scan of Object saved as 013108B MGA
                                GREYMOLD HEAD.stl, refers to Exhibit 70 in
                                Keiser Expert Report
     12640          1/31/2008   Object that was scanned in 013108B MGA
                                GREYMOLD HEAD.stl, refers to Exhibit 70 in
                                Keiser Expert Report
     12642          1/31/2008   Scan of Object saved as 013108C MGA GREY
                                SCULPT HEAD.stl, refers to Exhibit 71 in Keiser
                                Expert Report
     12643          1/31/2008   Object that was scanned in 013108C MGA
                                GREY SCULPT HEAD.stl, refers to Exhibit 71 in
                                Keiser Expert Report



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     12645          1/31/2008    Scan of Object saved as 013108D BWOH.stl,
                                refers to Exhibit 72 in Keiser Expert Report
     12646          1/31/2008    Object that was scanned in 013108D BWOH.stl,
                                refers to Exhibit 72 in Keiser Expert Report
     12648          1/31/2008    Scan of Object saved as 013108E MGA BIG
                                HEAD.stl, refers to Exhibit 73 in Keiser Expert
                                Report
     12649          1/31/2008   Object that was scanned in 013108E MGA BIG
                                HEAD.stl, refers to Exhibit 73 in Keiser Expert
                                Report
     12651          1/31/2008   Scan of Object saved as 013108F MGA
                                HEAD.stl, refers to Exhibit 74 in Keiser Expert
                                Report
     12652          1/31/2008   Object that was scanned in 013108F MGA
                                HEAD.stl, refers to Exhibit 74 in Keiser Expert
                                Report
     12654          1/31/2008   Scan of Object saved as 013108G MGA
                                HEAD.stl, refers to Exhibit 75 in Keiser Expert
                                Report
     12655          1/31/2008   Object that was scanned in 013108G MGA
                                HEAD.stl, refers to Exhibit 75 in Keiser Expert
                                Report
     12657          1/31/2008   Scan of Object saved as 013108H BWH GREY
                                SCULPT.stl, refers to Exhibit 76 in Keiser Expert
                                Report
     12658          1/31/2008   Object that was scanned in 013108H BWH
                                GREY SCULPT.stl, refers to Exhibit 76 in Keiser
                                Expert Report
     12660          1/31/2008   Scan of Object saved as 013108 I MGA
                                BODY.stl, refers to Exhibit 77 in Keiser Expert
                                Report
     12661          1/31/2008   Object that was scanned in 013108 I MGA
                                BODY.stl, refers to Exhibit 77 in Keiser Expert
                                Report
     12663           2/1/2008    Scan of Object saved as 020108J BWOH.stl,
                                refers to Exhibit 78 in Keiser Expert Report
     12664           2/1/2008    Object that was scanned in 020108J BWOH.stl,
                                refers to Exhibit 78 in Keiser Expert Report
     12666           2/1/2008    Scan of Object saved as 020108 K MGA
                                BODY.stl, refers to Exhibit 79 in Keiser Expert
                                Report
     12667           2/1/2008   Object that was scanned in 020108 K MGA
                                BODY.stl, refers to Exhibit 79 in Keiser Expert
                                Report
     12669           2/1/2008   Scan of Object saved as 020108 L MGA
                                HEAD.stl, refers to Exhibit 80 in Keiser Expert
                                Report
     12670           2/1/2008   Object that was scanned in 020108 L MGA
                                HEAD.stl, refers to Exhibit 80 in Keiser Expert
                                Report



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     12672           2/1/2008   Scan of Object saved as 020108M
                                BWOHLA.stl, refers to Exhibit 81 in Keiser
                                Expert Report
     12673           2/1/2008   Object that was scanned in 020108M
                                BWOHLA.stl, refers to Exhibit 81 in Keiser
                                Expert Report
     12675           2/1/2008   Scan of Object saved as 020108 X1 MGA
                                HEAD.stl, refers to Exhibit 82 in Keiser Expert
                                Report
     12676           2/1/2008   Object that was scanned in 020108 X1 MGA
                                HEAD.stl, refers to Exhibit 82 in Keiser Expert
                                Report
     12678           2/1/2008   Scan of Object saved as 020108 X2 MGA
                                HEAD MALE.stl, refers to Exhibit 83 in Keiser
                                Expert Report
     12679           2/1/2008   Object that was scanned in 020108 X2 MGA
                                HEAD MALE.stl, refers to Exhibit 83 in Keiser
                                Expert Report
     12681           2/1/2008   Scan of Object saved as 020108 X3 MGA
                                HEAD.stl, refers to Exhibit 84 in Keiser Expert
                                Report
     12682           2/1/2008   Object that was scanned in 020108 X3 MGA
                                HEAD.stl, refers to Exhibit 84 in Keiser Expert
                                Report
     12684           2/1/2008    Scan of Object saved as 020108X4H.stl, refers
                                to Exhibit 85 in Keiser Expert Report
     12685           2/1/2008    Object that was scanned in 020108X4H.stl,
                                refers to Exhibit 85 in Keiser Expert Report
     12687           2/1/2008    Scan of Object saved as 020108 X5 MGA
                                HEAD.stl, refers to Exhibit 86 in Keiser Expert
                                Report
     12688           2/1/2008   Object that was scanned in 020108 X5 MGA
                                HEAD.stl, refers to Exhibit 86 in Keiser Expert
                                Report
     12690           2/4/2008    Scan of Object saved as
                                020408_A_MYA_GLAMMA_JAMMAZ.stl, refers
                                to Exhibit 87 in Keiser Expert Report
     12691           2/4/2008    Object that was scanned in
                                020408_A_MYA_GLAMMA_JAMMAZ.stl, refers
                                to Exhibit 87 in Keiser Expert Report
     12693          2/10/2008   Scan of Object saved as 021008A
                                CABBAGEPATCH.stl, refers to Exhibit 88 in
                                Keiser Expert Report
     12694          2/10/2008   Object that was scanned in 021008A
                                CABBAGEPATCH.stl, refers to Exhibit 88 in
                                Keiser Expert Report
     12696          2/10/2008   Scan of Object saved as 021008B MYSCENE
                                B2230.stl, refers to Exhibit 89 in Keiser Expert
                                Report




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     12697          2/10/2008   Object that was scanned in 021008B
                                MYSCENE B2230.stl, refers to Exhibit 89 in
                                Keiser Expert Report
     12699          2/11/2008    Scan of Object saved as 021108A MinI
                                TRENDY TEENZ H_PH.stl, refers to Exhibit 90
                                in Keiser Expert Report
     12700          2/11/2008    Object that was scanned in 021108A MinI
                                TRENDY TEENZ H_PH.stl, refers to Exhibit 90
                                in Keiser Expert Report
     12702          2/11/2008   Scan of Object saved as 021108B MinI
                                TRENDY TEENZ H_B.stl, refers to Exhibit 91 in
                                Keiser Expert Report
     12703          2/11/2008   Object that was scanned in 021108B MinI
                                TRENDY TEENZ H_B.stl, refers to Exhibit 91 in
                                Keiser Expert Report
     12704          2/11/2008    Photograph of Object that was scanned in
                                247432-001-01-a_1_4.stl, refers to Item 1 of
                                Keiser 4/3/08 Supplemental Report, refers to
                                Item 1 of Keiser 4/3/08 Supplemental Report
     12705          2/11/2008    Scan of Object saved as 247432-001-01-
                                a_1_4.stl, refers to Item 1 of Keiser 4/3/08
                                Supplemental Report
     12706          2/11/2008    Object that was scanned in 247432-001-01-
                                a_1_4.stl, refers to Item 1 of Keiser 4/3/08
                                Supplemental Report
     12707          2/11/2008    Photograph of Object that was scanned in
                                247432-001-01-b_2_8.stl, refers to Item 1 of
                                Keiser 4/3/08 Supplemental Report
     12708          2/11/2008    Scan of Object saved as 247432-001-01-
                                b_2_8.stl, refers to Item 1 of Keiser 4/3/08
                                Supplemental Report
     12709          2/11/2008    Object that was scanned in 247432-001-01-
                                b_2_8.stl, refers to Item 1 of Keiser 4/3/08
                                Supplemental Report
     12710          2/11/2008    Photograph of Object that was scanned in
                                247432-002-01-a_2_8.stl, refers to Item 2 of
                                Keiser 4/3/08 Supplemental Report
     12711          2/11/2008    Scan of Object saved as 247432-002-01-
                                a_2_8.stl, refers to Item 2 of Keiser 4/3/08
                                Supplemental Report
     12712          2/11/2008    Object that was scanned in 247432-002-01-
                                a_2_8.stl, refers to Item 2 of Keiser 4/3/08
                                Supplemental Report
     12713          2/11/2008    Photograph of Object that was scanned in
                                247432-002-01-b_2_8.stl, refers to Item 2 of
                                Keiser 4/3/08 Supplemental Report
     12714          2/11/2008    Scan of Object saved as 247432-002-01-
                                b_2_8.stl, refers to Item 2 of Keiser 4/3/08
                                Supplemental Report




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     12715          2/11/2008    Object that was scanned in 247432-002-01-
                                b_2_8.stl, refers to Item 2 of Keiser 4/3/08
                                Supplemental Report
     12716          2/11/2008    Photograph of Object that was scanned in
                                248521-001-02a_1_4.stl, refers to Item 3 of
                                Keiser 4/3/08 Supplemental Report
     12717          2/11/2008    Scan of Object saved as 248521-001-
                                02a_1_4.stl, refers to Item 3 of Keiser 4/3/08
                                Supplemental Report
     12718          2/11/2008    Object that was scanned in 248521-001-
                                02a_1_4.stl, refers to Item 3 of Keiser 4/3/08
                                Supplemental Report
     12719          2/11/2008    Photograph of Object that was scanned in
                                248521-001-02b_2_8.stl, refers to Item 3 of
                                Keiser 4/3/08 Supplemental Report
     12720          2/11/2008    Scan of Object saved as 248521-001-
                                02b_2_8.stl, refers to Item 3 of Keiser 4/3/08
                                Supplemental Report
     12721          2/11/2008    Object that was scanned in 248521-001-
                                02b_2_8.stl, refers to Item 3 of Keiser 4/3/08
                                Supplemental Report
     12722          2/11/2008    Photograph of Object that was scanned in
                                248521-002-02a_1_4.stl, refers to Item 4 of
                                Keiser 4/3/08 Supplemental Report
     12723          2/11/2008    Scan of Object saved as 248521-002-
                                02a_1_4.stl, refers to Item 4 of Keiser 4/3/08
                                Supplemental Report
     12724          2/11/2008    Object that was scanned in 248521-002-
                                02a_1_4.stl, refers to Item 4 of Keiser 4/3/08
                                Supplemental Report
     12725          2/11/2008    Photograph of Object that was scanned in
                                248521-002-02b_1_4.stl, refers to Item 4 of
                                Keiser 4/3/08 Supplemental Report
     12726          2/11/2008    Scan of Object saved as 248521-002-
                                02b_1_4.stl, refers to Item 4 of Keiser 4/3/08
                                Supplemental Report
     12727          2/11/2008    Object that was scanned in 248521-002-
                                02b_1_4.stl, refers to Item 4 of Keiser 4/3/08
                                Supplemental Report
     12728          2/11/2008    Photograph of Object that was scanned in
                                248521-003-02_1_4-a.stl, refers to Item 5 of
                                Keiser 4/3/08 Supplemental Report
     12729          2/11/2008    Scan of Object saved as 248521-003-02_1_4-
                                a.stl, refers to Item 5 of Keiser 4/3/08
                                Supplemental Report
     12730          2/11/2008    Object that was scanned in 248521-003-
                                02_1_4-a.stl, refers to Item 5 of Keiser 4/3/08
                                Supplemental Report




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     12731          2/11/2008    Photograph of Object that was scanned in
                                248521-003-02-b_1_4.stl, refers to Item 5 of
                                Keiser 4/3/08 Supplemental Report
     12732          2/11/2008    Scan of Object saved as 248521-003-02-
                                b_1_4.stl, refers to Item 5 of Keiser 4/3/08
                                Supplemental Report
     12733          2/11/2008    Object that was scanned in 248521-003-02-
                                b_1_4.stl, refers to Item 5 of Keiser 4/3/08
                                Supplemental Report
     12734          2/11/2008    Photograph of Object that was scanned in
                                248521-004-06-a_1_4.stl, refers to Item 6 of
                                Keiser 4/3/08 Supplemental Report
     12735          2/11/2008    Scan of Object saved as 248521-004-06-
                                a_1_4.stl, refers to Item 6 of Keiser 4/3/08
                                Supplemental Report
     12736          2/11/2008    Object that was scanned in 248521-004-06-
                                a_1_4.stl, refers to Item 6 of Keiser 4/3/08
                                Supplemental Report
     12737          2/11/2008    Photograph of Object that was scanned in
                                248521-004-06-b_2_8.stl, refers to Item 6 of
                                Keiser 4/3/08 Supplemental Report
     12738          2/11/2008    Scan of Object saved as 248521-004-06-
                                b_2_8.stl, refers to Item 6 of Keiser 4/3/08
                                Supplemental Report
     12739          2/11/2008    Object that was scanned in 248521-004-06-
                                b_2_8.stl, refers to Item 6 of Keiser 4/3/08
                                Supplemental Report
     12740          2/11/2008    Photograph of Object that was scanned in
                                248521-005-20-a_1_4.stl, refers to Item 7 of
                                Keiser 4/3/08 Supplemental Report
     12741          2/11/2008    Scan of Object saved as 248521-005-20-
                                a_1_4.stl, refers to Item 7 of Keiser 4/3/08
                                Supplemental Report
     12742          2/11/2008    Object that was scanned in 248521-005-20-
                                a_1_4.stl, refers to Item 7 of Keiser 4/3/08
                                Supplemental Report
     12743          2/11/2008    Photograph of Object that was scanned in
                                248521-005-20-b_1_4.stl, refers to Item 7 of
                                Keiser 4/3/08 Supplemental Report
     12744          2/11/2008    Scan of Object saved as 248521-005-20-
                                b_1_4.stl, refers to Item 7 of Keiser 4/3/08
                                Supplemental Report
     12745          2/11/2008    Object that was scanned in 248521-005-20-
                                b_1_4.stl, refers to Item 7 of Keiser 4/3/08
                                Supplemental Report
     12746          2/11/2008    Photograph of Object that was scanned in
                                248521-006-03-a_2_8.stl, refers to Item 8 of
                                Keiser 4/3/08 Supplemental Report




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     12747          2/11/2008    Scan of Object saved as 248521-006-03-
                                a_2_8.stl, refers to Item 8 of Keiser 4/3/08
                                Supplemental Report
     12748          2/11/2008    Object that was scanned in 248521-006-03-
                                a_2_8.stl, refers to Item 8 of Keiser 4/3/08
                                Supplemental Report
     12749          2/11/2008    Photograph of Object that was scanned in
                                248521-006-03-b_2_8.stl, refers to Item 8 of
                                Keiser 4/3/08 Supplemental Report
     12750          2/11/2008    Scan of Object saved as 248521-006-03-
                                b_2_8.stl, refers to Item 8 of Keiser 4/3/08
                                Supplemental Report
     12751          2/11/2008    Object that was scanned in 248521-006-03-
                                b_2_8.stl, refers to Item 8 of Keiser 4/3/08
                                Supplemental Report
     12752          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000792_2_8.stl, refers to Item 16 of
                                Keiser 4/3/08 Supplemental Report
     12753          2/11/2008    Scan of Object saved as MGA-T1-
                                000792_2_8.stl, refers to Item 16 of Keiser
                                4/3/08 Supplemental Report
     12754          2/11/2008    Object that was scanned in MGA-T1-
                                000792_2_8.stl, refers to Item 16 of Keiser
                                4/3/08 Supplemental Report
     12755          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000793_1_4.stl, refers to Item 17 of
                                Keiser 4/3/08 Supplemental Report
     12756          2/11/2008    Scan of Object saved as MGA-T1-
                                000793_1_4.stl, refers to Item 17 of Keiser
                                4/3/08 Supplemental Report
     12757          2/11/2008    Object that was scanned in MGA-T1-
                                000793_1_4.stl, refers to Item 17 of Keiser
                                4/3/08 Supplemental Report
     12758          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000794_2_8.stl, refers to Item 18 of
                                Keiser 4/3/08 Supplemental Report
     12759          2/11/2008    Scan of Object saved as MGA-T1-
                                000794_2_8.stl, refers to Item 18 of Keiser
                                4/3/08 Supplemental Report
     12760          2/11/2008    Object that was scanned in MGA-T1-
                                000794_2_8.stl, refers to Item 18 of Keiser
                                4/3/08 Supplemental Report
     12761          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000795_2_8.stl, refers to Item 19 of
                                Keiser 4/3/08 Supplemental Report
     12762          2/11/2008    Scan of Object saved as MGA-T1-
                                000795_2_8.stl, refers to Item 19 of Keiser
                                4/3/08 Supplemental Report




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     12763          2/11/2008    Object that was scanned in MGA-T1-
                                000795_2_8.stl, refers to Item 19 of Keiser
                                4/3/08 Supplemental Report
     12764          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000796_2_8.stl, refers to Item 20 of
                                Keiser 4/3/08 Supplemental Report
     12765          2/11/2008    Scan of Object saved as MGA-T1-
                                000796_2_8.stl, refers to Item 20 of Keiser
                                4/3/08 Supplemental Report
     12766          2/11/2008    Object that was scanned in MGA-T1-
                                000796_2_8.stl, refers to Item 20 of Keiser
                                4/3/08 Supplemental Report
     12767          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000797_2_8.stl, refers to Item 21 of
                                Keiser 4/3/08 Supplemental Report
     12768          2/11/2008    Scan of Object saved as MGA-T1-
                                000797_2_8.stl, refers to Item 21 of Keiser
                                4/3/08 Supplemental Report
     12769          2/11/2008    Object that was scanned in MGA-T1-
                                000797_2_8.stl, refers to Item 21 of Keiser
                                4/3/08 Supplemental Report
     12770          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000798_2_8.stl, refers to Item 22 of
                                Keiser 4/3/08 Supplemental Report
     12771          2/11/2008    Scan of Object saved as MGA-T1-
                                000798_2_8.stl, refers to Item 22 of Keiser
                                4/3/08 Supplemental Report
     12772          2/11/2008    Object that was scanned in MGA-T1-
                                000798_2_8.stl, refers to Item 22 of Keiser
                                4/3/08 Supplemental Report
     12773          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000799_2_8.stl, refers to Item 23 of
                                Keiser 4/3/08 Supplemental Report
     12774          2/11/2008    Scan of Object saved as MGA-T1-
                                000799_2_8.stl, refers to Item 23 of Keiser
                                4/3/08 Supplemental Report
     12775          2/11/2008    Object that was scanned in MGA-T1-
                                000799_2_8.stl, refers to Item 23 of Keiser
                                4/3/08 Supplemental Report
     12776          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000800_2_8.stl, refers to Item 24 of
                                Keiser 4/3/08 Supplemental Report
     12777          2/11/2008    Scan of Object saved as MGA-T1-
                                000800_2_8.stl, refers to Item 24 of Keiser
                                4/3/08 Supplemental Report
     12778          2/11/2008    Object that was scanned in MGA-T1-
                                000800_2_8.stl, refers to Item 24 of Keiser
                                4/3/08 Supplemental Report




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     12779          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000785_2_8.stl, refers to Item 9 of
                                Keiser 4/3/08 Supplemental Report
     12780          2/11/2008    Scan of Object saved as MGA-T1-
                                000785_2_8.stl, refers to Item 9 of Keiser 4/3/08
                                Supplemental Report
     12781          2/11/2008    Object that was scanned in MGA-T1-
                                000785_2_8.stl, refers to Item 9 of Keiser 4/3/08
                                Supplemental Report
     12782          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000786_2_8.stl, refers to Item 10 of
                                Keiser 4/3/08 Supplemental Report
     12783          2/11/2008    Scan of Object saved as MGA-T1-
                                000786_2_8.stl, refers to Item 10 of Keiser
                                4/3/08 Supplemental Report
     12784          2/11/2008    Object that was scanned in MGA-T1-
                                000786_2_8.stl, refers to Item 10 of Keiser
                                4/3/08 Supplemental Report
     12785          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000787_2_8.stl, refers to Item 11 of
                                Keiser 4/3/08 Supplemental Report
     12786          2/11/2008    Scan of Object saved as MGA-T1-
                                000787_2_8.stl, refers to Item 11 of Keiser
                                4/3/08 Supplemental Report
     12787          2/11/2008    Object that was scanned in MGA-T1-
                                000787_2_8.stl, refers to Item 11 of Keiser
                                4/3/08 Supplemental Report
     12788          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000788_2_8.stl, refers to Item 12 of
                                Keiser 4/3/08 Supplemental Report
     12789          2/11/2008    Scan of Object saved as MGA-T1-
                                000788_2_8.stl, refers to Item 12 of Keiser
                                4/3/08 Supplemental Report
     12790          2/11/2008    Object that was scanned in MGA-T1-
                                000788_2_8.stl, refers to Item 12 of Keiser
                                4/3/08 Supplemental Report
     12791          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000789_2_8.stl, refers to Item 13 of
                                Keiser 4/3/08 Supplemental Report
     12792          2/11/2008    Scan of Object saved as MGA-T1-
                                000789_2_8.stl, refers to Item 13 of Keiser
                                4/3/08 Supplemental Report
     12793          2/11/2008    Object that was scanned in MGA-T1-
                                000789_2_8.stl, refers to Item 13 of Keiser
                                4/3/08 Supplemental Report
     12794          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000790_2_8.stl, refers to Item 14 of
                                Keiser 4/3/08 Supplemental Report




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     12795          2/11/2008    Scan of Object saved as MGA-T1-
                                000790_2_8.stl, refers to Item 14 of Keiser
                                4/3/08 Supplemental Report
     12796          2/11/2008    Object that was scanned in MGA-T1-
                                000790_2_8.stl, refers to Item 14 of Keiser
                                4/3/08 Supplemental Report
     12797          2/11/2008   Photograph of Object that was scanned in
                                MGA-T1-000791_2_8.stl, refers to Item 15 of
                                Keiser 4/3/08 Supplemental Report
     12798          2/11/2008    Scan of Object saved as MGA-T1-
                                000791_2_8.stl, refers to Item 15 of Keiser
                                4/3/08 Supplemental Report
     12799          2/11/2008    Object that was scanned in MGA-T1-
                                000791_2_8.stl, refers to Item 15 of Keiser
                                4/3/08 Supplemental Report
     12800                       Photograph of Object that was scanned in
                                11708_E_MGA_H_2001_JADE_DECO.stl
     12801                       Scan of Object saved as
                                11708_E_MGA_H_2001_JADE_DECO.stl
     12802                       Object that was scanned in
                                11708_E_MGA_H_2001_JADE_DECO.stl
     12803          4/15/2008    Photograph of Object that was scanned in
                                041508 Slumber Party Sasha Body.stl, refers to
                                Item 3 of Keiser 4/22/08 Supplemental Report
     12804          4/15/2008    Scan of Object saved as 041508 Slumber Party
                                Sasha Body.stl, refers to Item 3 of Keiser
                                4/22/08 Supplemental Report
     12805          4/15/2008    Object that was scanned in 041508 Slumber
                                Party Sasha Body.stl, refers to Item 3 of Keiser
                                4/22/08 Supplemental Report
     12806          4/15/2008    Photograph of Object that was scanned in
                                041508 Slumber Party Shoe.stl, refers to Item 4
                                of Keiser 4/22/08 Supplemental Report
     12807          4/15/2008   Scan of Object saved as 041508 Slumber Party
                                Shoe.stl, refers to Item 4 of Keiser 4/22/08
                                Supplemental Report
     12808          4/15/2008   Object that was scanned in 041508 Slumber
                                Party Shoe.stl, refers to Item 4 of Keiser 4/22/08
                                Supplemental Report
     12809          4/15/2008    Photograph of Object that was scanned in
                                041508 Lil Bratz body.stl, refers to Item 1 of
                                Keiser 4/22/08 Supplemental Report
     12810          4/15/2008    Scan of Object saved as 041508 Lil Bratz
                                body.stl, refers to Item 1 of Keiser 4/22/08
                                Supplemental Report
     12811          4/15/2008    Object that was scanned in Lil Bratz body.stl,
                                refers to Item 1 of Keiser 4/22/08 Supplemental
                                Report




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     12812           4/15/2008    Photograph of Object that was scanned in
                                 041508 Lil Bratz shoe.stl, refers to Item 2 of
                                 Keiser 4/22/08 Supplemental Report
     12813           4/15/2008    Scan of Object saved as 041508 Lil Bratz
                                 shoe.stl, refers to Item 2 of Keiser 4/22/08
                                 Supplemental Report
     12814           4/15/2008    Object that was scanned in 041508 Lil Bratz
                                 shoe.stl, refers to Item 2 of Keiser 4/22/08
                                 Supplemental Report
     12815          00/00/2005   Spreadsheet
     12825           4/25/2001   Email, MGA 0049996-MGA 0049997
     12829           3/22/2004   Spreadsheet
     12830            3/5/2003   Spreadsheet
     12831            3/5/2003   Financial Document
     12832            3/5/2003   Financial Document
     12833            3/5/2003   Sales Document
     12834            3/5/2003   Sales Form
     12835           2/20/2005   Financial Document
     12836           2/20/2005   Price List and Sales Documents
     12837           2/00/2005   Price List and Sales Documents
     12839            2/4/2006   Email
     12895           8/11/2003    Fax transmission with drawings of feet and a
                                 doll, a printout of a webpage, a letter, and
                                 declaration attached, BRYANT 12577-BRYANT
                                 12585
     12903                        Letter to South Bay Molds Regarding address
                                 change, MGA 002626
     12905           2/24/2003    Office Action Abandoning PTR Changeable Doll
                                 Footwear & Feet, MGA 0825432
     12906          10/28/2003    Communication from The U.S. Patent &
                                 Trademark office denying MGA patent
                                 application, MGA 0825445
     12907           8/12/2003    Amendment to U.S. Patent application, MGA
                                 0825456
     12908           8/11/2003    Declaration of Carter Bryant, accompanying
                                 U.S. Patent Application, MGA 0825460
     12911           6/25/2003    Fax to US PTO including printouts of Bratz web
                                 page, MGA 0825645
     12956                        Financial Document, MGA 3809611-MGA
                                 3809629
     12958                        Amendment to License Agreement, MGA
                                 0825652-MGA 0825670
     12959                        Merchandise License Agreement, MGA
                                 0830026-MGA 0830037
     12960                        Agreement, MGA 0830038-MGA 0830048
     12961                        Agreement, MGA 0831007-MGA 0831018
     12962                        Financial/Sales Document, MGA 1506104-MGA
                                 1506111



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     12963              Financial/Sales Document, MGA 1628423-MGA
                       1628449
     12964              Financial/Sales Document, MGA 1693235-MGA
                       1693280
     12965              List of Deal Memos, MGA 1706216-MGA
                       1706242
     12966              Financial/Sales Document, MGA 1728849-MGA
                       1728861
     12967              Financial/Sales Document, MGA 2125645-MGA
                       2125667
     12968             Weekly Status Report, MGA 3473739-MGA
                       3473745
     12969              Presentation Materials, MGA 3485959-MGA
                       3486013
     12970              Deal memo, MGA 3498861-MGA 3498870
     12971              Financial Document, MGA 3710760-MGA
                       3710775
     12972              Email, MGA 3768903-MGA 3768904
     12973              Presentation Materials, MGA 3794895-MGA
                       3794959
     12974              Video conference notes, MGA 4374511-MGA
                       4374513
     12975              Project Status Update, MGA 4374515-MGA
                       4374518
     12976              Project Status Update, MGA 4374522-MGA
                       4374527
     12978              Affidavit, MGA 0873937-MGA 0873988
     12979              Email, MGA 0023795-MGA 0023804
     12983              List of Assets, MGA 3787276-MGA 3787277
     12984              Summary of Payments from MGA to Bryant
     12985              Summary of Payments from MGA to Jahangir
                       Makabi
     12986              Summary of Payments from MGA to Aghdas
                       Larian
     12987              Summary of Payments from MGA to Angela
                       Larian
     12988              Summary of Payments from MGA to Anna Rhee
     12989              Summary of Payments from MGA to David
                       Dees
     12990              Summary of Payments from MGA to Elias
                       Larian
     12991              Summary of Payments from MGA to Farhad
                       Larian
     12993              Summary of Payments from MGA to Isaac
                       Larian
     12994              Summary of Payments from MGA to Jessie
                       Ramirez
     12997              Summary of Payments from MGA to Sarah
                       Halpern




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     12998                        Summary of Payments from MGA to Shirin
                                 Makabi
     12999                        Summary of Payments from MGA to Shoreh
                                 Larian
     13000                        Summary of Payments from MGA to Stephen
                                 Tarmichael
     13001                        Summary of Payments from MGA to Veronica
                                 Marlow
     13002           4/27/2005    MGA Entertainment, Inc.'s Responses to Mattel,
                                 Inc.'s First Set of Requests for Admission
     13003           3/12/2007    MGA's Supplemental Responses to Mattel's
                                 Second Set of Interrogatories
     13004          12/14/2007    MGA Entertainment (HK) Ltd.'s Supplemental
                                 Responses to Mattel, Inc.'s First Set of Requests
                                 for Admission
     13005            2/4/2008    MGA Entertainment (HK) Limited'S Objections
                                 and Responses to Mattel's Fourth Set of
                                 Requests for Admission to all Defendants
     13006            2/4/2008    MGA Entertainment (HK) Limited'S Objections
                                 and Responses to Mattel's Third Set of
                                 Requests for Admission to all Defendants
     13007            2/4/2008   MGA Entertainment, Inc.'s Objections and
                                 Responses to Mattel's Third Set of Requests for
                                 Admission to all Defendants
     13008            2/4/2008   MGA Entertainment, Inc.'s Objection and
                                 Responses to Mattel, Inc.'s Second Set of
                                 Requests for Admission Propounded to all
                                 Defendants
     13009            2/4/2008    MGA Entertainment (HK) Limited'S Objection S
                                 and Response to Mattel, Inc.'s Second Set of
                                 Requests for Admissions Propounded to all
                                 Defendants
     13010           2/15/2008    MGA Entertainment (HK) Ltd.'s Supplemental
                                 Responses to Mattel's "First" Set of Requests for
                                 Admission to MGA Entertainment, Inc.; Carter
                                 Bryant; MGA Entertainment (HK) Limited; and
                                 Isaac Larian for Requests
     13011            3/3/2008   MGA Entertainment, Inc.'s Fourth Supplemental
                                 Responses to Interrogatory Nos. 38,40 and 41 of
                                 Mattel, Inc.'s Revised Third Set of Interrogatories
     13012            3/3/2008    MGA Entertainment, Inc.'s Fourth Supplemental
                                 Responses to Interrogatory Nos. 43-44 of
                                 Mattel, Inc.'s Amended Fourth Set of
                                 Interrogatories
     13013            3/3/2008    MGA Entertainment Inc.'s Supplemental
                                 Response to Interrogatory No. 47 of Mattel,
                                 Inc.'s Fifth Set of Interrogatories




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     13014            3/3/2008    MGA Entertainment (HK) Ltd.'s Fourth
                                 Supplemental Responses to Interrogatory Nos.
                                 38, 40 and 41 of Mattel, Inc.'s Revised Third Set
                                 of Interrogatories
     13015            3/3/2008    MGA Entertainment (HK) Ltd.'s Fourth
                                 Supplemental Responses to Interrogatory Nos.
                                 43-44 of Mattel, Inc.'s Amended Fourth Set of
                                 Interrogatories
     13016            3/3/2008   MGA Entertainment (HK) Ltd.'s Supplemental
                                 Response to Interrogatory No. 47 of Mattel Inc.'s
                                 Fifth Set of Interrogatories
     13017           12/5/2007    Mattel, Inc.'s First Set of Requests for
                                 Admission Propounded to all Defendants
     13018          12/21/2007    Mattel, Inc.'s Second Set of Requests for
                                 Admission Propounded to all Defendants
     13019          12/21/2007    Mattel, Inc.'s Third Set of Requests for
                                 Admission Propounded to all Defendants
     13020           3/14/2008    Mattel's Requests for Production of Documents
                                 in Connection with Phase 1 Expert Discovery
                                 (Rebuttal Experts)
     13021            1/4/2008    MGA Entertainment, Inc., Isaac Larian, MGA
                                 Entertainment (HK) Limited and MGAE de
                                 Mexico S.R.L. de C.V's Responses and
                                 Objections to Mattel, Inc.'s First Set of Requests
                                 for Admission to all Defendants
     13022            2/4/2008    MGA Entertainment, Inc.'s Objections and
                                 Responses to Mattel's "First" Set of Requests for
                                 Admission to MGA Entertainment, Inc.; Carter
                                 Bryant; MGA Entertainment (HK) Limited; and
                                 Isaac Larian
     13023            2/4/2008    Isaac Larian's Objections and Responses to
                                 Mattel's Fourth Set of Requests for Admission to
                                 all Defendants
     13024            2/4/2008   Isaac Larian's Objections and Responses to
                                 Mattel's Third Set of Admission to all Defendants
     13025            2/4/2008   Isaac Larian's Objections and Response to
                                 Mattel, Inc.'s Second Set of Requests for
                                 Admission Propounded to all Defendants
     13026            3/3/2008    Isaac Larian's Fourth Supplemental Response
                                 to Interrogatory Nos. 38, 40and 41 of Mattel,
                                 Inc.'s Revised Third Set of Interrogatories
     13027            3/3/2008    Isaac Larian's Fourth Supplemental Response
                                 to Interrogatory Nos. 43-44 of Mattel, Inc.'s
                                 Amended Fourth Set of Interrogatories
     13028            3/3/2008    Isaac Larian's Supplemental Responses to
                                 Interrogatory No. 47 of Mattel, Inc.'s Fifth Set of
                                 Interrogatories
     13029                        Drawing, M 0016395-M 0016469
     13030           3/28/2008    Isaac Larian's Fourth Supplemental Responses
                                 to Interrogatory Nos. 38, 40 and 41



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     13031            3/3/2008    Isaac Larian's Fourth Supplemental Responses
                                 to Interrogatory Nos. 43-44
     13032            3/3/2008    Isaac Larian's Fourth Supplemental Responses
                                 to Interrogatory Nos. 47
     13033            3/4/2008    Mattel's Supplemental Responses to Second
                                 Set of Interrogatories Propounded by Carter
                                 Bryant
     13034            3/5/2008    Mattel, Inc.'s Supplemental Objections and
                                 Response to MGA Entertainment, Inc.'s Second
                                 Set of Interrogatories
     13035           9/12/2007   Carter Bryant's Second Supplemental and
                                 Amended Responses to Mattel, Inc.'s Fifth Set of
                                 Requests for Admission to Carter Bryant
     13036            1/7/2008   Carter Bryant's Responses to Mattel Inc.'s First
                                 Set of Requests for Admission to all Defendants
     13037           1/28/2008   Responses of Mattel, Inc. to Carter Bryant's
                                 Second Set of Requests for Admission
     13038           1/28/2008   Responses of Mattel, Inc. to First Set of
                                 Requests for Admission Propounded By Carter
                                 Bryant
     13039            2/4/2008    MGA Entertainment, Inc.'s Objections and
                                 Responses to Mattel's "First" Set of Requests for
                                 Admission to MGA Entertainment, Inc.; Carter
                                 Bryant; MGA Entertainment (HK) Limited; and
                                 Isaac Larian
     13040            2/4/2008   Carter Bryant's Responses to Mattel, Inc.'s
                                 Fourth Set of Requests for Admission
                                 Propounded to all Defendants dated 12/27/07
     13041            2/4/2008    Carter Bryant's Third Supplemental Responses
                                 to Mattel, Inc.'s Fifth Set of Requests for
                                 Admission to Carter Bryant (Nos. 42-45)
     13042           2/20/2008    MGA Entertainment (HK) Ltd.'s Supplemental
                                 Responses to Mattel's "First" Set of Requests for
                                 Admission to MGA Entertainment, Inc.; Carter
                                 Bryant; MGA Entertainment (HK) Limited; and
                                 Isaac Larian for Requests
     13060           10/252000    Email, MGA 0005053 B-MGA 0005055 B
     13061          12/14/2000    Email, MGA HK 0004054-MGA HK 0004054
     13062          12/19/2000    Email, MGA000124-MGA000125
     13064          12/15/2000    Email with Attachment, MGA 0046458-MGA
                                 0046459
     13065          12/13/2000    Email, MGA HK 0002142-MGA HK 0002142
     13067          12/11/2000    Email, MGA 0837756-MGA 0837756
     13069          12/11/2000    Trademark Receipt, MGA 0803397-MGA
                                 0803397
     13070          12/11/2000    Trademark Statement of Use, MGA 0803391-
                                 MGA 0803394
     13071           12/7/2000    Trademark Application, MGA 0803362-MGA
                                 0803362
     13072           12/7/2000    Power of Attorney, MGA 0803365-MGA



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                                 0803365
     13073          12/11/2000    Trademark Receipt, MGA 0803387-MGA
                                 0803387
     13074           12/7/2000    Trademark Application, MGA 0800979-MGA
                                 0080985
     13075          12/10/2000    Email, MGA 0066608-MGA 0066608
     13077          12/11/2000    Certificate of Mailing, MGA 0803379-MGA
                                 0803379
     13078           12/9/2000    Email with Attachments, MGA 0046486-MGA
                                 0046490
     13079          12/21/2000    Email with Attachments, MGA 0046398-MGA
                                 0046408
     13080          12/21/2000    Email, MGA HK 0002111-MGA HK 0002113
     13082           12/8/2000    Email, MGA 006599 B-MGA 006611 B
     13084           11/2/2001    Check, MGA 0833615-MGA 0833615
     13086          12/13/2000    Email, MGA HK 0002304-MGA HK 0002307
     13087          11/21/2000    Package Specs, MGA HK 0004387-MGA HK
                                 0004391
     13088          12/13/2000    Email, MGA0004637 B-MGA 0004638 B
     13089           3/28/2008    MGA Entertainment, Inc.'s Corrected Fifth
                                 Supplemental Responses to Interrogatory No.41
                                 of Mattel, Inc.'s Revised Third Set of
                                 Interrogatories
     13090           3/28/2008    MGA Entertainment Inc.'s Corrected Second
                                 Supplemental Responses to Interrogatory No. 47
                                 of Mattel Inc.'s Fifth Set of Interrogatories
     13092           10/6/2000    Email, MGA 3786332-MGA 3786332
     13094                        General Ledger, MGA 3784423-MGA 3784531
     13097                        Large Map of Springfield, Missouri
     13098           9/29/2000    Check, UB 0010-UB 0010
     13103            2/4/2006    Email, MGA1753129-MGA1753134
     13106            9/4/1999    1995 Amended Tax Return, MGA 3818449-854
     13109           9/18/2000    Agreement, M 0001547-M 0001552
     13119           9/27/2004    Affidavit, MGA 0883304-MGA 0883375
     13120           2/11/2008    Tab E2 of Expert Report of Michael Wagner
     13121           4/30/2001    Email, FL 14285-FL 14286
     13123          12/31/2005    Operations Statement, MGA 3710565-MGA
                                 3710582
     13124          12/31/2001    Financial Statements, MGA 0863871-MGA
                                 0863887
     13125                        Industry Comparison, MGA 0148746-MGA
                                 0148753
     13126                        Isaac and Angela Larian List of Assets 2006,
                                 MGA 3782726-MGA 3782727
     13127                        Carter Bryant 4th Quarter 2007 Income
                                 Statement
     13128                        Bratz Royalty Statement QTR Ended 3/31/03,
                                 BRYANT02912-BRYANT02916




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     13129                        2005 Consolidated Statement of Operation,
                                 MGA 3710565-MGA 3710833
     13132                        Sales Sheet, MGA 3817383-MGA 3817383
     13133           7/19/2004    Email with Attachment, MGA 1693228-MGA
                                 1693280
     13136           0/00/0000    Spreadsheet, MGA 3782426-MGA 3782579
     13137           12/3/2002    Faxed Agreement, MGA 0830258-MGA
                                 0830262
     13138           5/12/2004    Agreement, MGA 0830553-MGA 0830569
     13139           1/25/2006    Spreadsheet, MGA 0061891-MGA 0061914
     13140           0/00/2001    Spreadsheet, MGA 0186296-MGA 0186298
     13142            3/1/2001    Email, FL 14275-FL 14275
     13143           3/13/2001    Email, FL 14276-FL 14277
     13144           3/14/2001    Email, FL 14278-FL 14278
     13145           3/16/2001    Email, FL 14279-FL 14280
     13146           4/30/2001    Email, FL 14281-FL 14281
     13147           4/30/2001    Email, FL 14282-FL 14284
     13149           5/16/2001    Email, FL 14287-FL 14289
     13153           7/17/2001    Email with Attachments, MGA 0022093-MGA
                                 0022097
     13154           3/25/2005    Email, MGA 0206035-MGA 0206036
     13155           3/21/2005    Email, MGA 0206071-MGA 0206072
     13156           2/14/2005    Application, MGA 0886922-MGA 0886926
     13158          12/26/2000    Email, MGA 0834309-MGA 0834309
     13163           7/11/2001    Email, MGA 4000138-MGA 400138
     13164           7/18/2001    Email, MGA 4000232-MGA 4000235
     13166           6/22/2001    Email, MGA 4001720-MGA 4001721
     13168            7/2/2001    Email, MGA 4000085-MGA 4000085
     13169            7/3/2001    Email, MGA 4000100-MGA 4000101
     13170          10/25/2000    Email, MGA HK 0008858-MGA HK 0008860
     13171                        Email, MGA 0204377-MGA 0204378
     13174          00/00/1995    John F. Kennedy High School Yearbook, 1994-
                                 95, M 0914794-M 0915001
     13175          11/27/2006    Letter, MGA 0060754-MGA 0060756
     13179                        Ledger, MGA 0060868-MGA 0060925
     13180          12/28/2000    Email with Attachments, MGA 0837552-MGA
                                 0837560
     13181                        Financial Statements, MGA 3717413-MGA
                                 3717461
     13183                        Legal Documents/Copyright Registration, MGA
                                 0824468-MGA 0824486
     13187           7/12/2007    Mattel, Inc.'s Second Amended Answer in Case
                                 No. 05-2727 and CounterClaims (Vol. 2-
                                 Confidential Filed Under Seal)
     13188          10/16/2007    Carter Bryant's Second Amended Reply to
                                 Mattel's CounterClaims Demand for Jury Trial
     13190           9/12/2007    Carter Bryant's Amended Reply to Mattel's
                                 CounterClaims (Answering Statement) Demand
                                 for Jury Trial



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     13192           7/11/2002    Isaac Larian Affidavit in Toys & Trends, MGA
                                 0886235-MGA 0886261
     13193           7/10/2001    Email, MGA 4000131
     13194           7/11/2001    Email, MGA 4000139
     13195           7/12/2001    Email, MGA 4000152
     13196           7/14/2001    Email, MGA 4000205-MGA 4000208
     13197           7/18/2001    Email, MGA 4000228-MGA 4000231
     13198           7/19/2001    Email, MGA 4000451
     13199           7/19/2001    Email, MGA 4000458
     13200           7/19/2001    Email, MGA 4000459
     13201                        Award, MGA 4000462
     13203                        Drawing, KMW-M 01248-KMW-M 01249
     13204                        Drawing, KMW-M 004994
     13206          10/16/2006    Patent Application Receipt, MGA 0824465-MGA
                                 0824467
     13207                        P&L Summary, MGA 0148746-MGA 0148809
     13208           7/25/2000    Agreement, M 0061992-M 0061997
     13209           11/6/2000    Email and Separaton Agreement, M 0071888-
                                 894
     13210          10/13/2000    Letter, M 0071896
     13211          12/23/1988    Personnel Document, M 0191401
     13212          10/14/2000    Personnel Document, M 0255403
     13215           10/4/2000    Email, MGA 3708230
     13216                        Photograph of Object that was scanned in
                                 040108_Funky_Tween Exports.stl, refers to Item
                                 25 of Keiser 4/3/08 Supplemental Report
     13224                        Spreadsheet, MGA 1314879-MGA 1315003
     13225                        Email, MGA 4000616
     13226                        Email, MGA 4000622-MGA 4000624
     13227                        Email, MGA 4000611
     13228                        Financial Document, MGA 3719906-MGA
                                 3720118
     13230                        Email, MGA 4000627-MGA 4000628
     13232                        Bratz Product Research Report, MGA 0286741-
                                 MGA 0286755
     13233                        Email, MGA 0286756-MGA 0286758
     13234                        Email, MGA 0286759-MGA 0286765
     13236                        Email, MGA 0286778-MGA 0286783
     13237                        Email, MGA 0286784-MGA 0286787
     13239           7/10/2003    Memo, MGA 0162351-MGA 0162351
     13240                        Copyright Registration, MGA 0883395-MGA
                                 0883422
     13241                        First Generation Yasmin Doll
     13242          10/27/2006    Copyright Document, M 0059579-M 0059580
     13244                        Invoice, MGA 0009008-MGA 0009017
     13247                        Email with Attachment, MGA HK 0002345-MGA
                                 HK 0002348
     13250                        Email, MGA HK 0002367-MGA HK 0002368
     13255                        Email, MGA HK 0002398-MGA HK 0002400



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     13258                      Email with Attachment, MGA HK 0008974-MGA
                                HK 0008988
     13259                      Photograph, M-LL 00001
     13260                      Photograph, M-LL 00002
     13261                      Photograph, M-LL 00003
     13262                      Photograph, M-LL 00004
     13263                      Photograph, M-LL 00005
     13264                      Photograph, M-LL 00006
     13265                      Photograph, M-LL 00007
     13266                      Photograph, M-LL 00008
     13267                      Photograph, M-LL 00009
     13268                      Photograph, M-LL 00010
     13269                      Photograph, M-LL 00011
     13270                      Photograph, M-LL 00012
     13271                      Photograph, M-LL 00013
     13272                      Photograph, M-LL 00014
     13273                      Photograph, M-LL 00015
     13274                      Photograph, M-LL 00016
     13275                      Photograph, M-LL 00017
     13276                      Photograph, M-LL 00018
     13277                      Photograph, M-LL 00019
     13278           4/3/2008   Supplemental Expert Report of Frank Keiser
     13279          4/22/2008   Supplemental Expert Report of Frank Keiser
     13280          2/11/2008   Expert Report of D. Jan Duffy
     13281          2/11/2008   Expert Report of D. Jan Duffy, Attachment 1
     13282          2/11/2008   Expert Report of D. Jan Duffy, Attachment 2
     13283          2/11/2008   Expert Report of D. Jan Duffy, Publications
     13284          2/11/2008   Expert Report of D. Jan Duffy, Expert Witness
                                Testimony
     13285          2/11/2008   Expert Report of Erich Joachimsthaler
     13286          2/11/2008   Expert Report of Erich Joachimsthaler,
                                Curriculum Vitae
     13287          2/11/2008   Expert Report of Erich Joachimsthaler,
                                Publications
     13288          2/11/2008   Expert Report of Peter S. Menell
     13289          2/11/2008   Expert Report of Peter S. Menell, Appendix A
     13290          2/11/2008   Expert Report of Peter S. Menell, Appendix B
     13291          2/11/2008   Expert Report of Peter S. Menell, Appendix C
     13292          2/11/2008   Expert Report of Paul Meyer
     13293          2/11/2008   Expert Report of Paul Meyer, Attachment 1
     13294          2/11/2008   Expert Report of Paul Meyer, Attachment 2
     13295          2/11/2008   Expert Report of Paul Meyer, Attachment 3
     13296          2/11/2008   Expert Report of Paul Meyer, Attachment 4
     13297          2/11/2008   Expert Report of Paul Meyer, Attachment 4A
     13298          2/11/2008   Expert Report of Paul Meyer, Attachment 5
     13299          2/11/2008   Expert Report of Paul Meyer, Attachment 6
     13300          2/11/2008   Expert Report of Paul Meyer, Attachment 7
     13301          2/11/2008   Expert Report of Paul Meyer, Attachment 8
     13302          2/11/2008   Expert Report of Paul Meyer, Attachment 8A


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     13303           2/11/2008    Expert Report of Paul Meyer, Attachment 8B
     13304           2/11/2008    Expert Report of Paul Meyer, Attachment 8C
     13305           2/11/2008    Expert Report of Paul Meyer, Attachment 8D
     13306           2/11/2008    Expert Report of Paul Meyer, Attachment 8E
     13307           2/11/2008    Expert Report of Paul Meyer, Attachment 9
     13308           2/11/2008    Expert Report of Paul Meyer, Attachment 9A
     13309           2/11/2008    Expert Report of Debora Middleton
                                 MGA Entertainment (HK) Ltd.'s Supplemental
                                 Responses to Mattel's "First" Set of Requests for
                                 Admission to MGA Entertainment, Inc.; Carter
                                 Bryant; MGA Entertainment (HK) Limited; and
                                 Isaac Larian for Requests Nos. 5-8, 15, 16, 19-
                                 34, 44-49, 52-59, 60, 63, 66, and 69
     13010           2/15/2008
                                 MGA Entertainment, Inc.'s Fourth Supplemental
                                 Responses to Interrogatory Nos.. 38,40 and 41
                                 of Mattel, Inc.'s Revised Third Set of
     13011            3/3/2008   Interrogatories
     13312           2/11/2008    Expert Report of Debora Middleton, Exhibit 3
     13313           2/11/2008    Expert Report of Debora Middleton, Exhibit 4
     13314           2/11/2008    Expert Report of Debora Middleton, Exhibit 5
     13315           2/11/2008    Expert Report of Debora Middleton, Exhibit 6
     13316           2/11/2008    Expert Report of Debora Middleton, Exhibit 7
     13317           2/11/2008    Expert Report of Debora Middleton, Exhibit 8
     13318           2/11/2008    Expert Report of Debora Middleton, Exhibit 9
     13319           2/11/2008    Expert Report of Debora Middleton, Exhibit 10
     13320           2/11/2008    Expert Report of Debora Middleton, Exhibit 11
     13331           2/11/2008    Expert Report of Mary Bergstein, Exhibit 7
     13357           2/11/2008    Expert Report of Robert Tonner
     13379           8/11/2000    Email with Attachment, CG 0007-CG 0008
     13381           11/9/2000    Email with Attachment, CG 0010-CG 0016
     13382           1/31/2001   Email
     13384                        Summary of Payments by Marlow to Third-Party
                                 Pattern & Sample Makers
     13385                        Summary of Payments to Rosalba Cabrera
     13386                        Summary or Payments By Marlow to Gonzalo
                                 Morales
     13387                        Summary of Hours Worked for Marlow by Third-
                                 Party Pattern and Sample Makers
     13388            4/6/2003    Calendar excerpt , KMW-MAR 001202-KWM-
                                 MAR 001457
     13389                        Chart, KMW-M 008562
     13390          11/19/2005    Check, KMW-M 009105
     13391            4/7/2006    Check, KMW-M 008907
     13392           5/15/2007    Chart, KMW-M 009774-KMW-M 009775
     13393            6/7/2007    Check, KMW-M 011879
     13394            8/2/2007    Check, KMW-M 008205
     13395           3/29/2000    Credit Card Statement, KMW-M 008240
     13396           9/24/2000    Credit Card Statement, KMW-M 008242
     13397           6/28/2000    Credit Card Statement, KMW-M 008245



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      13398           6/23/2000    Credit Card Statement, KMW-M 008246
      13400           1/11/2000    Credit Card Statement, KMW-M 020297-KMW-
                                  M 020307
      13401           1/11/2000    Credit Card Statement, KMW-M 020399-KMW-
                                  M 020404
      13402           4/24/2000    Credit Card Statement, KMW-M 020405-KMW-
                                  M 020414
      13403           3/10/2000    Credit Card Statement, KMW-M 020415-KMW-
                                  M 020423
      13404                        Design Sheet, KMW-M 020431-KMW-M 020438
      13405                        Designer's Spec. Sheet, KMW-M 021059
      13406                        Designer's Spec. Sheet, KMW-M 021119
      13407                        Designer's Spec. Sheet, KMW-M 021228
      13408           12/4/2000    Designs, KMW-M 021237-KMW-M 021237
      13409                        Drawing, KMW-M 009384-KMW-M 009386
      13410                        Drawings, KMW-M 008158-KMW-M 008158
      13411                        Drawings, KMW-M 009495-KMW-M 009495
      13412           12/2/2004    Email, KMW-M 009496-KMW-M 009496
      13413           9/28/2000    Email, KMW-M 009388-KMW-M 009394
      13414          10/18/2000    Email, KMW-M 009903
      13415           7/26/2004    Email, KMW-M 009399
      13416           12/2/2004    Email, KMW-M 009400
      13417           6/29/2001    Email, KMW-M 010049-KMW-M 010050
      13418           1/26/2003    Email, KMW-M 010173
      13419            2/6/2001    Email, KMW-M 010174
      13421          11/30/2000    Email, KMW-M 010238
      13422          11/21/2000    Email, KMW-M 003250
      13423            1/3/2001    Email, KMW-M 004074
      13424           12/1/2000    Email, KMW-M 008119
      13425           4/14/2005    Email, MGA 0013484-MGA 0013488
      13426          10/23/2000    Email with Attachment, MGA 0046504
      13427          11/28/2000    Email with Attachment, MGA 0046505-MGA
                                  0046507
      13429          12/18/2000    Email with Attachment, MGA0000071 A-
                                  MGA0000074 A
      13430          12/22/2000    Email with Attachment, VM-BHATIA 00434-VM-
                                  BHATIA 00436
      13431          12/22/2000    Email with Attachment, KMW-M 003052-KMW-
                                  M 003054
      13432            1/8/2001    Email with Attachment, KMW-M 003058-KMW-
                                  M 003060
      13433           1/16/2001    Email with Attachment, KMW-M 003061-KMW-
                                  M 003063
      13434            3/9/2001    Email with Attachment, KMW-M 003064-KMW-
                                  M 003068
      13435           3/29/2001    Email with Attachment, KMW-M 003084-KMW-
                                  M 003086
      13436          10/23/2000    Email with Attachment, KMW-M 003093-KMW-
                                  M 003095



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      13437                         Form, KMW-M 003107-KMW-M 003108
      13438                         Form, KMW-M 003111-KMW-M 003112
      13439                         Form, KMW-M 003177-KMW-M 3181
      13440          1999/2000      Phone Bills, KMW-M 008084-KMW-M 008085
      13441           2/6/2006      Letter, KMW-MARLOW 000821
      13443                         Letter, KMW-M 009412
      13444          12/28/2000     Letter, KMW-M 009468
      13445          12/11/1997     Letter, KMW-M 020204-KMW-M 020258
      13446           3/24/2003     Letter, KMW-M 008823-KMW-M 008824
      13447           7/31/2001     List, KMW-M 009047-KMW-M 009048
      13448                         Notebook excerpt, KMW-M 009387
      13449                         Notebook excerpt, KMW-M 009395
      13450                         Notebook excerpt, KMW-M 009494
      13454                         Notebook excerpt, KMW-M 009398
      13455                         Notebook excerpt, KMW-M 009424
      13456                         Notebook excerpt, KMW-M 009439
      13457                         Notebook excerpt, KMW-M 009440
      13458                         Notebook excerpt, KMW-M 009478
      13459            4/1/2000     Notebook excerpt, KMW-M 009480
      13460                         Notebook excerpt, KMW-M 009483
      13461                         Notebook excerpt, KMW-M 009484
      13462                         Notebook excerpt, KMW-M 009485
      13463                         Notebook excerpt, KMW-M 009486
      13464                         Notebook excerpt, KMW-M 009487
      13465                         Notebook excerpt, KMW-M 009488
      13466                         Notebook excerpt, KMW-M 009489
      13467                         Notebook excerpt, KMW-M 009490
      13468                         Notebook excerpt, KMW-M 009492
      13469           9/14/2001     Notebook excerpt, KMW-M 009842
      13470                         Notebook excerpt, KMW-M 009396
      13471                         Notebook excerpt, KMW-M 009397
      13473          11/15/2000     Phone Bill, KMW-M 009482
      13477                         Photos, KMW-M 009491
      13478          12/18/2000     Quotation, KMW-M 009493
      13482           5/23/2003     Spreadsheet, KMW-M 009435
      13483                         Spreadsheet, KMW-M 009436-KMW-M 009438
      13484           4/21/2008     Spreadsheet, KMW-M 003071-KMW-M 003073
      13485           4/21/2008     Spreadsheet, KMW-M 003074-KMW-M 003076
      13486          12/31/2004     Spreadsheet, KMW-M 007605
      13488                         Financial Document, KMW-M 009884
      13490                         Financial Document, M 0915002-M 0919033
      13491                         Financial Document, M 0915034-M 0915054
      13492                         Doll Bag Financial Document, VM-BHATIA
                                   00329-VM-BHATIA 00330
      13493                         Drawings, KMW-M 009773
      13494          10/21/1997     Letter, M 0262667-M 0262668
      13495             2/-/2008    Ledger, MGA 3865982-MGA 3866029




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      13496           1/3/2007    Copyright Registration PAu3-087-947, M
                                 0915080-M 0915081
      13497           3/5/2007    Copyright Registration PAu3-095-707, M
                                 0915082-M 0915083
      13498           7/7/2007    Copyright Registration PA 1-385-214, M
                                 0915084-M 0915085
      13499           1/3/2007    Copyright Registration TX 6-492-591, M
                                 0915086-M 0915087
      13500          6/20/2007    Copyright Registration TX 6-596-763, M
                                 0915088-M 0915089
      13501          5/23/2007    Copyright Registration TX 1-403-779, M
                                 0915090-M 0915091
      13502           3/5/2007    Copyright Registration VA 1-405-451, M
                                 0915136-M 0915139
      13503           8/2/2007    Copyright Registration VA 1-413-303, M
                                 0915140-M 0915141
      13504           8/2/2007    Copyright Registration VA 1-413-306, M
                                 0915142-M 0915143
      13505           8/2/2007    Copyright Registration VA 1-413-307, M
                                 0915144-M 0915145
      13506           8/2/2007    Copyright Registration VA 1-413-308, M
                                 0915146-M 0915147
      13507           8/2/2007    Copyright Registration VA 1-413-325, M
                                 0915148-M 0915149
      13508           8/2/2007    Copyright Registration VAu 703-161, M
                                 0915150-M 0915151
      13509          5/23/2002    Copyright Registration VAu 738-465, M
                                 0915152-M 0915169
      13510           3/5/2007    Copyright Registration VAu 1-405-452, M
                                 0915170-M 0915171
      13511          5/13/2007    Copyright Registration PA 1-367-620, M
                                 0915172-M 0915173
      13512          5/23/2007    Copyright Registration VAu 738-464, M
                                 0915174-M 0915184
      13513          5/23/2007    Copyright Registration VAu 738-466, M
                                 0915185-M 0915186
      13514           8/2/2007    Copyright Registration VA 1-413-305, M
                                 0915187-M 0915188
      13515           8/2/2007    Copyright Registration VA 1-413-304, M
                                 0915189-M 0915190
      13516           8/2/2007    Copyright Registration VA 1-413-309, M
                                 0915191-M 0915192
      13517           8/2/2007    Copyright Registration VA 1-413-310, M
                                 0915193-M 0915194
      13518           8/2/2007    Copyright Registration VA 1-413-311, M
                                 0915195-M 0915196
      13519           8/1/2005    Email, KMW-MARLOW 001109-KMW-
                                 MARLOW 001110
      13520            3/00/01    Business Plan, MGA 4033288-MGA 4033310



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      13521           5/22/2000    Summary, Wachovia 000001
      13522           5/28/2000    Memo, Wachovia 000007-Wachovia 000007
      13523           9/22/2000    Agreement Amendment, Wachovia 000008-
                                  Wachovia 000010
      13525                        Agreement , KMW-L 000604-KM-L 000609
      13527                        Agreement, KMW-SH 000132-KMW-SH 000134
      13529           3/20/2008    MGA's Revised Supplemental Privilege Log
                                  (revised Mar. 20, 2008)
      13531            1/3/2008    Transcript, M 0262177-M 0262229
      13533          10/26/2000    Email Chain, MGA 4501406-MGA 4501408
      13543           5/22/2000   Letter, WACHOVIA 000093
      13544           10/5/2000   Summary, WACHOVIA 000078-82
      13551           4/30/2002   Agreement, MGA 001400-MGA 001402
      13552           6/26/2003   Email, MGA 3772461-463
      13553           3/10/2006   Draft Letter, MGA 1728920-931
      13554            1/9/2005   Declaration, MGA 3808818-MGA 3808951
      13558                       Drawing, KMW-M 007729
      13559                       Drawing, KMW-M 007734
      13561           6/13/2003   Affidavit, MGA 0885135-MGA 0885418
      13562            6/5/2002   Email, MGA 0874112-309
      13563          01/27/2006   Deposition, MGA 0871307-499
      13569           12/6/2005   Affidavit, MGA 38874746-MGA 3887482
      13570          10/16/2003   Writ of Summons, MGA 3894048-MGA 3894055
                                  Voluntary Particulars of the Plaintiff's Re-
                                  Amended Statement of Claim, MGA 38873901-
      13571          12/12/2003   MGA 3887380
      13572                       Answer to Request for Further and Better
                                  Particulars of the Statement of Claim, MGA
                      2/22/2008   3886514-MGA 3886520
      13586          11/16/2000   Email, JM 0000002-4
      13590           10/8/2000   Email, MGA 0192370
      13591                       Hong Kong Opinion re: Speckin
      13599                       Drawing, MGA HK 001928
      13600                       Drawing, MGA HK 001648
      13601          10/24/2000   Email Chain, MGA 0200883-MGA 0200888
      13606            3/1/2001   Email Chain, MGA 4369363
      13607                       Personnel Document, MGA 001470-MGA
                     10/18/2000   001472
      13608                       Article from "Total Licensing," MGA 0835234-
                                  MGA 0835235
      13609          12/21/2001   Email Chain, MGA 4374622-MGA 4374623
      13610                       Spreadsheet, MGA 4056266-MGA 4056267
      13611           4/29/2006   Email Chain, MGA 4375977-MGA 4375980
      13616            1/4/2000   Spreadsheet, MGA 4487783-MGA 4487796
      13622                       Spreadsheet, MGA 3721053-MGA 3721053
      13623           1/29/2004   Email, MGA 4369428-MGA 4369429
      13624           1/27/2003   Email, MGA 0185986-MGA 0185988
      13625           10/3/2002   Email, MGA 3797015-MGA 3797017
      13626           2/28/2001   Meeting Agenda, MGA 4028989-MGA 4028990



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      13627                       Copyright Registrations of Music Pieces by
                      5/25/2008   Carter Bryant
      13628                       Evidence Eliminator Help Files: Introduction to
                                  Evidence Eliminator
      13632                       List of Computer Files
      13637                       Isabel Cabrera Unemployment Appeal Hearing
                       5/7/2008   Transcript, M 0920046-0920082
      13638                       Beatriz Morales Unemployment Appeal Hearing
                       5/8/2008   Transcript Vol. 1, M 0920083-0920099
      13639                       Beatriz Morales Unemployment Appeal Hearing
                       5/8/2008   Transcript Vol. 2, M 0920101-0920184
      13643                       Letter from Isaac Larian to Fred Larian Re
                                  Agreement Concerning Purchase of Shares in
                                  ABC International Traders Inc., KS 05908-5912
                      3/30/2000
      13644                       Retainer Agreement between Keats McFarland
                                  & Wilson and Elise Cloonan, KMW-CL 000342-
                      5/25/2004   KMW-CL 00343
      13645                       Retainer Agreement between Margolis & Morin
                                  and Elise Cloonan, KMW-CL 000344-KMW-CL
                      1/14/2005   000346
      13646                       Retainer Agreement between Keats McFarland
                                  & Wilson and Elise Cloonan, KMW-CL 000340-
                       6/1/2007   KMW-CL 000341
      13647                       Email with attachment from Peter Marlow, KMW-
                     10/23/2000   MARLOW 000821-826
      13648                       Elise Cloonan Zip Disk Labeled "Bratz"
      13650           9/23/2003   Facsimile from Bird & Bird to Michael T. Zeller
      13661                       Instructions for Enigma Popup Stop
      13666          11/30/1999   Bank Statement, MFCU 0340-343
                                  Amended Statement of Claim, dated 10/4/2004,
      13690           10/4/2004   MGA 3888987-999
                                  Affirmation of Lee Shiu Cheung in MGA
                                  Entertainment, Inc., and MGA Entertainment
                                  (H.K). Limited vs. Double Grand Corporation
      13691           6/18/2003   Limited, dated June 18, 2003
                                  Affidavit, dated June 16, 2003, MGA 0885043-
      13692           6/16/2003   0885073
                                  Third Affirmation of Lee Shiu Cheung in MGA v.
      13693           7/14/2003   Double Grand, dated July 14, 2003
                                  Photographs of Mini Trendy Teenz, MGA
      13694                       0884109-112
      13695                       Mini Trendy Teenz - Pink Hair
      13696                       Photograph of M-TI 0000016
      13697                       Mini Trendy Teenz - Purple Hair
      13698                       Photograph of M-TI 0000030
      13699                       Mini Trendy Teenz - Blonde Hair
      13700                       Photograph of M-TI 0000017
      13701                       Trendy Teenz - Black Hair



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      13702                       Photograph of M-TI 0000029
      13703                       Trendy Teenz - Blonde Hair
      13704                       Photograph of M-TI0000009
                                  Statement of Claim in MGA v. CityWorld, dated
      13705            7/3/2002   July 3, 2002, MGA3881032-41
                                  Re-Re Amended Statement of Claim in MGA v.
                                  CityWorld, dated January 5, 2007, MGA
      13706            1/5/2007   3887286-98
                                  Affirmation of Lee Shiu Cheung, dated June 18,
      13707           6/18/2002   2002 in MGA v. City World
      13708                       Funky Tweenz Emily Doll
      13709                       Photograph of M-TI 0000024
      13710                       Funky Tweenz Doll
      13711                       Photograph of M-TI 0000025
      13712                       Funky Tweenz Madison Doll
      13713                       Photograph of M-TI 0000026
      13714                       Funky Tweenz Lauren Doll
      13715                       Photograph of M-TI 0000019
      13716                       Order in MGA v. CityWorld, MGA 3881156-9
                                  Amended Statement of Claim, dated November
      13717          11/22/2004   22, 2004, MGA 3893834-47
                                  Affirmation of Lee Shiu Cheung in MGA v.
      13718           8/12/2003   Hunglam Toys, dated August 12, 2003
                                  Amended Order, dated October 14, 2003, MGA
      13719          10/14/2003   3893999-3894003
                                  Witness Statement of Lee Shiu Cheung, dated
      13720          12/15/2005   December 15, 2005
      13721                       Scampz Doll
      13722                       Photograph of M-TI 0000012
                                  Re-Amended Statement of Claim, dated
      13723           2/20/2006   February 20, 2006, MGA 3893262-88
                                  Amended Statement of Claim, dated January 5,
      13724            1/5/2006   2005, MGA 3893292-320
                                  Affirmation of Lee Shiu Cheung, dated August
      13725           8/28/2003   28, 2003
      13726                       Photographs of Fashion Doll, MGA 3890479-83
      13727                       Photographs of Fashion Doll, MGA 3890484-88
                                  Affirmation of Lee Shiu Cheung, dated January
      13728           1/20/2006   20, 2006, MGA 0884621-809
                                  Email, dated February 6, 2003, MGA 3801553-
      13729            2/6/2003   55
      13730            2/6/2003   Email, dated February 6, 2003, MGA 1755181-2
      13731                       Glamma Jammaz Doll
      13732                       Photograph of 485
      13733                       Glamma Jammaz Doll, M-TI 0000013
      13734                       Photograph of M-TI 0000013
      13735           2/26/2003   Email, dated February 26, 2003, MGA 1480171
      13736                       Unsigned Settlement Agreement, MGA 1480173




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                                  Email, dated February 10, 2003, MGA 0186203-
      13737           2/10/2003   05
                                  Complaint in MGA v. MultiToy, dated April 9,
      13738            4/9/2004   2004, M 078522-49
                                  Memorandum of Law, dated April 11, 2004,
      13739           4/11/2004   MGA 3891370-404
                                  Declaration, dated April 12, 2004, MGA
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      18308                       2008 Exhibit 1 to Expert Report of Lee Loetz
      18309                       2008 Exhibit 10 to Expert Report of Lee Loetz
      18310                       2008 Exhibit 11 to Expert Report of Lee Loetz
      18312                       2008 Exhibit 12 to Expert Report of Lee Loetz
      18313                       2008 Exhibit 13 to Expert Report of Lee Loetz
      18314                       2008 Exhibit 14 to Expert Report of Lee Loetz
      18315                       2008 Exhibit 15 to Expert Report of Lee Loetz
      18316                       2008 Exhibit 16 to Expert Report of Lee Loetz
      18317                       2008 Exhibit 17 to Expert Report of Lee Loetz
      18318                       2008 Exhibit 18 to Expert Report of Lee Loetz
      18319                       2008 Exhibit 19 to Expert Report of Lee Loetz
      18321                       2008 Exhibit 2 to Expert Report of Lee Loetz
      18322                       2008 Exhibit 20 to Expert Report of Lee Loetz
      18323                       2008 Exhibit 21 to Expert Report of Lee Loetz
      18324                       2008 Exhibit 22 to Expert Report of Lee Loetz
      18325                       2008 Exhibit 23 to Expert Report of Lee Loetz
      18326                       2008 Exhibit 24 to Expert Report of Lee Loetz
      18327                       2008 Exhibit 25 to Expert Report of Lee Loetz
      18328                       2008 Exhibit 26 to Expert Report of Lee Loetz
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      18330            2008 Exhibit 28 to Expert Report of Lee Loetz
      18331            2008 Exhibit 29 to Expert Report of Lee Loetz
      18333            2008 Exhibit 3 to Expert Report of Lee Loetz
      18334            2008 Exhibit 30 to Expert Report of Lee Loetz
      18335            2008 Exhibit 31 to Expert Report of Lee Loetz
      18336            2008 Exhibit 32 to Expert Report of Lee Loetz
      18337            2008 Exhibit 33 to Expert Report of Lee Loetz
      18338            2008 Exhibit 34 to Expert Report of Lee Loetz
      18339            2008 Exhibit 35 to Expert Report of Lee Loetz
      18340            2008 Exhibit 36 to Expert Report of Lee Loetz
      18341            2008 Exhibit 37 to Expert Report of Lee Loetz
                       2008 Exhibit 4 to Expert Rebuttal Report of Lee
      18343            Loetz
      18344            2008 Exhibit 4 to Expert Report of Lee Loetz
                       2008 Exhibit 5 to Expert Rebuttal Report of Lee
      18346            Loetz
      18347            2008 Exhibit 5 to Expert Report of Lee Loetz
      18348            2008 Exhibit 6 to Expert Report of Lee Loetz
      18350            2008 Exhibit 7 to Expert Report of Lee Loetz
      18352            2008 Exhibit 8 to Expert Report of Lee Loetz
      18353            2008 Exhibit 9 to Expert Report of Lee Loetz




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